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                                  EXHIBIT 1 – Payment Schedule


 This Payment Schedule should be read in conjunction with the MSA, including its other
 Exhibits, and MSA II and MSA III, which explain the terms, conditions, and, where necessary,
 underlying calculations for payments described herein. All capitalized terms not otherwise
 defined herein shall have the meanings set forth in the MSA.



EARLIST PAYMENT
                         AMOUNT AND DESCRIPTION                          MSA REFERENCE / NOTES
      DATE
   Sept. 8, 2023 $10 million – Administrative expenses payment           Article 3
      Sept. 18, 2023    $146.9 million– Verdict payments per MSA II      § 2.3.3 (MSA II)
       Dec. 1, 2023     $250 million– Payment for receipt of releases    § 11.1
       Dec. 5, 2023     $253.1 million– Wave payments per MSA III        § 12.2 (MSA III)
      March 7, 2024     $350 million– Common stock transfer              § 11.4.1 – Subject to 98%
                                                                         participation threshold
      July 15, 2024     $650 million-- Participation Payment             § 11.4.2 – Subject to 98%
                                                                         participation threshold
      July 15, 2024     $250 million– Common stock transfer              § 11.4.2 – Subject to 98%
                                                                         participation threshold
     January 15, 2025   $500 million– Guaranteed insurance payment 1     § 11.3.3 – Subject to 98%
                                                                         participation threshold
      April 15, 2025    $600 million– Participation Payment              § 11.3.4 – Subject to 98%
                                                                         participation threshold
      April 15, 2025    $250 million– Common stock transfer              § 11.4.3 – Subject to 98%
                                                                         participation threshold
      April 15, 2026    $250 million– Participation Payment              § 11.6.1 – Subject to 98.5%
                                                                         participation threshold
      April 15, 2026    $150 million– Common stock transfer              § 11.4.4 – Subject to 98%
                                                                         participation threshold
      Sept. 15, 2026    $250 million– Participation Payment              § 11.6.1 – Subject to 99%
                                                                         participation threshold
      Sept. 15, 2026    $250 million– Participation Payment              § 11.7.1 – Subject to 99.5%
                                                                         participation threshold
      Sept. 15, 2026    $250 million– First 100% Participation Payment   § 11.8.1 – Subject to 100%
                                                                         participation threshold
      Sept. 15, 2026    $50 million– Finality Payment                    § 11.12.1 – Subject to
                                                                         conditions in Confidential
                                                                         Exhibit 10




 1
  Payment reduced by all prior Indemnity Insurance Recovery payments; if prior Indemnity Recovery
 Payments exceed $500 M, no additional amounts are owed.


                                                    1
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EARLIST PAYMENT
                        AMOUNT AND DESCRIPTION                           MSA REFERENCE / NOTES
      DATE
   July 15, 2027 $750 million– Guaranteed insurance payment 2            § 11.3.5 – Subject to 98%
                                                                         participation threshold
     Sept. 15, 2027    $50 million– Finality Payment                     § 11.12.2 – Subject to
                                                                         conditions in Confidential
                                                                         Exhibit 10
     July 15, 2028     $100 million– Participation Payment               § 11.7.2 – Subject to 99.5%
                                                                         participation threshold
     July 15, 2028     $350 million–Reserve Fund Payment 3               § 11.13.1.1 – Subject to
                                                                         conditions in Confidential
                                                                         Exhibit 10
     July 15, 2029     $100 million– Participation Payment               § 11.7.3 – Subject to 99.5%
                                                                         participation threshold
     July 15, 2029     $200 million– Reserve Fund Payment                § 11.13.1.2 – Subject to
                                                                         conditions in Confidential
                                                                         Exhibit 10




 2
   Payment amount depends on prior Indemnity Insurance Recovery payments, including January 15, 2025
 guaranteed insurance payment.
 3
   Up to $150 M of this amount may be paid on December 1, 2026, if certain conditions in Confidential
 Exhibit 10 are met.

                                                  2
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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                          )   Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY                     )
 LITIGATION                                     )   Judge M. Casey Rodgers
                                                )
                                                )   Magistrate Judge Hope T. Cannon
 This Document Relates to:                      )
 All Cases                                      )
                                                )

                      CASE MANAGEMENT ORDER NO. 60
                            (Identification Order)

       In accordance with the terms of the Combat Arms Master Settlement

Agreement (“MSA”), 1 the Court hereby enters this Identification Order. 2 This Order

requires all CAE Counsel for all Eligible Claimants for which they are Primary

Counsel and all Pro Se Eligible Claimants to provide information to the Court in the

format set forth below by no later than September 12th (the “Reference Date”).

       The MSA defines Eligible Claimant. This Order addresses a fundamental

requirement of Primary Counsel for Eligible Claimants and Pro Se Eligible

Claimants in connection with this litigation.



       1
          All capitalized terms have the same meaning as in the MSA. The MSA is available on
the Court’s public website for the 3M MDL, https://www.flnd.uscourts.gov/3m-products-liability-
litigation-mdl-no-2885.
       2
         The Court understands that Judge Laurie Miller, the presiding judge over CAE Claims
pending in the 4th Judicial District, County of Hennepin, Minnesota, will be issuing a similar
order, consistent with the MSA.
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      CAE Counsel shall be deemed to be Primary Counsel in the following

circumstances:

      (1)   for an Eligible Claimant with a filed case on the MDL docket

            (administrative or active) and Minnesota docket, including Eligible

            Claimants previously dismissed without prejudice who are represented:

            a.    if CAE Counsel is listed as the registering Law Firm in MDL-

                  Centrality, or

            b.    if CAE Counsel is the counsel of record for any Eligible

                  Claimant filed and/or served in Minnesota; or

      (2)   for any Eligible Claimant with an unfiled CAE Claim:

            a.    if CAE Counsel has an engagement or retainer agreement with

                  such Eligible Claimant, as of the Reference Date;

            b.    if Counsel has entered into a tolling agreement for such Eligible

                  Claimant.

CAE Counsel shall not be Primary Counsel for Eligible Claimants dismissed without

prejudice if CAE Counsel’s representation of that Eligible Claimant ended prior to

the Reference Date.

      I.    IDENTIFICATION OF ELIGIBLE CLAIMANTS.

      Each CAE Counsel shall take any and all reasonable steps necessary to

identify all of the Eligible Claimants for which they are Primary Counsel, whether


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or not those claimants have a filed case. For the avoidance of doubt, an Eligible

Claimant includes an individual represented by counsel who seeks to pursue CAE

Claims regardless of whether the Eligible Claims have been filed and/or served in

the MDL Court or the Minnesota Court, or any other court, or on the Administrative

Docket, or have been tolled or have been dismissed without prejudice from any

court.3 However, plaintiffs asserting CAE Claims that have been dismissed with

prejudice prior to the Settlement Date are not Eligible Claimants.

       Pro Se Eligible Claimants who have filed CAE Claims, whether in the MDL

Court, the Minnesota Court, or on the Administrative Docket, shall also submit the

information set forth below concerning their own case by the Reference Date.

       II.      SERVICE OF SWORN DECLARATION IDENTIFYING ALL
                ELIGIBLE CLAIMANTS.

       All CAE Counsel must submit a Declaration (the “Identification Order

Declaration” or “Declaration”) via MDL Centrality, executed under penalty of

perjury, that identifies all of CAE Counsel’s Eligible Claimants.

       For all CAE Counsel, such Declaration shall be in substantially the form set

forth in Exhibit “A” attached hereto and shall include in both hard copy and EXCEL

format, for each Eligible Claim, the following information:

             • the name of the Eligible Claimant


       3
         See CMO 57 at ¶ 5 and Section 4.1.4 of the MSA regarding additional requirements for
cases previously dismissed without prejudice.


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         • the address of the Eligible Claimant

         • the Eligible Claimant’s Date of Birth

         • the Eligible Claimant’s SSN

         • the Eligible Claimant’s cellular phone number

         • The Eligible Claimant’s email address, if any, and

         • the Court in which the Eligible Claimant’s case has been filed (if the

             case has been filed)

         • the active or administrative docket number (if the case has been filed,

             including if the case was subsequently dismissed without prejudice)

         • the MDL Centrality Plaintiff ID number (if the Eligible Claimant has

             ever been registered as an MDL Plaintiff via MDL Centrality)

The obligation to identify all Eligible Claimants for which CAE Counsel is

Primary Counsel applies regardless of whether the Eligible Claimants intend to

participate in the MSA.

      Pro Se Eligible Claimants with CAE Claims filed in the MDL Court, the

Minnesota Court, or on the Administrative Docket must submit, via MDL Centrality,

a declaration, executed under penalty of perjury, with the information set forth above




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concerning their own case. For all Pro Se Eligible Claimants, such Declaration shall

be in substantially the same form set for in Exhibit B.

      After CAE Counsel and any Pro Se Eligible Claimants comply with the

obligations of this Identification Order, each Eligible Claimant shall have the

opportunity to Register for the MSA, by which they will indicate their intention to

opt in to the settlement procedures set forth in the Registration Forms and agreeing

to receive certain money in exchange for a release and dismissal with prejudice,

provide a Release to Defendants, and be bound, with their CAE Counsel, to all terms

of the MSA. As set forth in the MSA, through the submission of the Registration

Form by or on behalf of an Eligible Claimant, all CAE Counsel with an Interest in

that Eligible Claimant agree to the obligations on CAE Counsel set forth in the MSA.

      As indicated above, in identifying Eligible Claimants in the referenced

Declaration, all CAE Counsel and any Pro Se Eligible Claimants with CAE Claims,

shall certify, under penalty of perjury under the laws of the United States and of any

relevant state, that he/she has identified all Eligible Claimants in which CAE

Counsel serves as Primary Counsel (or, in the case of a Pro Se Eligible Claimant,

the Eligible Claimant’s own case) and that each identified Eligible Claimant is in

compliance with the obligations imposed by this Identification Order. CAE Counsel

and Pro Se Eligible Claimants have an ongoing duty to update all of the information

required under this Order including, for example, when the personal information for


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an Eligible Claimant is incorrect or outdated (see Section III).        Any updated

information must be served within seven (7) days of learning of such updated

information, and shall be served on the Court-appointed Settlement Data

Administrator through MDL Centrality who shall promptly provide such

information to the Court-Appointed Settlement Administrator. All information

required by this Order is necessary so that the Court-appointed Settlement

Administrator can properly and timely communicate with each Eligible Claimant

and their Primary Counsel regarding their opportunity to participate in the MSA via

the Registration Form. In the Court’s view, it is imperative to the success of this

settlement program that the Settlement Administrator have an open and direct line

of communication with every Eligible Claimant.

      III.   DEADLINE TO FILE DECLARATION IDENTIFYING ALL
             ELIGIBLE CLAIMANTS WITH THE COURT.

      Each Declaration required under this Order shall be submitted to the Court-

appointed Settlement Data Administrator via MDL Centrality no later than the

Reference Date, which deadline is fourteen (14) days after this Order is issued

(September 12, 2023), and shall be served on the MDL PEC, MN Counsel, and the

Defendants via MDL Centrality. The Pro Se Eligible Claimants shall be required to

file a Declaration (see Exhibit B) regarding their Eligible Claim within the same time

period and shall serve such Declaration on the MDL PEC, MN Counsel, and the

Defendants in the same manner. CAE Counsel and Pro Se Eligible Claimants must

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update the Settlement Administrator within 14 days of receipt of any changed

personal or contact information.

      IV.   SANCTIONS FOR CAE COUNSEL’S FAILURE TO INCLUDE
            ALL ELIGIBLE CLAIMANTS ON DECLARATION.

      Failure by CAE Counsel to include on the referenced Declaration all Eligible

Claimants in which CAE Counsel is Primary Counsel will be a violation of this

Order and shall subject (i) such unidentified CAE Claimants to dismissal with

prejudice and (ii) CAE Counsel to potential sanctions by either the MDL Court or

the Minnesota Court or both. NOTE: These Declarations are critical to the

Court’s ability to effectively administer the settlement program through the

Court-appointed     Settlement      Administrator   and   the   Court-appointed

Settlement Data Administrator, and manage the MDL docket. There will be

NO notices of deficiency and no opportunities to cure for the failure to timely

submit a Declaration. In the event that either the MDL PEC, MN Counsel, or

the Defendants believe that a Declaration submitted pursuant to this Order is

in violation of this Order, they shall notify the Court and provide such

information, including information from the Settlement Administrator, as may

establish the violation.

      SO ORDERED, on this _____ day of August, 2023.


                                   M. CASEY RODGERS
                                   UNITED STATES DISTRICT JUDGE

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                            EXHIBIT “A”


                   DECLARATION OF COUNSEL




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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                     )   Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY                )
 LITIGATION                                )   Judge M. Casey Rodgers
                                           )
                                           )   Magistrate Judge Hope T. Cannon
 This Document Relates to:                 )
 All Cases                                 )
                                           )

                  DECLARATION OF CAE COUNSEL
                PURSUANT TO IDENTIFICATION ORDER

1.    My name is [INSERT NAME OF CAE COUNSEL], and I am an attorney at

      [INSERT NAME OF LAW FIRM] (collectively “CAE Counsel”).

2.    I submit this Declaration in accordance with the Combat Arms Settlement

      Agreement and the Court’s Identification Order on behalf of myself and my

      firm.

3.    Attached hereto is the chart that identifies all Eligible Claimants in which I

      or my firm are Primary Counsel, as defined in the Master Settlement

      Agreement. The attached chart will be timely served in both hard copy and

      in EXCEL format to MDL-Centrality in conformance with the Identification

      Order, and contains, to the best of my knowledge, the required demographic

      and contact information regarding my firms’ Eligible Clients in which I or

      my firm are Primary Counsel.


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4.   I understand that the obligation to identify all Eligible Claimants in which I

     or my firm is Primary Counsel applies regardless of whether the Eligible

     Claimants intend to participate in the Settlement, and I understand that the

     Court-appointed Settlement Administrator may contact these clients to

     provide relevant settlement information copying myself and/or a duly

     authorized representative at my firm at the email address listed below.

5.   Each identified Eligible Claim is in compliance with the obligations imposed

     by the Identification Order.

6.   I understand that to comply with the MSA and the Court’s Identification

     Order, this Declaration must be submitted to the Court via MDL Centrality

     by the Reference Date, which deadline is fourteen (14) days after the

     Identification Order was issued.

7.   I understand and agree that my failure to identify all Eligible Claimants in

     which I or my firm is Primary Counsel is a violation of Identification Order

     and will result in: (a) dismissal with prejudice of any CAE claims in which I

     or my firm is Primary Counsel that were not identified; (b) potential

     sanctions and other penalties as may be determined by the Court, either

     pursuant to a motion of a Party or sua sponte.

8.   I have/my firm has ceased advertising, solicitation, or involvement in any way

     with the advertising or solicitation for CAE Claims as of the Effective Date.


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9.   I swear under penalty of perjury that the foregoing is true and correct.




DATE: [MONTH] [DAY], [YEAR]                    /s/
                                               [NAME OF CAE COUNSEL]
                                               [NAME OF LAW FIRM]
                                               [ADDRESS]
                                               [ADDRESS]
                                               [ADDRESS]
                                               [TELEPHONE NUMBER]
                                               [EMAIL ADDRESS]




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              IDENTIFICATION OF CAE CLAIMANTS




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                            EXHIBIT “B”


         DECLARATION OF PRO SE ELIGIBLE CLAIMANT




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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                    )     Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY               )
 LITIGATION                               )     Judge M. Casey Rodgers
                                          )
                                          )     Magistrate Judge Hope T. Cannon
 This Document Relates to:                )
 All Cases                                )
                                          )

     DECLARATION OF PRO SE ELIGIBLE CLAIMANT PURSUANT TO
                    IDENTIFICATION ORDER

1.     My name is [INSERT NAME OF PRO SE ELIGIBLE CLAIMANT], and I

       am an Eligible Claimant but not represented by counsel.

2.     I submit this Declaration in accordance with the Combat Arms Settlement

       Agreement and the Court’s Identification Order on behalf of myself.

3.     Attached hereto is the chart that identifies my personal information and

       information about my case. The attached chart will be timely served in both

       hard copy and in EXCEL format to MDL-Centrality in conformance with the

       Identification Order, and contains the required demographic and contact

       information so that I may be contacted by the Settlement Administrator.

4.     I understand that to comply with the MSA and the Court’s Identification

       Order, this Declaration must be submitted to the Court via MDL Centrality

       by the Reference Date, which deadline is fourteen (14) days after the


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     Identification Order was issued.

5.   I understand and agree that my failure to provide the information required

     will result in: (a) dismissal with prejudice of my CAE claims; and (b)

     potential sanctions and other penalties as may be determined by the Court,

     either pursuant to a motion of a Party or sua sponte.

6.   I swear under penalty of perjury that the foregoing is true and correct.




DATE: [MONTH] [DAY], [YEAR]                      /s/
                                                 [NAME OF CAE CLAIMANT]
                                                 [ADDRESS]
                                                 [ADDRESS]
                                                 [ADDRESS]
                                                 [TELEPHONE NUMBER]
                                                 [EMAIL ADDRESS]




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       IDENTIFICATION OF PRO SE ELIGIBLE CLAIMANT




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                                    COMBAT ARMS REGISTRATION FORM
                                                  INSTRUCTIONS
This Registration Form has been prepared in accordance with the Combat Arms Settlement Agreement (“Settlement
Agreement”). The parties to the Settlement Agreement and CAE Counsel believe the settlement is in the best interests
of the Eligible Claimants and CAE counsel because the settlement will bring finality to the litigation and permit the
Eligible Claimants to receive compensation for their alleged injuries. However, to access the benefits of the Settlement,
Eligible Claimants must complete and submit a Registration Form, including all required signatures and attachments,
with the Settlement Administrator.

As an Eligible Claimant, you have the option to enroll in one of two Settlement Program Options as follows: (1)
Expedited Payment Option, or (2) Full Evaluation Deferred Payment Program. If you Register for either Settlement
Program Option, you are choosing to stop all litigation and receive compensation pursuant to the Settlement Agreement.
If you do not want to receive any compensation pursuant to the Settlement Agreement and the two Settlement Program
Options, you have the option to not Register and choose to become a Litigating Plaintiff. If you choose to become a
Litigating Plaintiff, you are not entitled to any payment pursuant to the Settlement Agreement and must timely comply
with all prior and future Court orders.

Once completed and signed by the Eligible Claimant, the Registration Form (together with all required attachments)
for an Eligible Claimant who is represented by CAE Counsel must be submitted to the Settlement Administrator.

Pro se Eligible Claimants shall complete and sign the Registration Form and must submit the completed Registration
Form, together with all required attachments, to the Settlement Administrator themselves.

The deadline for submission of Registration Forms is the Initial Registration Date. Eligible Claimants who have not
submitted a Registration Form by the Initial Registration Date shall not be eligible to participate in the Settlement and
will have their case dismissed for failure to comply with a Court order. Eligible Claimants that have submitted a
Registration Form and have not elected to Participate in the Settlement Program by the Final Registration Date shall
not be eligible to participate in the Settlement unless Defendants, in their sole discretion, agree to waive this
requirement on a case-by-case basis. Eligible Claimants who do not register or do not participate and who fail to
comply with the orders of the MDL Court or the MN Court shall have their claims dismissed with prejudice.

                         I.A. ELIGIBLE CLAIMANT IDENTIFYING INFORMATION

                           First                      Middle                Last                 Suffix
 1. Name of
    Eligible
    Claimant


 2. Social Security         |       |   |   |-|   |       |-|   |   |   |     |    3. Date of               /         /
                                                                                                          (Month/Day/Year)
    Number                                                                         Birth
                           Street

 4. Permanent
    Address                City                                                                  State          Zip




                                                                                                                             1
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5. Telephone            (            )    _ _-          ___ _        6. Email
   Number                                                              Address

                                         First                                   Middle               Last

7. Any other names by
   which the Eligible                    First                                   Middle               Last
   Claimant has been
   known, including but                  First                                   Middle               Last
   not limited to maiden
   name
                                                     I.B. CAE COUNSEL INFORMATION
If the Eligible Claimant is represented by counsel, the following information must be provided concerning the
Eligible Claimant’s counsel. If the Eligible Claimant is not represented by counsel (pro se), skip to Section I.C.
                            First                           Middle               Last                 Suffix
1. Attorney Name

                            Law Firm
2. Firm Name
                            Street

3. Firm Address
                            City                                                 State    Zip         Country




4. Firm                                                                          5. Firm Fax
   Telephone                         (           )                                                     (        )
                                                                                    Number
   Number                                                                                                       ________

6. Email Address


                                                        I.C. CASE INFORMATION
    If a lawsuit has previously been filed by or on behalf of the Eligible Claimant provide the following
         information about the case, even if the case was subsequently dismissed without prejudice.

                               ☐ MDL Court
1. Court/
   Jurisdiction                ☐ MN Court (the Minnesota State Actions)
                               ☐ Other ____________________________________________________

                                                          ______________________________________ v.
2. Case Caption


3. Case Number



                                                                                                                           2
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  4. MDL Centrality
      Plaintiff ID
      Number
(if ever a registered
claimant in the MDL)


 5. Most Recent            ☐ Pending/Active Case
    Case Status
                           ☐ Dismissed Without Prejudice


 6. All Previous
    Case Numbers

  7. All Previous
      MDL Centrality
      Plaintiff ID
      Numbers
(if ever a registered
claimant in the MDL)

          II. PERSONAL REPRESENTATIVE INFORMATION FOR DECEASED, MINOR, OR
                          INCAPACITATED ELIGIBLE CLAIMANTS
1. Is this Registration Form being completed on behalf of the Eligible Claimant or the Eligible Claimant’s estate by
   a duly and lawfully appointed Personal Representative?
                                                    YES                     NO
                                  If YES, complete this Section II. If NO, skip to Section III.



2. Representative’s             Spouse                 Parent                    Child                   Sibling
   Relationship to
   the Eligible                 Other _________________________
   Claimant (check                              (specify)
   all that apply)


3. Reason for               ☐ Eligible Claimant is Deceased                4. Eligible
   Personal                 ☐ Eligible Claimant is a Minor                    Claimant’s                    /       /
   Representative                                                             Date of Death
                            ☐ Eligible Claimant is Incapacitated              (if applicable)        (Month/Day/Year)

                            ☐ Other: __________________
                                         (specify)

5. Representative’s
    Authority to Act on         Administrator               Executor          Conservator             Guardian
                                                                                                                   3
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   Behalf of the                           Other ________________________
   Eligible Claimant or                                    (specify)
   His/Her Estate
                              Last                                                         First                  Middle
6. Representative’s
   Name
                              Street


7. Representative’s
   Address                    City                                             State       Zip          Country




8. Representative’s                                                            9. Representative’s
   Telephone                    (            )         -
                                                                                  Email Address
   Number


10. Representative’s                                                                       11. Representative’s
                                                                                                                           /      /
    Social Security       |            |     |   |-|       |   |-|     |   |       |___|       Date of Birth
    Number                                                                                                          (Month/Day/Year)


                             III. CLAIM INFORMATION
         ELECTION REGARDING PARTICIPATION IN THE CAE SETTLEMENT PROGRAM

Each Eligible Claimant (or a Representative acting on the Eligible Claimant’s behalf) must elect whether he/she will
participate in the Expedited Payment Program, the Deferred Payment Program, or will not participate in the Combat
Arms Settlement.

Before making the election below, the Eligible Claimant must carefully read the separate Settlement Program
Description and Disclosure. The Settlement Program Description and Disclosure provides you with
information that you need to consider prior to making the election below. Failure to carefully review the
Settlement Program Description and Disclosure may result in you giving up valuable legal rights.

I hereby make the following election:

        The Eligible Claimant elects to participate in the EXPEDITED PAYMENT PROGRAM.
               [Language to be inserted regarding the Claimants expected payment, the timing of the
               payment, and the basis of the payment. Additional language to be inserted giving Claimants
               the opportunity to supplement their claim file with records beyond what the Administrator
               identifies as the basis for the expected payment. ]


       The Eligible Claimant elects to participate in the DEFERRED PAYMENT PROGRAM.
               Should you elect to participate in the Deferred Payment Program, you will _[insert comments about
               registration                       payment                     and                      program
               application]_____________________________________________________________.

       The Eligible Claimant elects NOT to participate in the Combat Arms Settlement Program and
       and instead chooses to continue as a LITIGATING PLAINTIFF.                                                               4
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                By selecting this option, the Eligible Claimant understands and agrees that he/she will not receive
                any payment under the Combat Arms Settlement Agreement either now or in the future and will be
                required to continue litigating his/her claims against Defendants under strict requirements imposed
                by the Court, with no guarantee of future recovery. By selecting this option, the Eligible Claimant
                further certifies as follows: (1) that he/she has personally read each and every order of the MDL
                Court and MN Court applicable to Litigating Plaintiffs before selecting this option, (2) that he/she
                has consulted with or had the opportunity to consult with legal counsel of his/her choosing regarding
                his/her deadlines, responsibilities, and obligations under the MDL Court and MN Court orders
                applicable to Litigating Plaintiffs before selecting this option, and (3) that he/she will comply with
                each and every order of the MDL Court and MN Court applicable to Litigating Plaintiffs. Both the
                MDL Court and the MN Court have made clear that failure to timely comply with each and every
                one of their orders will result in the dismissal of your case with prejudice with no opportunity to
                make any recovery.

 If you elected to participate in the Expedited Payment Program or the Deferred Payment Program, please continue
 to Section IV. If you elected NOT to participate in the Combat Arms Settlement Program and instead chose to
 continue as a Litigating Plaintiff, skip to Section VII.




                                  IV. REGISTRATION FORM MATERIALS

In accordance with Section 6 of the Settlement Agreement, to be complete, a Registration Form must be accompanied
by the following required attachments. Confirm that the following materials are being submitted with this Registration
Form by checking the box(es) below:

            A completed and signed Registration Form.

            A full and complete Release of Released Parties, in the form set forth in Exhibit __ to the Settlement
            Agreement, to (without limitation) release, indemnify, and hold harmless each Released Party. The Release
            must be properly and fully executed by the Eligible Claimant (in addition to being executed by CAE
            Counsel as specified therein). If the Release is signed by a duly and lawfully appointed representative of
            an Eligible Claimant, said representative must indicate on each document his/her/their relationship to the
            Eligible Claimant and the authority upon which he/she/they is permitted to sign the document on the
            Eligible Claimant’s behalf (e.g., guardian, executor or administrator of the Estate of Eligible Claimant,
            etc.) and attach proper documentation (e.g., power of attorney, letters of administration) authorizing
            him/her/them to act in this representative capacity.

            For all Eligible Claimants who filed complaints in the MDL Court or MN Court (the Minnesota State
            Actions), a stipulated Dismissal with Prejudice, in the form set forth in Exhibit __ to the Settlement
            Agreement, which shall be filed in the appropriate court after the Walkaway Date, if Defendants have not
            exercised a Walkaway Right.


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    Releases and Dismissals with Prejudice provided as part of the registration process shall be held in escrow by
    the Settlement Administrator, until after the Walkaway Date. In the event that Defendants do not exercise a
    Walkaway Right, such Releases shall be provided to Defendants, and the Dismissals with Prejudice shall be filed
    jointly by both parties.

                        V. ELIGIBLE CLAIMANT’S MILITARY SERVICE AND PRODUCT USE

     1.       Did the Eligible Claimant serve in the United States military?
                  YES
                  NO
              If YES, indicate below the branch(es) of the United States military in which you served:
                 Army          Marine Corps         Navy           Air Force        Space Force          Coast Guard
                 National Guard
     2.       State below the dates during which you used the dual-ended Combat Arms Earplug as a hearing protection
              device.


              Start Date: ______________________________             End Date: _______________________________
                               (Month & Year)                                          (Month & Year)
          .



     3.       List below every U.S. state or territory in which you have resided since you first began using the dual-ended
              Combat Arms Earplug:
              ______________________________________                    ______________________________________
              ______________________________________                    ______________________________________
              ______________________________________                    ______________________________________


.




                                            VI. BANKRUPTCY INFORMATION




                                                                                                                        6
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1. Has the Eligible Claimant declared
   bankruptcy or sought bankruptcy                                               If YES, complete items 2-4.
   protection at any time since the date the            YES            NO        If NO, skip to Section VII.
   Eligible Claimant contacted an attorney
   regarding his/her use of the CAE?
   OR
   Is there a bankruptcy action currently
   pending in which you are seeking
   bankruptcy protection?
2. Bankruptcy Court/Jurisdiction


3. Case Number                                                     4. Date                        /       /
                                                                      Filed                (month) ( day) ( year)

                                  VII. CERTIFICATION AND SIGNATURE
     This Registration Form must be signed and dated by the Eligible Claimant (or his/her Representative).
   The electronic signature of an Eligible Claimant (or his/her Representative) is sufficient and will be accepted.

By signing below, I declare under penalty of perjury subject to 28 U.S.C. § 1746 that all of the information
provided in this Registration Form is true and correct.


I understand and agree that the submission of a Release is irrevocable. No Eligible Claimant may under any
circumstances or reason withdraw a Registration Form electing to participate in the Settlement, request the
return of his/her Release or Dismissal with Prejudice, or otherwise withdraw from the Settlement, unless
Defendants exercise their Walkaway Right or absent consent of Defendants in their sole discretion. By
submitting a Registration Form, CAE Counsel, and the Eligible Claimant covered by such Registration Form,
shall be deemed to have agreed to be bound by all of the terms and conditions of this Settlement. Further, the
submission of a Registration Form, CAE Counsel, and the Eligible Claimant shall affirmatively accept and
acknowledge the jurisdiction of the Special Master and the MDL Court (or to the MN Court, for cases under its
jurisdiction) for all matters and decisions related to the Settlement Agreement.




Signature of                                                    Executed on
Eligible                                                        Date                              /       /
Claimant (or                                                                               (month) ( day) ( year)
Representative)

                   First                       MI               Last
Printed Name




                                                                                                                    7
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                                                  EXHIBIT 4

                                      RELEASE OF ALL CLAIMS

I, the undersigned Releasor, am a plaintiff, tolling agreement claimant, or other claimant in the 3M
Combat Arms Version 2 Earplug Products Liability Litigation. I have chosen to participate in the
Combat Arms Version 2 Settlement Program 1 set forth in the Master Settlement Agreement dated
as of August 29, 2023. I have received disclosures from my counsel and the Combat Arms
Settlement Administrator regarding the allocation of the Combat Arms Settlement, which enables
me to estimate my settlement offer amount. I understand that along with this Release I am
submitting a Registration Form to the Combat Arms Settlement Administrator. I understand that
the terms of the Settlement and this Release govern the resolution of my claim. I understand and
agree that this Release shall become effective concurrent with Defendants’ first payment under the
Settlement Agreement. I understand that 3M’s Initial Settlement Amount shall be held in trust for
purposes of making payments to the participants in the Settlement Program. I understand that at
the time determined by the Master Settlement Agreement if I am represented by counsel, my
counsel will execute a stipulated dismissal with prejudice dismissing all pending Released Claims
I have. Once effective, this Release shall release any and all Released Claims I and the other
Releasing Parties have, or may have in the future, whether known or unknown, against the
Released Parties.

Accordingly, in consideration for the Released Parties’ agreement to establish the Combat Arms
Settlement Program, the significant expenses being incurred by 3M in connection with the Combat
Arms Settlement Program, and my Individual Plaintiff Settlement Payment, I hereby give and
make the following Release. This Release is also entered into by any Derivative Claimant who
executes a signature page hereto, in which case the agreement of such Derivative Claimant set
forth on its signature page is incorporated in, and is part of, this Release. By signing this Release,
both I and any such Derivative Claimant understand and acknowledge that although I have
received disclosure documents regarding the allocation of the Combat Arms Settlement Fund,
which enables me to estimate my settlement offer amount, there is no assurance as to the precise
amount of payment to be made to any claimant under the Combat Arms Settlement Program, and
this fact shall in no way affect the validity or effect of this Release.

Definitions: As used in this Release, and in addition to the definitions set forth in the Preamble
above, capitalized terms shall have the following definitions and meanings or such definitions and
meanings as are accorded to them elsewhere in this Release. Terms used in the singular shall be
deemed to include the plural and vice versa.

        1.       “Claims” means any and all past, present, and future rights, remedies, actions,
                 claims, liabilities, losses, demands, causes of action, suits at law or in equity,
                 verdicts, suits of judgments and/or Liens, past, present, and future, and any
                 fraudulent transfer, conveyance, and related types of claims, of any kind

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  Capitalized terms are either (i) defined below, or (ii) in the Master Settlement Agreement. Capitalized terms that
are used but not otherwise defined herein shall have the meanings given such terms in the Master Settlement
Agreement.


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         whatsoever regardless of the legal or equitable theory, whether known or unknown,
         whether sounding in contract or tort, whether asserted or unasserted in any
         litigation, or the jurisdiction where asserted. Claims also include, but are not
         limited to, all claims for damages or remedies of whatever kind or character, known
         or unknown, that are now recognized or that may be created or recognized in the
         future by statute, regulation, judicial decision, or in any other manner, including
         but not limited to (i) personal injury and/or bodily injury, latent injury, future injury,
         progression of existing injury, damage, disease, death, fear of death, disease or
         injury, mental or physical pain or suffering, emotional or mental harm, anguish, or
         loss of enjoyment of life or loss of life’s pleasures; (ii) compensatory damages,
         general damages, special damages, punitive, exemplary, and statutory and other
         multiple damages or penalties of any kind; (iii) loss of wages, income, earnings or
         earning capacity; (iv) medical expenses, doctor, hospital, nursing, physical therapy
         or rehabilitation or other therapy and drug bills; (v) loss of support, services,
         consortium, companionship, society or affection, or damage to familial relations,
         by spouses, former spouses, parents, children, other relatives or “significant others”
         of any Derivative Claimant; (vi) consumer fraud, refunds, unfair business practices,
         deceptive trade practices, Unfair and Deceptive Acts and Practices, disgorgement
         of profit, and other similar claims whether arising under statute, regulation, or
         judicial decision; (vii) wrongful death and survivorship; (viii) medical screening
         and monitoring; (viii) injunctive and declaratory relief; (ix) economic, property, or
         business losses; (x) prejudgment or post-judgment interest; (xi) attorneys’ fees and
         costs; and (xii) any class action or putative class action.

    2.   Combat Arms Earplugs (“CAE”): means any dual-ended non-linear earplugs
         sold or manufactured by or for or with either Aearo or 3M under any trade name,
         including but not limited to Combat Arms Earplugs (Version 2), ARC Plug
         earplugs, and AO Safety Indoor Outdoor Range Earplugs.

    3.   “Derivative Claimant” means any and all persons who have or assert the right to
         sue 3M or any other Released Party related to the Released Claims by reason of
         their personal relationship with me, and/or otherwise by, through or under, or
         otherwise in relation to, me, whether their right to sue is independent, derivative,
         or otherwise. Derivative Claimants include, but are not limited to, my parents,
         guardians, heirs, beneficiaries, surviving spouse (including, but not limited to, a
         putative or common law spouse), surviving domestic partner and/or next of kin, if
         any, solely in respect to Derivative Claims.

    4.   “Derivative Claims” means Claims against 3M or any other Released Party arising
         from or in connection with a Derivative Claimant’s personal relationship with me
         as it relates to the Released Claims, and/or otherwise by, through or under, or
         otherwise in relation to, me.

    5.   “Third Party Provider/Payor” means any provider or payor (public or private) of
         (i) health, hospital, medical, physician, healthcare and/or pharmaceutical services,
         products or expenses and/or (ii) any other form of compensation, including, but not


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          limited to, federal and state governmental authorities (or other persons) providing
          Medicaid and/or Medicaid services or benefits.

    6.    “Individual Plaintiff Settlement Payment” means any gross payment made by
          the Combat Arms Settlement Administrator to a Releasing Party, which shall
          include a Registration Payment and any additional amounts to be determined
          pursuant to the Master Settlement Agreement.

    7.    “Law” means a law, statute, ordinance, rule, regulation, case or other legal
          provision or authority.

    8.    “Liabilities” means any and all damages, expenses, debts, liabilities, obligations,
          covenants, promises, contracts, agreements and/or obligations, of any kind
          whatsoever, past, present, and future.

    9.    “Lien” means any lien, pledge, charge, security interest, assignment, encumbrance,
          subrogation right, third-party interest, or other adverse claim of any nature
          whatsoever against my Individual Plaintiff Settlement Payment or my Released
          Claims and Liabilities.

    10.   “Registration Payment” means a payment made upon submission of a completed
          Registration Form made to qualifying claimants by the Combat Arms Settlement
          Administrator pursuant to the terms of the Master Settlement Agreement.

    11.   “Released Claims and Liabilities” means, collectively, (i) CAE Claims that any
          Releasing Party may have ever had, may now have or at any time hereafter may
          have against any Released Party and (ii) Liabilities that any Released Party may
          have ever had, may now have or at any time hereafter may have to any Releasing
          Party, in the case of clause (i) and clause (ii), to any extent, or in any way, arising
          out of, relating to, resulting from and/or connected with CAE or any non-linear
          earplugs sold or manufactured by or for or with either Aearo or 3M under any trade
          name, including but not limited to Combat Arms Earplugs (Version 2), ARC Plug
          earplugs, and AO Safety Indoor Outdoor Range Earplugs, including but not limited
          to Combat Arms version 1, version 2, version 3, version 4, and version 4.1.

    12.   “Released Parties” means: (i) 3M Company, 3M Occupational Safety LLC, Aearo
          Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC
          (collectively “3M”); (ii) 3M’s past, present, and/or future affiliates, assigns,
          predecessors, successors, related companies, subsidiary companies, directors,
          officers, employees, shareholders, advisors, advertisers, attorneys, insurers, and
          agents; (iii) past, present, and/or future manufacturers, suppliers of materials,
          suppliers of components, and all other persons involved in development, design,
          manufacture, formulation, testing, distribution, marketing, labeling, regulatory
          submissions, advertising and/or sale of any CAE or component thereof; (iv) past,
          present, and/or future distributors, licensees, retailers, sellers, and resellers of CAE;
          (v) all past, present and/or future persons and entities that are indemnified by 3M
          in connection with any CAE by contract or common law rights of indemnification

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               or contribution; and (vi) the respective past, present, and/or future parents,
               subsidiaries, divisions, affiliates, joint venturers, predecessors, successors, assigns,
               transferees, insurers, shareholders (or the equivalent thereto), directors (or the
               equivalent thereto), officers (or the equivalent thereto), managers, principals,
               employees, consultants, advisors, attorneys, agents, servants, representatives, heirs,
               trustees, executors, estate administrators, and personal representatives (or the
               equivalent thereto) of the parties referred to in this paragraph.

       13.     “Releasing Parties” means (i) myself and (ii) any Derivative Claimant.

       14.     “Settlement Agreement” means the Combat Arms Settlement Agreement dated as
               of August 29, 2023

       15.     “Settlement Program” means the Combat Arms Settlement Program set forth in
               the Combat Arms Settlement Agreement.

Releases: On my own behalf and on behalf of each other Releasing Party, I hereby knowingly and
voluntarily release, relinquish, and forever discharge the Released Parties from the Released
Claims and Liabilities. Further, on my own behalf and on behalf of each other Releasing Party, I
hereby release the Released Parties from responsibility or liability for any individual settlement
amount allocation, division, or payment of any settlement amount in the Settlement Agreement or
the Settlement Program by the Settlement Administrator. This release is not conditional on receipt
of any particular settlement amount or allocation by the Settlement Administrator.

I acknowledge that I and/or any other Releasing Party may in the future learn of additional and/or
different facts as they relate to the Released Claims, the Released Parties’ activities as they relate
to the Released Claims. I understand and acknowledge the significance and consequences of
releasing all of the Released Claims and Liabilities and hereby (on my own behalf and on behalf
of each other Releasing Party in respect of Derivative Claims) assume full risk and responsibility
for any and all such additional and/or different facts and any and all Released Claims and
Liabilities that I (and/or any other Releasing Party in respect of Derivative Claims) may hereinafter
incur or discover. To the extent that any law may at any time purport to preserve my and/or any
other Releasing Party’s right to hereafter assert any such unknown and/or unanticipated Released
Claim and/or Liabilities, I hereby (on my own behalf and on behalf of each other Releasing Party
in respect of Derivative Claims) specifically and expressly waive (to the fullest extent permitted
by applicable Law) each Releasing Party’s rights under such Law. I further acknowledge having
had an opportunity to obtain advice of counsel of my choosing regarding this waiver, and having
had the opportunity to discuss it with such counsel to my satisfaction.

On my own behalf and on behalf of each other Releasing Party, I acknowledge and agree that the
releases set forth in this Release are irrevocable and unconditional, inure to the benefit of and may
be enforced by each Released Party, and are intended to be as broad as can possibly be created.

WITHOUT LIMITATION OF THE FOREGOING, THIS RELEASE IS SPECIFICALLY
INTENDED TO OPERATE AND BE APPLICABLE EVEN IF IT IS ALLEGED,
CHARGED, OR PROVED THAT SOME OR ALL OF THE RELEASED CLAIMS AND
LIABILITIES ARE CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE,

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NEGLIGENCE PER SE, GROSS NEGLIGENCE, BREACH OF WARRANTY, FAILURE
TO WARN, VIOLATION OF LAW, DEFECTIVE PRODUCT, MALICE, AND/OR
CONDUCT OF ANY TYPE BY 3M, ANY OF THE OTHER RELEASED PARTIES, ANY
RELEASING PARTY, AND/OR ANY OTHER PERSON.         THIS RELEASE IS
SPECIFICALLY INTENDED TO AND DOES INCLUDE, BUT IS NOT LIMITED TO, A
RELEASE OF, AND COVENANT NOT TO SUE FOR, ANY LATENT, FUTURE, OR
WRONGFUL DEATH CLAIM THAT MAY BE BROUGHT AT ANY TIME OR ON
BEHALF OF ANY OF THE RELEASING PARTIES IN CONNECTION WITH ANY OF
THE FACTS, EVENTS, AND/OR INCIDENTS THAT GAVE RISE TO ANY OF THE
RELEASED CLAIMS AND LIABILITIES.

Waiver of Statutory Rights.

I, on my own behalf and on behalf of each other Releasing Party, expressly waive and
relinquish, to the fullest extent permitted by law, the provisions, rights, and benefits of
California Civil Code Section 1542, or any other similar provision under federal or state law,
which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE
       AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
       AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED
       PARTY.

To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly, and
voluntarily waive the provisions of Section 28-1-1602 of the Montana Code Annotated, which
provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH, IF KNOWN
       BY THE CREDITOR, MUST HAVE MATERIALLY AFFECTED THE
       CREDITOR’S SETTLEMENT WITH THE DEBTOR.

To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 9-13-02
of the North Dakota Century Code, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
       BY THE CREDITOR, MUST HAVE MATERIALLY AFFECTED THE
       CREDITOR’S SETTLEMENT WITH THE DEBTOR.




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To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 20-7-11
of the South Dakota Codified Laws, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT
       THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
       MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE
       DEBTOR.

To the extent the laws apply, I, on my own behalf and on behalf of each other Releasing
Party, expressly waive and relinquish all rights and benefits that they may have under, or
that may be conferred upon them by, Section 1542 of the California Civil Code, Section 28-
1-1602 of the Montana Code Annotated, Section 9-13-02 of the North Dakota Century Code,
Section 20-7-11 of the South Dakota Codified Laws, and all similar laws of other States, to
the fullest extent that they may lawfully waive such rights or benefits pertaining to the
Released Claims and Liabilities.

In connection with such waiver and relinquishment, I, on my own behalf and on behalf of
each other Releasing Party, acknowledge that I am aware that I or my attorneys may
hereafter discover Claims or facts in addition to or different from those that they now know
or believe to exist with respect to the Released Claims and Liabilities, but that it is my
intention to accept and assume that risk and fully, finally, and forever release, waive,
compromise, settle, and discharge all the Released Claims and Liabilities against Released
Parties. The Release thus shall remain in effect notwithstanding the discovery or existence
of any additional or different Claims or facts.

Attorneys’ Fees; Division of Any Individual Plaintiff Settlement Payment: I understand that
the Released Parties are not responsible for any attorneys’ fees or costs I have incurred or may at
any time incur, including, but not limited to, in connection with entering into this Release and any
other documents. I understand that, with respect to any Individual Plaintiff Settlement Payment,
any dispute regarding the division of such Individual Plaintiff Settlement Payment between me,
any Derivative Claimant executing this Release, and our respective counsel (if any) shall in no
way affect the validity of this Release.

Pursuit of Certain Claims: I agree that other than to enforce this Release, I will never (i) take
any legal or other action to initiate, pursue, maintain, or otherwise attempt to execute upon, collect,
or otherwise enforce, any of the Released Claims and Liabilities of or against any Released Party;
(ii) institute or participate in any new legal action against any Released Party to any extent, or in
any way, arising out of, relating to, resulting from and/or connected with the Released Claims; (iii)
attempt to execute or collect on, or otherwise enforce, any judgment that may be entered against
any Released Party in any legal action described in clause (ii) or my pending legal action against
3M; or (iv) take any legal or other action against any Released Party concerning the administration,
settlement allocation, individual settlement amount, or any other aspect of the Settlement Program.

Liens and Other Third-Party Payor Claims: I agree that prior to the first time that an Individual
Plaintiff Settlement Payment is made to me, I shall identify to the Settlement Administrator for the
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Combat Arms Settlement Program all governmental authorities that are Third Party
Providers/Payors known to me to hold or assert any Lien pursuant to any applicable statute with
respect to any Individual Plaintiff Settlement Payment (and/or the right to receive such Individual
Plaintiff Settlement Payment) payable to me, through procedures and protocols to be established
by the Combat Arms Settlement Administrator. I further understand that the Combat Arms
Settlement Administrator will also check with the potentially applicable government entities
including Medicare, Medicaid from the state(s) where I have resided, or if I am a Veteran, the
United States Department of Veterans Affairs, or if medical bills were paid by any federal policy
such as Tricare, such agency, to ensure there are no pertinent governmental liens and will not
distribute funds to me until they receive assurance that there are no such governmental liens, or if
they do exist, that they are appropriately compromised and paid.

I understand and acknowledge that satisfaction and discharge of any and all Liens with respect to
any Individual Plaintiff Settlement Payment (and/or the right to receive any Individual Plaintiff
Settlement Payment) is the sole responsibility of me and any Derivative Claimant executing this
Release and must, in relation to all governmental authorities that are Third Party Providers/Payors
who hold or assert any Liens pursuant to any applicable statute, be established to the satisfaction
of the Combat Arms Settlement Administrator before any Individual Plaintiff Settlement Payment
(if any) can be disbursed to me.

Before the first time an Individual Plaintiff Settlement Payment is made to me, I (and any
Derivative Claimant) shall represent and warrant that any and all Liens have been, or will be,
satisfied and discharged. Furthermore, upon request to the Combat Arms Settlement
Administrator, 3M shall be entitled to proof of satisfaction and discharge of any or all such Liens
pursuant to any applicable statute in relation to all governmental authorities that are Third Party
Providers/Payors. Documentation of a holdback amount determined by the Combat Arms
Settlement Administrator shall count as sufficient proof for the release of funds to the relevant
Claimant.

In addition to and without limitation of the foregoing, I hereby agree, jointly and severally with
any Derivative Claimant executing this Release, to indemnify and hold harmless the Released
Parties (as defined above) from and against (i) any and all Claims made or asserted at any time
against any Released Party by (a) any Third Party Provider/Payor in relation to me or any
Derivative Claim, (b) any person at any time holding or asserting any Lien in relation to me or any
Derivative Claim, and/or (c) any other person at any time claiming by, through or under, me or
any Derivative Claimant executing this Release, with respect to any funding payment by or for the
account of 3M under the Settlement Agreement or Settlement Program (and/or the right to receive
any such Individual Plaintiff Settlement Payment), and (ii) any and all damages, losses, costs,
expenses (including, but not limited to, legal fees and expenses) and/or Liabilities incurred or
suffered by, or imposed on, any Released Party in connection with, arising out of or resulting from
any Claim described in clause (i) of this sentence (including, but not limited to, any amount paid
or to be paid in satisfaction of any such Claim).

Indemnification for Released Claims and Liabilities: I hereby agree, jointly and severally with
any Derivative Claimant executing this Release, to indemnify and hold harmless each Released
Party from and against (i) any and all Claims that may be asserted, made or maintained at any time

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against any Released Party by, on behalf of or for the benefit of, or otherwise through or under,
any Releasing Party with respect to any of the Released Claims and Liabilities, and (ii) any and all
damages, losses, costs, expenses (including, but not limited to, legal fees and expenses), and/or
Liabilities incurred or suffered by, or imposed on, any Released Party in connection with, arising
out of or resulting from any Claim described in clause (i) of this sentence (including, but not limited
to, any amount paid or to be paid in satisfaction of any such Claim) and/or, without limitation of
the foregoing, any breach by me (or any Derivative Claimant executing this Release) of any of the
terms of this Release.

I (and any Derivative Claimant executing this Release) accept that I will be responsible for any tax
consequences arising from, related to, or in any way connected with the relief afforded to me (and
the Derivative Claimant) under the Settlement Agreement.

Pursuit of Certain Claims: Other than to participate in the Settlement , I agree that from and after
the date on which this Release is executed until the earlier of either (i) the date on which my
Dismissal With Prejudice Stipulation is delivered to Defendants or (ii) I exit the settlement
program and this Release is returned to me, I shall be prohibited from, and refrain from, taking
any action (including any legal action) to initiate, pursue, maintain, or otherwise attempt to execute
upon, collect or otherwise enforce, any actual or alleged Released Claims and Liabilities of or
against Defendants or any other Released Party. I will also cooperate in all reasonable respects
with Defendants to seek to stay, and to continue in effect any then outstanding stay with respect
to, any pending legal proceedings instituted by me and/or Derivative Claimants against any
Released Party in connection with Released Claims, and I will refrain from instituting any new
legal action against any Released Party in connection with any Released Claim. I will also be
prohibited from and refrain from, attempting to execute or collect on, or otherwise enforce, any
judgment that may be entered against any Released Party in connection with any Released Claim.

I also agree that if I am determined or deemed to be a Registered Claimant, or if I exit the settlement
program under circumstances such that my Release remains in effect, in furtherance and not in
limitation of such Release, any judgment in connection with any Released Claim automatically
shall be deemed to have been Released by me and all such Derivative Claimants. I agree that I
and any Derivative Claimants shall execute such instruments, and take such other actions, as
Defendants reasonably may request in order to further evidence or implement the same.

Confidentiality: I agree to maintain in confidence, and shall not disclose to any person, the amount
of any Individual Plaintiff Settlement Payment, except as may be required by applicable Law and
to effectuate the settlement; provided, that I understand that I may disclose such information to my
immediate family members and to my counsel, accountants and/or financial advisors, if any (each
of whom I shall, upon such disclosure, instruct to maintain and honor the confidentiality of such
information). I agree that if I breach this confidentiality provision, money damages would not be
a sufficient remedy and, accordingly, without limitation of any other remedies that may be
available at law or in equity, 3M shall be entitled to specific performance and injunctive or other
equitable relief as remedies for such breach.

Medical Documentation Authorization: I have authorized my counsel to obtain and supply (or
if I am not represented by counsel, I will obtain and supply) to the Combat Arms Settlement
Administrator and all other persons provided for under the terms of the Settlement Agreement to

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consider claims, and their respective attorneys, agents, servants, employees and independent
auditors and others deemed necessary by each to assist them, the medical or other documentation
required for approval of an Individual Plaintiff Settlement Payment under the Combat Arms
Settlement Program along with any and all authorizations for the release of medical records
required in my Settlement Program Registration and Confidentiality Form under the Combat Arms
Settlement Program or that may be required by a provider of such documentation, including, but
not limited to, a specific authorization required by a particular hospital, pharmacy, physician or
any other source of documentation. I agree to cooperate fully in providing any authorization for
the release of records requested in connection with the Combat Arms Settlement Program. I also
authorize the foregoing persons to have access to my medical and other documentation available
in any electronic depository through which 3M delivers medical records it collects by way of
authorization or subpoena to Plaintiffs’ Counsel.

ACKNOWLEDGEMENT OF COMPREHENSION: I AM ENTERING INTO THIS
RELEASE FREELY AND VOLUNTARILY, WITHOUT BEING INDUCED,
PRESSURED, OR INFLUENCED BY, AND WITHOUT RELYING ON ANY
REPRESENTATION OR OTHER STATEMENT MADE BY OR ON BEHALF OF, 3M OR
ANY OTHER PERSON. I UNDERSTAND AND ACKNOWLEDGE THE NATURE,
VALUE, AND SUFFICIENCY OF THE CONSIDERATION DESCRIBED IN THIS
RELEASE. I ACKNOWLEDGE THAT I HAVE READ THIS RELEASE AND THE
DISCLOSURE DOCUMENTS PROVIDED TO ME REGARDING THE SETTLEMENT
AGREEMENT AND THE ALLOCATION OF THE COMBAT ARMS SETTLEMENT
FUND, AND I HAVE HAD AN OPPORTUNITY TO OBTAIN ADVICE FROM, AND ASK
QUESTIONS OF, COUNSEL OF MY CHOOSING REGARDING THE TERMS AND
LEGAL EFFECT OF THESE DOCUMENTS AND MY DECISION TO PARTICIPATE IN
THE SETTLEMENT PROGRAM.        I FURTHER ACKNOWLEDGE THAT I
UNDERSTAND THIS RELEASE AND THAT ALTHOUGH I HAVE RECEIVED
DISCLOSURE DOCUMENTS REGARDING THE ALLOCATION OF THE COMBAT
ARMS SETTLEMENT FUND WHICH ENABLES ME TO ESTIMATE MY
SETTLEMENT OFFER AMOUNT, THERE IS NO GUARANTEE THAT I WILL
RECEIVE ANY PARTICULAR AMOUNT UNDER THE SETTLEMENT PROGRAM. I
FURTHER ACKNOWLEDGE THAT PAYMENT(S) FROM THE SETTLEMENT
PROGRAM SHALL BE THE ONLY PAYMENT(S) TO ME WITH RESPECT TO ANY
RELEASED PARTY. I FURTHER ACKNOWLEDGE THAT THIS RELEASE IS THE
PRODUCT OF A MEDIATED SETTLEMENT, THAT THE MEDIATORS HAD NO
DUTY TO PROTECT MY INTERESTS OR PROVIDE ME WITH INFORMATION
ABOUT MY LEGAL RIGHTS, AND THAT I SHOULD CONSULT WITH COUNSEL IF
I AM UNCERTAIN OF MY RIGHTS.

Waiver of Certain Provisions Regarding Timing of Any Payments. If I have any civil action
pending in any jurisdiction that has enacted, promulgated, or otherwise adopted any Law
containing provisions that establish specific time periods within which settlement funds, if any,
must be paid to me in connection with the settlement of such civil action and/or impose sanctions,
penalties or other similar obligations against the paying party if the settlement funds are not paid
within such time periods and/or invalidate or otherwise affect the terms of the settlement of such
civil action, I hereby (i) specifically and expressly waive (to the fullest extent permitted by

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applicable Law) my rights under any such provisions and (ii) agree that payment of my Individual
Plaintiff Settlement Payment shall be made solely in accordance with the terms and conditions of
the Combat Arms Settlement Program.

No Admission of Fault: I understand and agree that 3M has entered into this Release and the
Settlement Agreement solely by way of compromise and settlement. These documents are not,
and shall not be construed at any time to be, an admission of liability, responsibility or fault of or
by 3M or any other Released Party.

Representations and Warranties: I hereby represent and warrant that I have full power, authority
and capacity to enter into this Release, which is enforceable in accordance with its terms. Except
as set forth in the section “Attorneys’ Fees; Division of Any Individual Plaintiff Settlement
Payment” above, I have the sole right to receive any and all Individual Plaintiff Settlement
Payments with respect to my claim under the Combat Arms Settlement, other than holders of rights
in respect of any medical liens or any advanced funding loans on my settlement proceeds. Neither
I nor any other Releasing Party has sold, assigned, transferred or otherwise disposed of, or pledged
or otherwise encumbered, any of the Released Claims and Liabilities in whole or in part, other
than any medical liens or any advanced funding loans on my settlement proceeds.

GOVERNING LAW: THIS RELEASE SHALL BE GOVERNED BY AND CONSTRUED
IN ACCORDANCE WITH THE SUBSTANTIVE LAW OF NEW YORK, WITHOUT
REGARD TO ANY CHOICE-OF-LAW RULES THAT WOULD REQUIRE THE
APPLICATION OF THE LAW OF ANOTHER JURISDICTION.

Severability: I agree that if any provision of this Release is adjudicated to be invalid, illegal or
unenforceable in any jurisdiction, the relevant provision shall be deemed modified to the extent
necessary to make it enforceable in such jurisdiction and, if it cannot be so modified, this Release
shall be deemed amended to delete herefrom the invalid or unenforceable provision, and this
Release shall be in full force and effect as so modified. Any such modification or amendment in
any event shall apply only with respect to the operation of this Release in the particular jurisdiction
in which such adjudication was made and shall not affect such provision in any other jurisdiction.
To the fullest extent permitted by applicable Law, I hereby (on my own behalf and on behalf of
each other Releasing Party) specifically and expressly waive any provision of Law that renders
any provision of this Release invalid, illegal or unenforceable in any respect.

Legal Representatives: If I am signing this Release as a legal representative of a CAE user, then
(i) all references in this Release to my use of, or injury from, CAE shall also mean the use of, or
injury from, CAE, all references in this Release to any person claiming by, through or under, or in
relation to, me shall also mean any person claiming by, through or under, or in relation to, such
CAE user, and all references to me in the definition of Derivative Claimant shall also mean such
CAE user, (ii) if such CAE user is not deceased, he or she shall also be a Releasing Party, (iii) if
such CAE user is deceased, I am executing this Release both individually and on behalf of the
estate of such CAE user, and (iv) prior to the first time, if any, that an Individual Plaintiff
Settlement Payment is made to me in my capacity as legal representative, I will obtain judicial
approval of this Release, with the assistance of my legal counsel, to the extent required under
applicable Law.

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Electronic Signatures: This Release, and any exhibits thereto, to the extent signed and delivered
electronically or by facsimile, shall be treated in all manner and respects as an original agreement,
and shall be considered to have the same binding legal effect as if it were the original signed
version thereof, delivered in person.

                      [The remainder of this page is intentionally left blank.]




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        IN WITNESS WHEREOF, I have executed this Release on the date below, to be effective
as of the date set out in the first paragraph of this Release above:


                                             RELEASOR:



                                             By     __________________________
                                             Name: __________________________
                                             Dated: __________________________




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        SIGNATURE PAGE AND AGREEMENT BY DERIVATIVE CLAIMANT

        I am a person having or asserting the right to sue 3M by reason of my relationship with
Releasor (or, if Releasor is a legal representative of a CAE user, such CAE user). I hereby enter
into the Release to which this signature page is attached and agree to be bound by all of its terms
(and, without limitation, hereby give and make all releases, waivers, acknowledgements,
agreements, representations and warranties therein) on the same basis as Releasor set forth therein
(including, but not limited to, all joint and several indemnification obligations set forth therein).
This agreement was executed on the date below, and is effective as of the date set out in the first
paragraph of this Release above.

                                                  DERIVATIVE CLAIMANT:



                                                  By     _____________________________
                                                  Name: _____________________________
                                                  Dated: _____________________________




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                                   EXHIBIT 5

                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION


IN RE: 3M COMBAT ARMS                        CASE NO. 3:19-MD-2885
EARPLUG PRODUCTS
LIABILITY LITIGATION
                                             Hon. Judge M. Casey Rodgers
                                             Magistrate Judge Hope Cannon
This Document Relates To:

[INSERT] v 3M Company et al.
Case No. [INSERT]

[INSERT]



     STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the
undersigned Parties pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
that the claims of the Plaintiff in the above captioned case are hereby dismissed
with prejudice against all Defendants, each party to bear its own costs.




            Respectfully submitted,

Dated: [INSERT DATE]August 28,               PLAINTIFF COUNSEL
2023




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                                       [SIGN/INSERT DETAILS]

                                       Counsel for Plaintiff [INSERT]
Dated: [INSERT DATE]August 28,         DEFENDANTS COUNSEL
2023


                                       [SIGN/INSERT DETAILS]

                                       Counsel for Defendants, 3M Company,
                                       3M Occupational Safety LLC, Aearo
                                       Technologies LLC, Aearo Holding,
                                       LLC, Aearo Intermediate, LLC and
                                       Aearo, LLC




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                     CERTIFICATION OF SIGNATURES

      I HEREBY CERTIFY that each of the signatories of this notice have

expressly agreed to the form and substance of the document and has authorized the

filing attorney to submit the document electronically.




                                             [SIGN/INSERT DETAILS]
                                             Counsel for Plaintiff




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                          CERTIFICATE OF SERVICE

      In compliance with Rule 5.1(F) of the Local Rules of the United States

District Court Northern District of Florida, I hereby certify that on [INSERT

DATE], true and correct copy of the foregoing was electronically filed via the

Court’s CM/ECF system, which will automatically serve notice of this filing via e-

mail to all registered counsel of record.




                                                [SIGN/INSERT DETAILS]
                                                Counsel for Plaintiff




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                                      EXHIBIT 5B

STATE OF MINNESOTA                                              DISTRICT COURT
COUNTY OF HENNEPIN                                     FOURTH JUDICIAL DISTRICT

[INSERT],                                                     Case Type: Personal Injury

       Plaintiffs,                                                  Hon. Laurie J. Miller

v.                                                                   Case No. [INSERT]

3M Company, et al.,

       Defendants.


                 STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

Parties pursuant to Minnesota Rule of Civil Procedure 41.01(a)(2), that the claims of the

Plaintiff(s) in the above captioned case may be and hereby are dismissed with prejudice

against all Defendants, each party to bear its own costs.

 Dated: [INSERT DATE]                     PLAINTIFFS’ COUNSEL



                                          [SIGN/INSERT DETAILS]


 Dated: [INSERT DATE]                     DEFENDANTS’ COUNSEL


                                          Benjamin W. Hulse (MN #0390952)
                                          NORTON ROSE FULBRIGHT US LLP
                                          60 South Sixth Street, Suite 3100
                                          Minneapolis, MN 55402
                                          Phone: (612) 321-2800
                                          Fax: (612) 321-2288


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                                Email: ben.hulse@nortonrosefulbright.com




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                          Exhibit 6 – Verdict List


                         Court of Appeals
       Plaintiff                                NDFL Docket Case No.
                           Docket No.
      Estes, Luke            21-13135                7:20-cv-137
    Keefer, Lewis            21-13131                7:20-cv-104
   Hacker, Stephen           21-13133                7:20-cv-131
     Baker, Lloyd       21-12393; 21-12517           7:20-cv-039
   Adkins, Brandon           22-12812                7:20-cv-012

 Camarillo, Guillermo        23-10262                7:20-cv-098
   Finley, Theodore                                  7:20-cv-0170
   Wayman, William                                   7:20-cv-0149
    Sloan, Ronald                                    7:20-cv-001
   Vilsmeyer, Luke           22-13895                7:20-cv-0113
   Wilkerson, Steven         22-12719                7:20-cv-035
Vaughn, Jonathon Wade                                7:20-cv-134
     Beal, James                                     7:20-cv-006
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                                     Wave List Group
Haugland, Gabriel Michael     116942   8:20cv31043   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz      MDL Wave 1
Torres Mantilla, Misael       116958   8:20cv31071   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz      MDL Wave 1
Acteson, Jon                  60126    7:20cv09401   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Aikman, Sean                  60151    7:20cv09425   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Baca, Crusito                 98050    7:20cv23413   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Barringer, Charles            98769    7:20cv25462   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Brugger, David                60762    7:20cv10622   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Coleman, Robert Daniel        61110    7:20cv13551   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Daniels, Billy                61311    7:20cv14285   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Daniels, Jason Thomas         61313    7:20cv14286   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Dunker, Daniel                61540    7:20cv15315   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Ford, Marteze Edward          61797    7:20cv11278   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Frei, Nathan                  61844    7:20cv11506   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Gentner, John M.              61949    7:20cv11424   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Harris, Jeremy                62277    7:20cv11833   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Haskamp, Dennis               62307    7:20cv11900   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Hazen, Adam T.                62332    7:20cv11879   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Hopson, Lakobi Keon           62509    7:20cv12063   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Ino, Ututoa                   62629    7:20cv12207   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
James, Joseph                 62686    7:20cv12243   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Jurich, Eric                  62851    7:20cv13643   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Keough, Keith                 62923    7:20cv14576   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Klotz, Chad                   62995    7:20cv15014   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Luzadder, Anthony Lee         63310    7:20cv18312   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Markel, Kyle A.               63394    7:20cv18488   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Milledge, James               145292   8:20cv05465   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Moore, Andrea Michelle        99355    7:20cv25622   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Noble, Joshua                 63957    7:20cv12555   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Oldani, Ronald Chris          64011    7:20cv12731   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Olson, Sean                   64022    7:20cv12655   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Panaitov, Gloria E.           64078    7:20cv12722   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Parshall, Robert              64102    7:20cv12817   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Parsons, James                64106    7:20cv12830   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Rios Cortes, Josue Julian     64501    7:20cv13339   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Roller, Jason                 64605    7:20cv13671   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Simpson, Taylor               99658    7:20cv24656   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Tacker, Paul James            65225    7:20cv14629   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Theriot, Robert               65288    7:20cv14832   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Vejarano, David               65489    7:20cv15495   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Williams, Tyrone              65778    7:20cv15864   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Wolowicz, Eric D.             65843    7:20cv15985   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Yruegas, Joseph               65925    7:20cv16000   Aylstock, Witkin, Kreis & Overholtz, PLLC              MDL Wave 1
Cabiness, Christopher         148421   7:20cv30523   Aylstock, Witkin, Kreis & Overholtz, PLLC; Coxwell     MDL Wave 1
                                                     & Associates PLLC.; Maggio Thompson LLP
Bagwell, Dustin               83969    8:20cv34036   Aylstock, Witkin, Kreis & Overholtz, PLLC; Shlosman    MDL Wave 1
                                                     Law Firm
Johnson, Charles              66365    7:20cv54706   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Kaiser, William               66727    7:20cv49295   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Sayre, Jacob                  66600    7:20cv48946   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Thomas, Ryne                  66671    7:20cv49130   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Wallace, Dax                  66703    7:20cv49224   Bailey Cowan Heckaman PLLC                             MDL Wave 1
Frame, Bradley Dustin         117383   7:20cv87802   Baron & Budd                                           MDL Wave 1
Mckenzie, Stanford Lloyd      117794   8:20cv00231   Baron & Budd                                           MDL Wave 1
Owings, Jacob                 117922   8:20cv00446   Baron & Budd                                           MDL Wave 1
Rivera, Thomas Joseph         118045   8:20cv00691   Baron & Budd                                           MDL Wave 1
Scheiner, Matthew Justin      118118   8:20cv00560   Baron & Budd                                           MDL Wave 1
Smith, George R.               9867    8:20cv33772   Berniard Law LLC                                       MDL Wave 1
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                             Wave List Group
Moreno, Abram                   102104   7:20cv46304   Bertram & Graf, L.L.C.                         MDL Wave 1
Morton, David                   102107   7:20cv46311   Bertram & Graf, L.L.C.                         MDL Wave 1
Warner, Steven                  102253   7:20cv46676   Bertram & Graf, L.L.C.                         MDL Wave 1
Autry, Donald                   50181    8:20cv09779   Bohrer Brady LLC                               MDL Wave 1
Douglas, Michael                68678    7:20cv71875   Brent Coon & Associates                        MDL Wave 1
Abshier, Jonathan               129588   7:20cv52193   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Applewhite, Carlos              129728   7:20cv52828   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Bradley, Alonzo                 130173   7:20cv52735   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Brady, Josh                     130175   7:20cv52742   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Casiano, Jonathan               130481   7:20cv54227   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Crittenden, Kenneth             130792   7:20cv53685   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Delgado, Rupert                 130962   7:20cv54596   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Ellis, Robert                   131198   7:20cv55287   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Eubank, Michael                 131255   7:20cv55436   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Fennell, Bryan                  131305   7:20cv51214   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Hallisey, Robert                131864   7:20cv56711   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Wempe, Robert                   135953   7:20cv42022   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 1
Washington, Joseph              78958    7:20cv50199   Carey Danis & Lowe                             MDL Wave 1
Aparicio, John                  88749    7:20cv19528   Clark, Love & Hutson PLLC                      MDL Wave 1
Bailey, James                   90019    7:20cv22111   Clark, Love & Hutson PLLC                      MDL Wave 1
Blimka, Christopher             42949    7:20cv06868   Clark, Love & Hutson PLLC                      MDL Wave 1
Bovee, Joel                     90728    7:20cv20999   Clark, Love & Hutson PLLC                      MDL Wave 1
Domke, Ryan N.                  89056    7:20cv19984   Clark, Love & Hutson PLLC                      MDL Wave 1
Duchesneau, Neil                90122    7:20cv22299   Clark, Love & Hutson PLLC                      MDL Wave 1
Fridgen, Michael                89357    7:20cv20498   Clark, Love & Hutson PLLC                      MDL Wave 1
Generally, Stefan               89111    7:20cv20077   Clark, Love & Hutson PLLC                      MDL Wave 1
Hellin, Robert                  42947    3:19cv02395   Clark, Love & Hutson PLLC                      MDL Wave 1
Hogan, Chris                    90890    7:20cv21169   Clark, Love & Hutson PLLC                      MDL Wave 1
Medley, Brian                   90600    7:20cv20730   Clark, Love & Hutson PLLC                      MDL Wave 1
Pressley, Riston                89937    7:20cv21946   Clark, Love & Hutson PLLC                      MDL Wave 1
Seman, Dominic                  43022    3:19cv00819   Clark, Love & Hutson PLLC                      MDL Wave 1
Shenian, Jonathan S.            90686    7:20cv20925   Clark, Love & Hutson PLLC                      MDL Wave 1
Shiraef, Joshua                 90357    7:20cv23237   Clark, Love & Hutson PLLC                      MDL Wave 1
Smith, Mushawn D.               90672    7:20cv20902   Clark, Love & Hutson PLLC                      MDL Wave 1
Swartout, Patrick               43042    7:20cv07037   Clark, Love & Hutson PLLC                      MDL Wave 1
Tharpe, Herman                  88737    7:20cv19501   Clark, Love & Hutson PLLC                      MDL Wave 1
Gibbs, Christopher              71486    8:20cv25425   Danziger & De Llano; Watts Guerra              MDL Wave 1
Gutierrez De Pineres, Ricardo   71697    8:20cv27196   Danziger & De Llano; Watts Guerra              MDL Wave 1
Irizarry, Alvin                 72240    8:20cv22444   Danziger & De Llano; Watts Guerra              MDL Wave 1
Kaeding, Jason                  72467    8:20cv23021   Danziger & De Llano; Watts Guerra              MDL Wave 1
Martin, Brian                   73143    8:20cv23838   Danziger & De Llano; Watts Guerra              MDL Wave 1
Pacheco, Steve                  73906    8:20cv25647   Danziger & De Llano; Watts Guerra              MDL Wave 1
Schaaf, Daniel                  74710    8:20cv24835   Danziger & De Llano; Watts Guerra              MDL Wave 1
Taylor, Nathan                  75383    8:20cv27891   Danziger & De Llano; Watts Guerra              MDL Wave 1
Woodruff, Michael               76051    8:20cv33012   Danziger & De Llano; Watts Guerra              MDL Wave 1
Allen, William                  107259   7:20cv74412   Douglas & London                               MDL Wave 1
Aubrey, Sawyer                  107398   7:20cv75257   Douglas & London                               MDL Wave 1
Bobo, Andrew                    107816   7:20cv76576   Douglas & London                               MDL Wave 1
Bowen, Paul                     107890   7:20cv72233   Douglas & London                               MDL Wave 1
Boxton, Darrol                  107908   7:20cv72317   Douglas & London                               MDL Wave 1
Carrasco, Gregory               108301   7:20cv72853   Douglas & London                               MDL Wave 1
Clayton, Cody                   108510   7:20cv73625   Douglas & London                               MDL Wave 1
Cortez, Raymond                 108691   7:20cv73289   Douglas & London                               MDL Wave 1
Cullifer, Kevin                 108813   7:20cv73554   Douglas & London                               MDL Wave 1
Davies, Jason                   108918   7:20cv76745   Douglas & London                               MDL Wave 1
Davis, Demetrius                108951   7:20cv76824   Douglas & London                               MDL Wave 1
Delgado, Isabelino              109024   7:20cv77005   Douglas & London                               MDL Wave 1
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Dudley, Chad                  109232   7:20cv77412   Douglas & London                             MDL Wave 1
Esposito, Allen               109419   7:20cv77587   Douglas & London                             MDL Wave 1
Fleming, Thomas               109572   7:20cv79613   Douglas & London                             MDL Wave 1
Fontanezmedina, Juan          109599   7:20cv79639   Douglas & London                             MDL Wave 1
Gallardo, Albert              109734   7:20cv79770   Douglas & London                             MDL Wave 1
Golden, Thomas                109930   7:20cv79953   Douglas & London                             MDL Wave 1
Grimberg-Phillips, Gregory    110104   7:20cv74021   Douglas & London                             MDL Wave 1
Hayes, Cedric                 110406   7:20cv74623   Douglas & London                             MDL Wave 1
Hutcherson, Raymond           110801   7:20cv74949   Douglas & London                             MDL Wave 1
Jolly, Christopher            111009   7:20cv75859   Douglas & London                             MDL Wave 1
Keller, Perry                 111137   7:20cv76486   Douglas & London                             MDL Wave 1
King, Daniel                  111221   7:20cv76763   Douglas & London                             MDL Wave 1
Knotts, Tyson                 111284   7:20cv77919   Douglas & London                             MDL Wave 1
Lancaster, Brent              111420   7:20cv78599   Douglas & London                             MDL Wave 1
Lee, Matthew                  111532   7:20cv79151   Douglas & London                             MDL Wave 1
Leins, Derek                  111546   7:20cv79231   Douglas & London                             MDL Wave 1
Lewis, Jeffery                111605   7:20cv80556   Douglas & London                             MDL Wave 1
Lucero, John                  111738   7:20cv81373   Douglas & London                             MDL Wave 1
Manning, Scott                111855   7:20cv81970   Douglas & London                             MDL Wave 1
Marin, Jose                   111878   7:20cv82050   Douglas & London                             MDL Wave 1
Mcculloch, Oakland            112118   7:20cv76921   Douglas & London                             MDL Wave 1
Messinger, Matthew            112305   7:20cv77294   Douglas & London                             MDL Wave 1
Milam, Raymond                112338   7:20cv77355   Douglas & London                             MDL Wave 1
Moats, James                  112423   7:20cv77802   Douglas & London                             MDL Wave 1
Peacock, Bradford             113068   7:20cv79194   Douglas & London                             MDL Wave 1
Skillings, Jaason             114278   7:20cv79088   Douglas & London                             MDL Wave 1
Vasquez, Charles              115086   7:20cv81062   Douglas & London                             MDL Wave 1
Volpe, Michael                115144   7:20cv81313   Douglas & London                             MDL Wave 1
Walker, Jarvis                115186   7:20cv81490   Douglas & London                             MDL Wave 1
Wilson, Timothy               115546   7:20cv82700   Douglas & London                             MDL Wave 1
Woodard, Rodrick              115604   7:20cv82803   Douglas & London                             MDL Wave 1
Wright, Jason                 115650   7:20cv82888   Douglas & London                             MDL Wave 1
Eakes, Matthew                76441    8:20cv14273   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 1
Hill, Andre                   76525    8:20cv14642   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 1
Medina, Rafael                76612    8:20cv10065   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 1
Cooper, Timothy               139689   7:20cv63901   Goza & Honnold, LLC                          MDL Wave 1
Bodiford, Keith               79167    7:20cv50657   Heninger Garrison Davis, LLC                 MDL Wave 1
Cihak, Dillon                 79277    7:20cv52440   Heninger Garrison Davis, LLC                 MDL Wave 1
Dawkins, Thomas               79342    7:20cv52704   Heninger Garrison Davis, LLC                 MDL Wave 1
Fresen, Jamie                 79458    7:20cv53109   Heninger Garrison Davis, LLC                 MDL Wave 1
Hart, Kevin                   79577    7:20cv53112   Heninger Garrison Davis, LLC                 MDL Wave 1
Layne, Ray                    79771    7:20cv53873   Heninger Garrison Davis, LLC                 MDL Wave 1
Mcroberts, Michael            80798    7:20cv84454   Holland Law Firm                             MDL Wave 1
Powell, Joseph                80858    7:20cv84674   Holland Law Firm                             MDL Wave 1
Gordon, Dusty                 137274   8:20cv36066   Jensen & Associates; Keller Postman          MDL Wave 1
Griffin, Seth                 87683    8:20cv35391   Jensen & Associates; Keller Postman          MDL Wave 1
Holley, Johnny                137711   8:20cv39591   Jensen & Associates; Keller Postman          MDL Wave 1
Kelley, Michael Allan         164383   8:20cv50768   Jensen & Associates; Keller Postman          MDL Wave 1
Maciel, Nicholas              138219   8:20cv47592   Jensen & Associates; Keller Postman          MDL Wave 1
Sefchik, Steven               138586   8:20cv37477   Jensen & Associates; Keller Postman          MDL Wave 1
Yoshida, Byron T              136967   8:20cv38455   Jensen & Associates; Keller Postman          MDL Wave 1
Maness, George Benton         16742    7:20cv43781   Johnson Becker                               MDL Wave 1
Hains, Larry J.                3187    8:20cv33202   Justinian & Associates PLLC                  MDL Wave 1
Turner, Richard Wayne         59858    8:20cv33319   Justinian & Associates PLLC                  MDL Wave 1
Wood, George J.                3302    8:20cv33407   Justinian & Associates PLLC                  MDL Wave 1
Alcorn, Dustin A.             43103    7:20cv57916   Keller Postman                               MDL Wave 1
Ash, Francis D.               43182    7:20cv58164   Keller Postman                               MDL Wave 1
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Belmar, Antonio L.            43309    7:20cv58932   Keller Postman                               MDL Wave 1
Belvin, Billy L.              43312    7:20cv58940   Keller Postman                               MDL Wave 1
Castro, Marcos A.             43668    7:20cv59326   Keller Postman                               MDL Wave 1
Hall, Russell F.              44530    7:20cv61734   Keller Postman                               MDL Wave 1
Hernandez, Eugene G.          44679    7:20cv61601   Keller Postman                               MDL Wave 1
Inclan, Nicholas C.           44821    7:20cv62099   Keller Postman                               MDL Wave 1
Lewis, Dwayne E.              45173    7:20cv63717   Keller Postman                               MDL Wave 1
Northern, Justin              45695    7:20cv64557   Keller Postman                               MDL Wave 1
Rataj, Charles D.             45998    7:20cv64733   Keller Postman                               MDL Wave 1
Seymour, Joshua R.            46304    7:20cv70529   Keller Postman                               MDL Wave 1
Smith, Dorrell D.             46406    7:20cv70656   Keller Postman                               MDL Wave 1
Smith, Thaddeus R.            46423    7:20cv70673   Keller Postman                               MDL Wave 1
Tonderum, Aaron L.            46676    7:20cv75490   Keller Postman                               MDL Wave 1
Umberger, Christopher M.      46736    7:20cv44106   Keller Postman                               MDL Wave 1
Valle, Richard J.             46754    7:20cv75821   Keller Postman                               MDL Wave 1
White, Thomas J.              46906    7:20cv76039   Keller Postman                               MDL Wave 1
Simonelli, Brett              50999    7:20cv66393   Kirkendall Dwyer LLP                         MDL Wave 1
Cline, Michael                 9260    7:20cv48703   Law Offices of Peter G. Angelos, P.C.        MDL Wave 1
Hannan, Jobe                   8850    7:20cv47804   Law Offices of Peter G. Angelos, P.C.        MDL Wave 1
Hardman, Matthew               8853    7:20cv47817   Law Offices of Peter G. Angelos, P.C.        MDL Wave 1
Ortiz, David                   8557    7:20cv47809   Law Offices of Peter G. Angelos, P.C.        MDL Wave 1
Robinson, Lovie                8616    7:20cv48014   Law Offices of Peter G. Angelos, P.C.        MDL Wave 1
Davis, Brett F.               11470    7:20cv00842   Levin Papantonio Rafferty                    MDL Wave 1
Masters, David M.             11269    7:20cv00607   Levin Papantonio Rafferty                    MDL Wave 1
Moretz, Michael P.            11267    7:20cv00605   Levin Papantonio Rafferty                    MDL Wave 1
Stanfield, Raymond D.         11320    7:20cv00668   Levin Papantonio Rafferty                    MDL Wave 1
Darnell, William              77457    7:20cv50731   Lieff Cabraser Heimann & Bernstein, LLP      MDL Wave 1
Holliday, Alton               77383    7:20cv50319   Lieff Cabraser Heimann & Bernstein, LLP      MDL Wave 1
Cottrill, Steve Paul          139533   8:20cv16163   Matthews & Associates                        MDL Wave 1
Emerson, Daryll Roy           102778   8:20cv14643   Matthews & Associates                        MDL Wave 1
Macgregor, Andrew Scott       103075   8:20cv14407   Matthews & Associates                        MDL Wave 1
Ingles, James                 49323    7:20cv52539   McCune Wright Arevalo                        MDL Wave 1
Rader, Joshua                 12240    7:20cv01734   McDonald Worley                              MDL Wave 1
Rice, Justin Daniel           12634    7:20cv58665   McSweeney/Langevin LLC                       MDL Wave 1
Belfi, Matthew                91198    7:20cv00112   Messa & Associates                           MDL Wave 1
Buckland, Tyler               91207    7:20cv71515   Messa & Associates                           MDL Wave 1
Hudson, Christopher T.        91277    7:20cv71711   Messa & Associates                           MDL Wave 1
Hunt, Daniel J.               138785   7:20cv88299   Messa & Associates                           MDL Wave 1
Rodolph, Isaac L.             91350    7:20cv72113   Messa & Associates                           MDL Wave 1
Marks, Robert                 85800    7:20cv44747   Monsour Law Firm                             MDL Wave 1
Mckinney, Michael             85810    7:20cv44760   Monsour Law Firm                             MDL Wave 1
Gromacki, Kristopher           5218    8:20cv21119   Morgan & Morgan                              MDL Wave 1
Livingston, Ronald Frayne     126326   8:20cv32524   Morgan & Morgan                              MDL Wave 1
Moore, Jonathan Spencer       126522   8:20cv34730   Morgan & Morgan                              MDL Wave 1
Norton, Wesley Eugene         126387   8:20cv32809   Morgan & Morgan                              MDL Wave 1
Struck, Ryan Lloyd            126619   8:20cv35155   Morgan & Morgan                              MDL Wave 1
Rios, Omar                    126934   7:20cv98097   Mostyn Law                                   MDL Wave 1
Surdo, Maurizio               51875    7:20cv86584   Mostyn Law                                   MDL Wave 1
Barker, Carl                   4730    7:20cv42913   Motley Rice, LLC                             MDL Wave 1
Chapman, Jeremy G.            17403    7:20cv82261   Murphy Law Firm                              MDL Wave 1
Ortiz, Daniel D.              18184    7:20cv99631   Murphy Law Firm                              MDL Wave 1
Moss, Joshua                  157124   7:20cv34822   Parafinczuk Wolf, P.A.                       MDL Wave 1
Acevedo, Manuel               103537   7:20cv68140   Parker Waichman LLP                          MDL Wave 1
Boyles, Cory Douglass         103827   7:20cv68931   Parker Waichman LLP                          MDL Wave 1
Button, Nathaniel Loren       103922   7:20cv69255   Parker Waichman LLP                          MDL Wave 1
Carrasco, Joseph Martin       103964   7:20cv69356   Parker Waichman LLP                          MDL Wave 1
Castillo, Daniel              103984   7:20cv69394   Parker Waichman LLP                          MDL Wave 1
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Plaintiff Name                  PID       Case No.    Plaintiff Counsel                             Wave List Group
Edwards, Tyrone Quincey        104312   7:20cv69693   Parker Waichman LLP                            MDL Wave 1
Elmore, Andrew Royce           104328   7:20cv69741   Parker Waichman LLP                            MDL Wave 1
George, David Elliott          104528   7:20cv71963   Parker Waichman LLP                            MDL Wave 1
Hurley, Jason J.               104848   7:20cv75433   Parker Waichman LLP                            MDL Wave 1
Jacquez, Edwardo Jaime         104870   7:20cv76629   Parker Waichman LLP                            MDL Wave 1
Leshkevich, Christopher Paul   105108   7:20cv70091   Parker Waichman LLP                            MDL Wave 1
Logsdon, Christopher Andrew    105135   7:20cv70143   Parker Waichman LLP                            MDL Wave 1
Niewiek, Andrew Scott          105484   7:20cv70904   Parker Waichman LLP                            MDL Wave 1
Oakley, Bobby Andrews          105495   7:20cv70916   Parker Waichman LLP                            MDL Wave 1
Potts, Jerry Ray               105642   7:20cv71217   Parker Waichman LLP                            MDL Wave 1
Prosser, Justin Michael        105656   7:20cv71268   Parker Waichman LLP                            MDL Wave 1
Ross, Mark Allen               105827   7:20cv71323   Parker Waichman LLP                            MDL Wave 1
Rowles, Jason Bradley          105835   7:20cv71346   Parker Waichman LLP                            MDL Wave 1
Stokes, Addarrel               106088   7:20cv72122   Parker Waichman LLP                            MDL Wave 1
Kikta, Evan                    145673   7:20cv98481   Paul LLP                                       MDL Wave 1
Chavez, Ryan                   91986    8:20cv34479   Pennock Law Firm LLC                           MDL Wave 1
Shockley, James                91910    8:20cv34326   Pennock Law Firm LLC                           MDL Wave 1
Hooker, Garrett                52978    7:20cv69094   Peterson & Associates, P.C.                    MDL Wave 1
Snowball, William              53328    7:20cv69797   Peterson & Associates, P.C.                    MDL Wave 1
Stevenson, James               52964    7:20cv68632   Peterson & Associates, P.C.                    MDL Wave 1
Weiermann, Daniel              52717    7:20cv67513   Peterson & Associates, P.C.                    MDL Wave 1
Scott, Kennedy                  6330    8:20cv05045   Preuss | Foster                                MDL Wave 1
Benfatto, Shante               26670    7:21cv44503   Pulaski Law Firm, PLLC                         MDL Wave 1
Burgess, Candace               158287   7:20cv65956   Pulaski Law Firm, PLLC                         MDL Wave 1
Doyle, Colt                    26428    7:20cv15097   Pulaski Law Firm, PLLC                         MDL Wave 1
Freeland, Tim                  28744    7:20cv05657   Pulaski Law Firm, PLLC                         MDL Wave 1
Green, Corey                   28545    7:20cv04234   Pulaski Law Firm, PLLC                         MDL Wave 1
Hall, John                     169748   7:20cv63303   Pulaski Law Firm, PLLC                         MDL Wave 1
Herold, Lee                    29050    7:20cv06712   Pulaski Law Firm, PLLC                         MDL Wave 1
Keener, Jerry                  26738    7:20cv19110   Pulaski Law Firm, PLLC                         MDL Wave 1
Kohail, Mourad                 28864    7:20cv05811   Pulaski Law Firm, PLLC                         MDL Wave 1
Mclean, Charles                19034    7:20cv08445   Pulaski Law Firm, PLLC                         MDL Wave 1
Peeden, Robert                 27460    7:20cv03181   Pulaski Law Firm, PLLC                         MDL Wave 1
Raza, Syed                     26811    7:20cv19333   Pulaski Law Firm, PLLC                         MDL Wave 1
Smyrnow, Victor                158330   7:20cv65982   Pulaski Law Firm, PLLC                         MDL Wave 1
Wetherington, Gary             26305    7:20cv14947   Pulaski Law Firm, PLLC                         MDL Wave 1
Jumanah, Halimah                5862    7:20cv01913   Reich and Binstock, LLP                        MDL Wave 1
Lacey, Jeremy                   5893    7:20cv02027   Reich and Binstock, LLP                        MDL Wave 1
Marinakes, Sophia               5936    7:20cv02359   Reich and Binstock, LLP                        MDL Wave 1
Medders, Robert                 5960    7:20cv02389   Reich and Binstock, LLP                        MDL Wave 1
Roper, Shanika                  6087    7:20cv02945   Reich and Binstock, LLP                        MDL Wave 1
Weisman, Joshua                 6223    7:20cv03569   Reich and Binstock, LLP                        MDL Wave 1
Avery, Nicholas                92068    7:20cv55570   Robinson Calcagnie, Inc.                       MDL Wave 1
Carter, Danny                  92280    7:20cv56246   Robinson Calcagnie, Inc.                       MDL Wave 1
Sollars, Jared                 93305    7:20cv50966   Robinson Calcagnie, Inc.                       MDL Wave 1
Chee, Marvin                   93775    7:20cv72717   Rogers, Patrick, Westbrook & Brickman, LLC     MDL Wave 1
Bobbe, Shawn                   18274    7:20cv42194   Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    MDL Wave 1
Allen, Patrick                 83229    7:20cv18848   Seeger Weiss LLP                               MDL Wave 1
Bradley, Ted                   83579    7:20cv17104   Seeger Weiss LLP                               MDL Wave 1
Crittenden, Ilon               82444    7:20cv17260   Seeger Weiss LLP                               MDL Wave 1
Detten, Jason                  82560    7:20cv18046   Seeger Weiss LLP                               MDL Wave 1
Elger, William                 83732    7:20cv17588   Seeger Weiss LLP                               MDL Wave 1
Engel, Daniel                  82113    7:20cv17043   Seeger Weiss LLP                               MDL Wave 1
Greening, Angela               81707    7:20cv16227   Seeger Weiss LLP                               MDL Wave 1
Hammond, Luke                  82997    7:20cv17824   Seeger Weiss LLP                               MDL Wave 1
Killian, Frederick             82379    7:20cv16899   Seeger Weiss LLP                               MDL Wave 1
Radford, Thomas                83614    7:20cv17222   Seeger Weiss LLP                               MDL Wave 1
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                  Wave List Group
Rosales, Neil                   83199    7:20cv18790   Seeger Weiss LLP                                    MDL Wave 1
Walton, Jeremiah                82626    7:20cv18143   Seeger Weiss LLP                                    MDL Wave 1
Fay, Brian L.                   81316    8:20cv16535   Shunnarah Vail Trial Attorneys, P.C.                MDL Wave 1
Whitebird, Colin                81483    8:20cv17939   Shunnarah Vail Trial Attorneys, P.C.                MDL Wave 1
Bowie, Marquette                16095    7:20cv66592   Simmons Hanly Conroy                                MDL Wave 1
Medhanie, Fabion Charles        14232    8:20cv05659   Sommers Schwartz                                    MDL Wave 1
Brachear, Rob                    6514    7:20cv43827   Stueve Siegel Hanson                                MDL Wave 1
Davis, Justin S.                 6727    7:20cv44232   Stueve Siegel Hanson                                MDL Wave 1
Goyings, Ryan                    6955    7:20cv45600   Stueve Siegel Hanson                                MDL Wave 1
King, Jeremy                     7225    7:20cv46701   Stueve Siegel Hanson                                MDL Wave 1
Medina, Hector                   7460    7:20cv47037   Stueve Siegel Hanson                                MDL Wave 1
Morgan, Christopher D.           7510    7:20cv47097   Stueve Siegel Hanson                                MDL Wave 1
Ozment, Joshua                   7589    7:20cv47155   Stueve Siegel Hanson                                MDL Wave 1
Pooler, Thadd                    7668    7:20cv47213   Stueve Siegel Hanson                                MDL Wave 1
Tamam, Ahmed                     7964    7:20cv48133   Stueve Siegel Hanson                                MDL Wave 1
Mingee, Mark                    49422    3:19cv02331   Sullivan Papain Block McGrath Coffinas & Cannavo    MDL Wave 1
                                                       P.C.
Schofield, Christopher Edward   97035    7:20cv68034   Taylor Martino, P.C.                                MDL Wave 1
Austin, Kevin                   164622   7:20cv88546   The Carlson Law Firm                                MDL Wave 1
Tate, Stuart                    14265    8:20cv16907   The Cochran Firm - Dothan                           MDL Wave 1
Breter, Craig Michael           127989   8:20cv20305   The DiLorenzo Law Firm, LLC                         MDL Wave 1
Campbell, Maynard               128402   8:20cv17889   The DiLorenzo Law Firm, LLC                         MDL Wave 1
Baggett, Stacey S.              55949    7:20cv06896   The Gori Law Firm, P.C.                             MDL Wave 1
Berns, Christopher              57709    7:20cv10965   The Gori Law Firm, P.C.                             MDL Wave 1
Bhalla, Reeti                   57629    7:20cv10833   The Gori Law Firm, P.C.                             MDL Wave 1
Bishop, Zachary E.              58090    7:20cv09899   The Gori Law Firm, P.C.                             MDL Wave 1
Carney, Laveta                  57372    8:20cv27165   The Gori Law Firm, P.C.                             MDL Wave 1
Cummings, Brook                 55935    7:20cv06887   The Gori Law Firm, P.C.                             MDL Wave 1
Deldeo, Kenneth E.              58354    7:20cv10030   The Gori Law Firm, P.C.                             MDL Wave 1
Dunham, Joseph A.               47783    7:20cv08172   The Gori Law Firm, P.C.                             MDL Wave 1
Eagle, Remi Bald                55738    7:20cv06507   The Gori Law Firm, P.C.                             MDL Wave 1
Eide, Marvin                    55539    7:20cv06381   The Gori Law Firm, P.C.                             MDL Wave 1
Files, Jeremy                   58696    7:20cv10869   The Gori Law Firm, P.C.                             MDL Wave 1
Gillespie, Sean                 55379    7:20cv05996   The Gori Law Firm, P.C.                             MDL Wave 1
Gutierrez, David                56354    7:20cv07379   The Gori Law Firm, P.C.                             MDL Wave 1
Henderson, Zachary              47899    7:20cv08339   The Gori Law Firm, P.C.                             MDL Wave 1
Jeffrey, Ronnie B.              56263    7:20cv07492   The Gori Law Firm, P.C.                             MDL Wave 1
Lachappelle, Ronnie             55981    7:20cv06901   The Gori Law Firm, P.C.                             MDL Wave 1
Lewis, Carl                     55978    7:20cv06899   The Gori Law Firm, P.C.                             MDL Wave 1
Mcdonald, Andrew William        58855    7:20cv11300   The Gori Law Firm, P.C.                             MDL Wave 1
Mcfadden, Kieran                58486    7:20cv11443   The Gori Law Firm, P.C.                             MDL Wave 1
Mitchell, Wayne R.              55953    7:20cv71173   The Gori Law Firm, P.C.                             MDL Wave 1
Nunez, Jorge                    57873    7:20cv11126   The Gori Law Firm, P.C.                             MDL Wave 1
Racko, Patrick C.               56088    7:20cv06973   The Gori Law Firm, P.C.                             MDL Wave 1
Rickert-Smith, Angelica         47563    7:20cv08018   The Gori Law Firm, P.C.                             MDL Wave 1
Smith, Robert L.                56382    7:20cv07486   The Gori Law Firm, P.C.                             MDL Wave 1
Staples, Matthew J.             55776    7:20cv06595   The Gori Law Firm, P.C.                             MDL Wave 1
Tondre, Gary W.                 55715    7:20cv06371   The Gori Law Firm, P.C.                             MDL Wave 1
Toulon, Rama                    57467    7:20cv10791   The Gori Law Firm, P.C.                             MDL Wave 1
Hernandez, Leonel               48727    7:20cv04391   The Lanier Law Firm                                 MDL Wave 1
Sevilla, Ryan                   48832    7:20cv04513   The Lanier Law Firm                                 MDL Wave 1
Wilcox, John                    48938    7:20cv04677   The Lanier Law Firm                                 MDL Wave 1
Latowski, Dennis                59909    8:20cv33526   The Law Office of L. Paul Mankin                    MDL Wave 1
Hunter, Moses J.                48591    7:20cv44365   The Moody Law Firm                                  MDL Wave 1
Barthelemy, Troy                96595    8:20cv35873   The Murray Law Firm                                 MDL Wave 1
Rollins, James                   4967    7:20cv00328   Thornton Law Firm                                   MDL Wave 1
Barnes, Stephen                 19526    7:20cv84303   Tracey & Fox Law Firm; Johnson Law Group            MDL Wave 1
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Braden, Bobbi                 19847    7:20cv85660   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Burns, Benjamin R.            20048    7:20cv86068   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Chafin, Charles D.            20254    7:20cv88003   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Chavez, Rick                  20283    7:20cv88312   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Coons, Sherri L.              20450    7:20cv88665   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Craig, Jack                   20521    7:20cv89249   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Forrester, Randal             21258    7:20cv93326   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Garcia Martinez, Carlos X.    21386    7:20cv93848   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Hage, Damien                  21724    7:20cv94286   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Henson, Leeanna               21965    7:20cv94097   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Hulett, Ricard A              22194    7:20cv86391   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Hurst, Luke                   22226    7:20cv86448   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
James, Melvin                 22308    7:20cv86874   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Jessie, Jerry J.              22345    7:20cv87333   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Kinder, Andrew                22598    7:20cv87861   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Maxwell, Michael              23202    7:20cv90012   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Meadows, Cameron P.           23356    7:20cv90359   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Nance, Kendrick               23707    7:20cv91107   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Perry, Dusty                  24094    7:20cv92209   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Rodgers, Charles K.           24605    7:20cv92133   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Rodriguez, Octavio            24630    7:20cv92188   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Sabey, Scott                  24763    7:20cv92523   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Tucker, Duwayne               25638    7:20cv94496   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Vogel, Joshuah                25789    7:20cv95553   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Washington, Gregory L.        25878    7:20cv96442   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Wilbanks, Cletis L.           26042    7:20cv97387   Tracey & Fox Law Firm; Johnson Law Group     MDL Wave 1
Galimore, Steven Louis        95438    7:20cv21684   Wagstaff & Cartmell, LLP                     MDL Wave 1
Murphy, Gregory B.            95561    7:20cv22497   Wagstaff & Cartmell, LLP                     MDL Wave 1
Musselman, Barry James        95674    7:20cv22842   Wagstaff & Cartmell, LLP                     MDL Wave 1
Soto, Angel L.                96376    7:20cv36424   Wagstaff & Cartmell, LLP                     MDL Wave 1
Wathey Colon, Harold A.       96441    7:20cv28637   Wagstaff & Cartmell, LLP                     MDL Wave 1
Wright, Jerome Steven         95488    7:20cv22408   Wagstaff & Cartmell, LLP                     MDL Wave 1
Blackall, Douglas D.          88026    7:20cv19116   Weitz & Luxenberg                            MDL Wave 1
Harrison, Jarrod M.           118685   7:20cv27060   Weitz & Luxenberg                            MDL Wave 1
Pettit, John                  122156   7:20cv29480   Weitz & Luxenberg                            MDL Wave 1
Murtha, Nicholas              147904   8:20cv40685   Allen & Nolte, PLLC                          MDL Wave 2
Lee, Keith                     9664    7:20cv48767   Anapol Weiss                                 MDL Wave 2
Pichon, Chantilla              9333    7:20cv48740   Anapol Weiss                                 MDL Wave 2
Andrick, Michael              60251    7:20cv09521   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Boller, Brandon James         60584    7:20cv09997   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Bussart, Jonathon             60837    7:20cv11456   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Byrd, Charles Grant           60854    7:20cv12573   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Cain, Jason                   97255    7:20cv39045   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Cole, Wayne                   97140    7:20cv38425   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Coleman, Tron Adrewin         61111    7:20cv13554   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Dalton, Gregory Scott         61303    7:20cv14267   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Danila, Heidi                 98703    7:20cv25350   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Davis, Isiaha                 61344    7:20cv14380   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Erickson, Nicholas            61650    7:20cv15564   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Fru, Adey F.                  61855    7:20cv11211   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Gines, Arseneal               61986    7:20cv11567   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Hughes, Tories S              99376    7:20cv25503   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Hysmith, William T.           62616    7:20cv12171   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Kish, Dustin                  62977    7:20cv14767   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Metzgar, Jeremiah P.          63657    7:20cv20549   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Morrow, Randy J.              63822    7:20cv12426   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
Oh, Keith                     64007    7:20cv12716   Aylstock, Witkin, Kreis & Overholtz, PLLC    MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                   Wave List Group
Omard, Noel                     64027    7:20cv12663   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Otero, Ary                      99806    7:20cv00011   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
O'Toole, Rick                   64045    7:20cv12728   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Poe, Edward B.                  64264    7:20cv13018   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Sarkis, John                    14760    7:20cv02015   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Tinkler, James Thomas           65343    7:20cv15232   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Tompkins, Justin Patrick        65360    7:20cv15329   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Watkins, Latresecia J.          65605    7:20cv15663   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Weaver-Regester, Christa S.     65622    7:20cv15741   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Williams, Joseph                65779    7:20cv15866   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Witham, Craig                   65830    7:20cv15955   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Wray, Donna-Lee Mickala         65875    7:20cv15966   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 2
Coffey, Jared                   50139    8:20cv09716   Aylstock, Witkin, Kreis & Overholtz, PLLC; Bohrer    MDL Wave 2
                                                       Brady LLC
Turman, Jesse Bernard            3576    7:20cv42511   Bailey & Glasser                                     MDL Wave 2
Twitty, James Austin             3547    7:20cv42494   Bailey & Glasser                                     MDL Wave 2
Abens, Daniel                   66098    7:20cv52017   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Albertson, Christopher          66107    7:20cv52063   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Boggs, Jeffery                  66151    7:20cv52293   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Julianna Monroe, on behalf of   66192    7:20cv53187   Bailey Cowan Heckaman PLLC                           MDL Wave 2
David Combs, Deceased
Mcduffie, Dexter                66453    7:20cv55789   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Whitaker, Brian                 66721    7:20cv49276   Bailey Cowan Heckaman PLLC                           MDL Wave 2
Brooks, Mitchell B.             67386    8:20cv13376   Bernstein Liebhard LLP                               MDL Wave 2
Chu, Lap Kwan                   67101    8:20cv12973   Bernstein Liebhard LLP                               MDL Wave 2
Goodman, Jesse W.               67348    8:20cv13262   Bernstein Liebhard LLP                               MDL Wave 2
Gray, Tyson C.                  67345    8:20cv13252   Bernstein Liebhard LLP                               MDL Wave 2
Hovanis, Larry G.               67193    8:20cv13263   Bernstein Liebhard LLP                               MDL Wave 2
Kringer, Richard                66838    8:20cv12887   Bernstein Liebhard LLP                               MDL Wave 2
Southern, Christopher A.        67360    8:20cv13305   Bernstein Liebhard LLP                               MDL Wave 2
Walz, Levi E.                   67524    8:20cv13833   Bernstein Liebhard LLP                               MDL Wave 2
Wesley, Brian P.                67679    8:20cv14083   Bernstein Liebhard LLP                               MDL Wave 2
Wilkerson, Derrick              102262   7:20cv46699   Bertram & Graf, L.L.C.                               MDL Wave 2
Fletcher, Adam                   1267    7:20cv41943   Blasingame, Burch, Garrard & Ashley, P.C.            MDL Wave 2
Scott, Cameron                   1154    7:20cv41838   Blasingame, Burch, Garrard & Ashley, P.C.            MDL Wave 2
Tindle, Carl                     1247    7:20cv41808   Blasingame, Burch, Garrard & Ashley, P.C.            MDL Wave 2
Mckenney, Mark                  68647    7:20cv71861   Brent Coon & Associates                              MDL Wave 2
Shannon, John                    8258    8:20cv16720   Cannon Law                                           MDL Wave 2
Bertram, Michael                90561    7:20cv24101   Clark, Love & Hutson PLLC                            MDL Wave 2
Clodfelter, David               90840    7:20cv21149   Clark, Love & Hutson PLLC                            MDL Wave 2
Coe, Tom                        88666    7:20cv19503   Clark, Love & Hutson PLLC                            MDL Wave 2
Dutcher, Derek                  90634    7:20cv20812   Clark, Love & Hutson PLLC                            MDL Wave 2
Herskind, Chris                 89025    7:20cv19955   Clark, Love & Hutson PLLC                            MDL Wave 2
Jennings, David                 89867    7:20cv21801   Clark, Love & Hutson PLLC                            MDL Wave 2
Kiehn, William                  90039    7:20cv22157   Clark, Love & Hutson PLLC                            MDL Wave 2
Price, Adam Ray                 89284    7:20cv20336   Clark, Love & Hutson PLLC                            MDL Wave 2
Sitter, Travis                  89650    7:20cv20709   Clark, Love & Hutson PLLC                            MDL Wave 2
Viruet, Rafael                  90376    7:20cv23276   Clark, Love & Hutson PLLC                            MDL Wave 2
West, Eric L.                   89528    7:20cv20757   Clark, Love & Hutson PLLC                            MDL Wave 2
Woods, Shacourtney              91168    7:20cv21511   Clark, Love & Hutson PLLC                            MDL Wave 2
Wright, Marcus                  89667    7:20cv20763   Clark, Love & Hutson PLLC                            MDL Wave 2
Hagen, Michael                   9974    7:20cv47303   Cory Watson                                          MDL Wave 2
Qasim, Adnan                    10089    7:20cv47360   Cory Watson                                          MDL Wave 2
Valverde, Bryan L.               9913    7:20cv47267   Cory Watson                                          MDL Wave 2
Miller, Carl                    69253    7:20cv82189   Coxwell & Associates PLLC.                           MDL Wave 2
Acosta, Kirk                    69420    8:20cv22041   Danziger & De Llano; Watts Guerra                    MDL Wave 2
Bridges, Michael                70072    8:20cv20942   Danziger & De Llano; Watts Guerra                    MDL Wave 2
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Collins, Byron                70517    8:20cv22865   Danziger & De Llano; Watts Guerra            MDL Wave 2
Davis, Chris                  70771    8:20cv23189   Danziger & De Llano; Watts Guerra            MDL Wave 2
Dehm, Brett                   70827    8:20cv23272   Danziger & De Llano; Watts Guerra            MDL Wave 2
Forrister, Jonathon           71287    8:20cv24475   Danziger & De Llano; Watts Guerra            MDL Wave 2
Goguen, Paul                  71530    8:20cv25572   Danziger & De Llano; Watts Guerra            MDL Wave 2
Gonzalez, James W.            71546    8:20cv25626   Danziger & De Llano; Watts Guerra            MDL Wave 2
Jones, Chad                   72404    8:20cv22916   Danziger & De Llano; Watts Guerra            MDL Wave 2
Long, Nathan                  72953    8:20cv23989   Danziger & De Llano; Watts Guerra            MDL Wave 2
Michaelis, John               73416    8:20cv24633   Danziger & De Llano; Watts Guerra            MDL Wave 2
Rocheleau, Gabriel            74481    8:20cv25981   Danziger & De Llano; Watts Guerra            MDL Wave 2
Rodriguez, Cruz               74494    8:20cv25993   Danziger & De Llano; Watts Guerra            MDL Wave 2
Slosson, Nathanael            74954    8:20cv26242   Danziger & De Llano; Watts Guerra            MDL Wave 2
Smith, Jacob                  74990    8:20cv26304   Danziger & De Llano; Watts Guerra            MDL Wave 2
Waldron, Christopher          75707    8:20cv29635   Danziger & De Llano; Watts Guerra            MDL Wave 2
Wallace, David                75726    8:20cv29679   Danziger & De Llano; Watts Guerra            MDL Wave 2
Werline, Kevin                75837    8:20cv30047   Danziger & De Llano; Watts Guerra            MDL Wave 2
Wethington, David             75861    8:20cv32298   Danziger & De Llano; Watts Guerra            MDL Wave 2
Ayala, Jesus                  107419   7:20cv75366   Douglas & London                             MDL Wave 2
Bishop, Bradley               107758   7:20cv76523   Douglas & London                             MDL Wave 2
Blaylock, Mike                107803   7:20cv76563   Douglas & London                             MDL Wave 2
Butler, Jeffrey               108183   7:20cv72507   Douglas & London                             MDL Wave 2
Fortier, David                109615   7:20cv79655   Douglas & London                             MDL Wave 2
French, Justin                109676   7:20cv79713   Douglas & London                             MDL Wave 2
Sykes, Lucius                 114694   7:20cv80632   Douglas & London                             MDL Wave 2
Werme, Richard                115345   7:20cv82025   Douglas & London                             MDL Wave 2
Ernisse, Malcolm              76446    8:20cv14294   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 2
Gonzalez, Ernesto             76479    8:20cv14416   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 2
Kilijanczyk, Christopher      76562    8:20cv14785   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 2
Mortimer, Philip              76640    8:20cv10108   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 2
Scott, Jeffrey                76730    8:20cv10321   FLEMING, NOLEN & JEZ, L.L.P                  MDL Wave 2
Harrison, Trevor              79575    7:20cv53108   Heninger Garrison Davis, LLC                 MDL Wave 2
Hartmetz, Luke                79578    7:20cv53114   Heninger Garrison Davis, LLC                 MDL Wave 2
Hayes, Trent                  79584    7:20cv53125   Heninger Garrison Davis, LLC                 MDL Wave 2
Reeves, Justin                80082    7:20cv53809   Heninger Garrison Davis, LLC                 MDL Wave 2
Kufahl, Kenneth               10433    7:20cv83792   Hensley Legal Group, PC                      MDL Wave 2
Landry, Kevin                 10511    7:20cv83887   Hensley Legal Group, PC                      MDL Wave 2
Williams, Kevin               10542    7:20cv83932   Hensley Legal Group, PC                      MDL Wave 2
Gibson, John                  80651    7:20cv84346   Holland Law Firm                             MDL Wave 2
Young, Scott                  31435    8:20cv20186   Huber, Slack, Thomas & Marcelle, LLP         MDL Wave 2
Daratany, Kenneth C.          84033    8:20cv35349   Jensen & Associates; Keller Postman          MDL Wave 2
Custis, Andre                 130837   7:20cv53922   Junell & Associates, PLLC                    MDL Wave 2
Muller, Christopher           133543   7:20cv57961   Junell & Associates, PLLC                    MDL Wave 2
Ringle, Tony                  134262   7:20cv62312   Junell & Associates, PLLC                    MDL Wave 2
Cash, Jarrell                  3221    8:20cv33295   Justinian & Associates PLLC                  MDL Wave 2
Malzone, William F.           29066    8:20cv33080   Justinian & Associates PLLC                  MDL Wave 2
Smith Macomber, Desa A.        3251    8:20cv33348   Justinian & Associates PLLC                  MDL Wave 2
Adkins, Greg W.               43091    7:20cv57886   Keller Postman                               MDL Wave 2
Allen, Tye                    43120    7:20cv57957   Keller Postman                               MDL Wave 2
Bennett, Joseph E.            43324    7:20cv58981   Keller Postman                               MDL Wave 2
Bone, Norman L.               43419    7:20cv59316   Keller Postman                               MDL Wave 2
Burton, Michael               43570    7:20cv59090   Keller Postman                               MDL Wave 2
Colon, Manuel A.              43783    7:20cv59652   Keller Postman                               MDL Wave 2
Delrossi, David G.            43981    7:20cv60583   Keller Postman                               MDL Wave 2
Dominguez, Jeremy D.          44028    7:20cv60745   Keller Postman                               MDL Wave 2
Harman, Scott J.              44565    7:20cv61874   Keller Postman                               MDL Wave 2
Hollimon, Stanley E.          44742    7:20cv61832   Keller Postman                               MDL Wave 2
Ivery, William J.             44835    7:20cv62128   Keller Postman                               MDL Wave 2
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Plaintiff Name                  PID       Case No.    Plaintiff Counsel                          Wave List Group
Jensen, Preston J.             44877    7:20cv62192   Keller Postman                              MDL Wave 2
Johnson, Daniel                44914    3:20cv02545   Keller Postman                              MDL Wave 2
Leslie, William R.             45163    7:20cv63698   Keller Postman                              MDL Wave 2
Lopez, Carlos R.               45218    7:20cv63756   Keller Postman                              MDL Wave 2
Miles, Adrian S.               45474    7:20cv64545   Keller Postman                              MDL Wave 2
Ochoa, Michael A.              45724    7:20cv64627   Keller Postman                              MDL Wave 2
Patton, James R.               45809    7:20cv64820   Keller Postman                              MDL Wave 2
Shaddon, Timothy               46305    7:20cv70531   Keller Postman                              MDL Wave 2
Switzer, Dennis R.             46562    7:20cv74936   Keller Postman                              MDL Wave 2
Walton, Bert A.                46829    7:20cv75971   Keller Postman                              MDL Wave 2
Wells, Jeremy S.               46886    7:20cv76021   Keller Postman                              MDL Wave 2
Abney, Chris                   50889    7:20cv65972   Kirkendall Dwyer LLP                        MDL Wave 2
Jurney, William                146157   7:20cv88959   LANGSTON & LOTT, PLLC                       MDL Wave 2
Allen, Carlton                  9097    7:20cv48534   Law Offices of Peter G. Angelos, P.C.       MDL Wave 2
Hunter, Antoine                 8910    7:20cv48036   Law Offices of Peter G. Angelos, P.C.       MDL Wave 2
Kilheffer, Brian                8951    7:20cv48210   Law Offices of Peter G. Angelos, P.C.       MDL Wave 2
Strickler, Steven               8692    7:20cv48301   Law Offices of Peter G. Angelos, P.C.       MDL Wave 2
Welch, Jason                    8757    7:20cv47530   Law Offices of Peter G. Angelos, P.C.       MDL Wave 2
Whightsil, Jeremy               8759    7:20cv47537   Law Offices of Peter G. Angelos, P.C.       MDL Wave 2
Johnson, Aaron                 10996    7:20cv00360   Levin Papantonio Rafferty                   MDL Wave 2
Johnson-Evans, Charlesree      11310    7:20cv00658   Levin Papantonio Rafferty                   MDL Wave 2
Woody, Joseph E.               11440    7:20cv00796   Levin Papantonio Rafferty                   MDL Wave 2
Hart, Lamonica S.              77461    7:20cv50753   Lieff Cabraser Heimann & Bernstein, LLP     MDL Wave 2
Wagner, Michael                77378    7:20cv50288   Lieff Cabraser Heimann & Bernstein, LLP     MDL Wave 2
Zobayan, Berge                 77535    7:20cv48998   Lieff Cabraser Heimann & Bernstein, LLP     MDL Wave 2
Moore, Erik                    102448   8:20cv17708   Lockridge Grindal Nauen                     MDL Wave 2
Weland, Christopher            103485   8:20cv14867   Matthews & Associates                       MDL Wave 2
Jones, Jonathan Wayne          13026    7:20cv63529   McSweeney/Langevin LLC                      MDL Wave 2
Mora, Marco                    85818    7:20cv44771   Monsour Law Firm                            MDL Wave 2
Schlabach, Benjamin             5341    8:20cv21232   Morgan & Morgan                             MDL Wave 2
Warensford, Robert              5367    8:20cv21255   Morgan & Morgan                             MDL Wave 2
Arias, Jose                    51838    7:20cv86510   Mostyn Law                                  MDL Wave 2
Brown, Eric                    51605    7:20cv95673   Mostyn Law                                  MDL Wave 2
Canales, Juan                  51805    7:20cv86447   Mostyn Law                                  MDL Wave 2
Drakeford, Sean                52109    7:20cv86776   Mostyn Law                                  MDL Wave 2
Dudo, Justin                   52074    7:20cv86649   Mostyn Law                                  MDL Wave 2
Edehia, Adetutu                51792    7:20cv86421   Mostyn Law                                  MDL Wave 2
Elmore, Latron                 167926   8:20cv03745   Mostyn Law                                  MDL Wave 2
Francis, Ronald                167957   8:20cv00022   Mostyn Law                                  MDL Wave 2
Hernandez, Geraldine           52129    7:20cv86844   Mostyn Law                                  MDL Wave 2
Jenkins, Kwasi                 51714    7:20cv96197   Mostyn Law                                  MDL Wave 2
Kimes, Casey                   52252    7:20cv87148   Mostyn Law                                  MDL Wave 2
Martinez, Pete                 168153   8:20cv01091   Mostyn Law                                  MDL Wave 2
Monroe, Michael                51893    7:20cv86646   Mostyn Law                                  MDL Wave 2
Ramsey Williams, Taneisha      51999    7:20cv86484   Mostyn Law                                  MDL Wave 2
Rodriguez, Enoc                52200    7:20cv87048   Mostyn Law                                  MDL Wave 2
Salgado, Jorge                 51530    7:20cv95304   Mostyn Law                                  MDL Wave 2
Short, Mark                    51872    7:20cv86577   Mostyn Law                                  MDL Wave 2
Silvabarros, Keli              51798    7:20cv86433   Mostyn Law                                  MDL Wave 2
Wooten, Felix                  51639    7:20cv95856   Mostyn Law                                  MDL Wave 2
Berckefeldt, Robert Martin     17757    7:20cv82557   Murphy Law Firm                             MDL Wave 2
Briggs, Jeremy Michael         17861    7:20cv82659   Murphy Law Firm                             MDL Wave 2
Brown, Jared                   17888    7:20cv82899   Murphy Law Firm                             MDL Wave 2
Butler, Gary Allen             18175    7:20cv83084   Murphy Law Firm                             MDL Wave 2
Carpenter, Timothy Michael     17417    7:20cv82276   Murphy Law Firm                             MDL Wave 2
Davies, Bertram Kent Barkley   18237    7:20cv83136   Murphy Law Firm                             MDL Wave 2
Foley, David                   17783    7:20cv82572   Murphy Law Firm                             MDL Wave 2
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Gielenz, Forrest Josef        18014    7:20cv82960   Murphy Law Firm                              MDL Wave 2
Richmond, Ryan Alexander      17771    7:20cv99381   Murphy Law Firm                              MDL Wave 2
Wesling, Glenn Allen          17240    7:20cv99283   Murphy Law Firm                              MDL Wave 2
Wilson, Teresa Ann            17738    7:20cv99359   Murphy Law Firm                              MDL Wave 2
Byers, Joseph                 29422    8:20cv05837   Napoli Shkolnik PLLC                         MDL Wave 2
Cookson, Damien               29786    7:20cv42312   OnderLaw, LLC                                MDL Wave 2
Mora, Frank                   30511    7:20cv92872   OnderLaw, LLC                                MDL Wave 2
Peckham, Stacey               30618    8:20cv33563   OnderLaw, LLC                                MDL Wave 2
Rodriguez, Jose               30743    8:20cv33158   OnderLaw, LLC                                MDL Wave 2
Salamanca, Daniel             30783    8:20cv33191   OnderLaw, LLC                                MDL Wave 2
Slagel, Christopher           30852    8:20cv33227   OnderLaw, LLC                                MDL Wave 2
Stegall, Daryl                30901    7:20cv93097   OnderLaw, LLC                                MDL Wave 2
Bivens, Derek                 103759   7:20cv68681   Parker Waichman LLP                          MDL Wave 2
Brady, Aaron Benjamin         103832   7:20cv68945   Parker Waichman LLP                          MDL Wave 2
Crisler, Joseph               104127   7:20cv68260   Parker Waichman LLP                          MDL Wave 2
Fender, Casey Colton          104380   7:20cv69895   Parker Waichman LLP                          MDL Wave 2
Garcia, Elmer Salvador        104487   7:20cv71837   Parker Waichman LLP                          MDL Wave 2
Gauniel, Luther               104515   7:20cv71925   Parker Waichman LLP                          MDL Wave 2
Grant, Philip Byron           104600   7:20cv72400   Parker Waichman LLP                          MDL Wave 2
Harrell, Theodore Lee         104693   7:20cv74502   Parker Waichman LLP                          MDL Wave 2
Houck, Jeremy Doug            104815   7:20cv75215   Parker Waichman LLP                          MDL Wave 2
Hulse, Timothy James          104838   7:20cv75369   Parker Waichman LLP                          MDL Wave 2
Mcdonald, Daniel Eugene       105271   7:20cv70407   Parker Waichman LLP                          MDL Wave 2
Medina, Nestor Luis           105296   7:20cv70456   Parker Waichman LLP                          MDL Wave 2
Miller, Billy Joe             105345   7:20cv70552   Parker Waichman LLP                          MDL Wave 2
Montoya, Stephen Joshua       105378   7:20cv70695   Parker Waichman LLP                          MDL Wave 2
O'Donnell, Cory Patrick       105508   7:20cv70927   Parker Waichman LLP                          MDL Wave 2
Pack, Mark William            105542   7:20cv70975   Parker Waichman LLP                          MDL Wave 2
Salemme, Thomas Richard       105861   7:20cv71436   Parker Waichman LLP                          MDL Wave 2
Wright, Robby M.              106469   7:20cv74136   Parker Waichman LLP                          MDL Wave 2
Doran, Jonathan               144429   7:20cv97478   Paul LLP                                     MDL Wave 2
Mora, Bradley Joseph          94583    3:19cv01117   Paul LLP                                     MDL Wave 2
Swindle, Robert Mason         94659    3:19cv04572   Paul LLP                                     MDL Wave 2
Teniente, Felipe Martinez     29257    8:20cv21498   Phipps Deacon Purnell PLLC                   MDL Wave 2
Ihde, Michael D.               8325    8:20cv16913   Porter & Malouf, P.A.                        MDL Wave 2
Brown, Lawrence               28428    7:20cv04026   Pulaski Law Firm, PLLC                       MDL Wave 2
Colegrove, Christopher        28990    7:20cv06486   Pulaski Law Firm, PLLC                       MDL Wave 2
Conyers, Sean                 15318    7:20cv02442   Pulaski Law Firm, PLLC                       MDL Wave 2
Didomenico, Joseph            29025    7:20cv06681   Pulaski Law Firm, PLLC                       MDL Wave 2
Edling, Danny                 26969    7:20cv48126   Pulaski Law Firm, PLLC                       MDL Wave 2
Gilley, Henry                 28500    7:20cv04178   Pulaski Law Firm, PLLC                       MDL Wave 2
Kiesel, Brian                 15107    7:20cv02166   Pulaski Law Firm, PLLC                       MDL Wave 2
Kohlenberg, Brett             18801    7:20cv04546   Pulaski Law Firm, PLLC                       MDL Wave 2
Lopez, Wilson                 15605    7:20cv02604   Pulaski Law Firm, PLLC                       MDL Wave 2
Lousignont, Anthony           26648    7:20cv18717   Pulaski Law Firm, PLLC                       MDL Wave 2
Mcdonald, Keith               15192    7:20cv02256   Pulaski Law Firm, PLLC                       MDL Wave 2
Mcgreevy, Thomas              27884    7:20cv03449   Pulaski Law Firm, PLLC                       MDL Wave 2
Michael, Bryan                28201    7:20cv03802   Pulaski Law Firm, PLLC                       MDL Wave 2
Moore, Lakashka               28426    7:20cv04022   Pulaski Law Firm, PLLC                       MDL Wave 2
Navarro, Rene                 28422    7:20cv04016   Pulaski Law Firm, PLLC                       MDL Wave 2
Sheridan, Christopher         15783    7:20cv02822   Pulaski Law Firm, PLLC                       MDL Wave 2
Silva, Johnny                 26896    7:20cv29289   Pulaski Law Firm, PLLC                       MDL Wave 2
Suhling, Nicholas             18724    7:20cv04461   Pulaski Law Firm, PLLC                       MDL Wave 2
Turner, Harris                26429    7:20cv15101   Pulaski Law Firm, PLLC                       MDL Wave 2
Blachly, Bruce                 5573    7:20cv00723   Reich and Binstock, LLP                      MDL Wave 2
Altman, Derek                 92025    7:20cv55475   Robinson Calcagnie, Inc.                     MDL Wave 2
Cook, Cedric                  92337    7:20cv56324   Robinson Calcagnie, Inc.                     MDL Wave 2
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                            Wave List Group
Gardner, Gregory                92555    7:20cv56672   Robinson Calcagnie, Inc.                      MDL Wave 2
Hardin, Dylan                   92670    7:20cv57137   Robinson Calcagnie, Inc.                      MDL Wave 2
Neidlinger, Alex                93056    7:20cv50812   Robinson Calcagnie, Inc.                      MDL Wave 2
Pinedo, Jessie                  93121    7:20cv50131   Robinson Calcagnie, Inc.                      MDL Wave 2
Theobald, Ryan                  127511   7:20cv51687   Robinson Calcagnie, Inc.                      MDL Wave 2
Davis, Kurtis                   93807    7:20cv72893   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 2
Hugo, Garrett A.                93944    7:20cv73500   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 2
Sandoval, John B.               94197    7:20cv75595   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 2
Anderson, Neil                  83198    7:20cv18788   Seeger Weiss LLP                              MDL Wave 2
Crisp, Kameereo                 82850    7:20cv17445   Seeger Weiss LLP                              MDL Wave 2
Duncan, Ruperto                 83414    7:20cv19173   Seeger Weiss LLP                              MDL Wave 2
Fenderson, Erick                82352    7:20cv16846   Seeger Weiss LLP                              MDL Wave 2
Galemore, Ross                  83408    7:20cv19147   Seeger Weiss LLP                              MDL Wave 2
Gardner, Jedidiah               82590    7:20cv18167   Seeger Weiss LLP                              MDL Wave 2
Gorman, Kody                    82917    7:20cv17486   Seeger Weiss LLP                              MDL Wave 2
Hemple, Samuel                  83454    7:20cv19156   Seeger Weiss LLP                              MDL Wave 2
Juarez, Jimmie                  82661    7:20cv18332   Seeger Weiss LLP                              MDL Wave 2
Lotz, Matthew                   83078    7:20cv18036   Seeger Weiss LLP                              MDL Wave 2
Maddox, Shane                   83482    7:20cv19249   Seeger Weiss LLP                              MDL Wave 2
Mendoza, Abram                  81609    7:20cv16089   Seeger Weiss LLP                              MDL Wave 2
Miller, Marshall                83051    7:20cv17979   Seeger Weiss LLP                              MDL Wave 2
Moore, Eric                     82340    7:20cv16672   Seeger Weiss LLP                              MDL Wave 2
O'Bey, Christopher              82019    7:20cv16387   Seeger Weiss LLP                              MDL Wave 2
Proctor, Paul                   83247    7:20cv18887   Seeger Weiss LLP                              MDL Wave 2
Rinehart, Robert                83365    7:20cv19000   Seeger Weiss LLP                              MDL Wave 2
Robertson, Jeremiah             82625    7:20cv18138   Seeger Weiss LLP                              MDL Wave 2
Simon, Joseph                   82785    7:20cv17318   Seeger Weiss LLP                              MDL Wave 2
Williams, Shane                 83484    7:20cv19257   Seeger Weiss LLP                              MDL Wave 2
Boudreaux, Al                   83972    8:20cv34041   Shlosman Law Firm                             MDL Wave 2
Perez, Holvin                   84008    8:20cv34090   Shlosman Law Firm                             MDL Wave 2
Chappell, Russell               18530    7:20cv50146   Simmons Hanly Conroy                          MDL Wave 2
Franklin, Eddie                 16105    7:20cv66635   Simmons Hanly Conroy                          MDL Wave 2
Gordon, Jameel                  18598    3:21cv01808   Simmons Hanly Conroy                          MDL Wave 2
Hammer, Eric                    18652    7:20cv51963   Simmons Hanly Conroy                          MDL Wave 2
Postell, Kelly                  18674    7:20cv52092   Simmons Hanly Conroy                          MDL Wave 2
Ruiz, Elvin Ramos               16293    7:20cv49551   Simmons Hanly Conroy                          MDL Wave 2
Wach, Christopher               18585    7:20cv51667   Simmons Hanly Conroy                          MDL Wave 2
Mason, Wendy                    83807    7:20cv17702   Slocumb Law                                   MDL Wave 2
Lloyd, Lashana Sherre           127787   8:20cv18380   Smith, Gildea & Schmidt, LLC                  MDL Wave 2
Hume, Christopher                7103    7:20cv46251   Stueve Siegel Hanson                          MDL Wave 2
Jackson, Josh                    7129    7:20cv46364   Stueve Siegel Hanson                          MDL Wave 2
Lucas, Paul                      7346    7:20cv46818   Stueve Siegel Hanson                          MDL Wave 2
Nunes, Clair Andrea              6594    7:20cv44032   Stueve Siegel Hanson                          MDL Wave 2
Rodriguez, Caesar                7758    7:20cv47511   Stueve Siegel Hanson                          MDL Wave 2
Simms, Lamae                     7866    7:20cv47780   Stueve Siegel Hanson                          MDL Wave 2
Heise, Eric                     53516    8:20cv04424   Sullivan & Brill, LLP                         MDL Wave 2
Schneidermann, Jeffrey          53623    7:20cv88249   Summers & Johnson, P.C.                       MDL Wave 2
Howard, William                 77122    7:20cv69878   The Carlson Law Firm                          MDL Wave 2
Zeiler, George                  29230    7:20cv47532   The Carlson Law Firm                          MDL Wave 2
Barnes, Robert W.               58209    7:20cv09926   The Gori Law Firm, P.C.                       MDL Wave 2
Boulware, Heather               47638    7:20cv08068   The Gori Law Firm, P.C.                       MDL Wave 2
Brown, Walter                   55397    7:20cv06026   The Gori Law Firm, P.C.                       MDL Wave 2
Budd, Michael                   47671    7:20cv08114   The Gori Law Firm, P.C.                       MDL Wave 2
Cing, Gregory Vincent Cabrera   47710    7:20cv76220   The Gori Law Firm, P.C.                       MDL Wave 2

Ellis, Christopher D.           56820    7:20cv07894   The Gori Law Firm, P.C.                       MDL Wave 2
Elman, Bryan                    59084    7:20cv14154   The Gori Law Firm, P.C.                       MDL Wave 2
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Plaintiff Name                  PID      Case No.    Plaintiff Counsel                           Wave List Group
Harris, Daniel                 58908   7:20cv11473   The Gori Law Firm, P.C.                      MDL Wave 2
Hayes, Christopher             59422   7:20cv08848   The Gori Law Firm, P.C.                      MDL Wave 2
Hillsman, Desmond              58859   7:20cv11316   The Gori Law Firm, P.C.                      MDL Wave 2
Leeseberg, Eric                48007   8:20cv26916   The Gori Law Firm, P.C.                      MDL Wave 2
Lewis, Thomas                  57621   7:20cv10872   The Gori Law Firm, P.C.                      MDL Wave 2
Mattek, Eric                   57619   7:20cv10865   The Gori Law Firm, P.C.                      MDL Wave 2
Maylor, Timothy                58921   7:20cv11507   The Gori Law Firm, P.C.                      MDL Wave 2
Montano, Raul                  57421   7:20cv10675   The Gori Law Firm, P.C.                      MDL Wave 2
Oliver, Cedric                 56948   7:20cv08724   The Gori Law Firm, P.C.                      MDL Wave 2
Pellegrino, Michael            56224   7:20cv07338   The Gori Law Firm, P.C.                      MDL Wave 2
Rupert, Travis M.              57869   7:20cv11119   The Gori Law Firm, P.C.                      MDL Wave 2
Santana, Michael               58539   7:20cv12953   The Gori Law Firm, P.C.                      MDL Wave 2
Schreckengost, Joshua G.       59474   7:20cv08935   The Gori Law Firm, P.C.                      MDL Wave 2
Scott, Reginald G.             56480   7:20cv07543   The Gori Law Firm, P.C.                      MDL Wave 2
Sherer, Michael J.             58102   7:20cv09914   The Gori Law Firm, P.C.                      MDL Wave 2
Shiko, Don L.                  48303   7:20cv04280   The Gori Law Firm, P.C.                      MDL Wave 2
Stanley, Eshay                 48329   7:20cv04318   The Gori Law Firm, P.C.                      MDL Wave 2
Tarbush, William J.            57663   7:20cv10893   The Gori Law Firm, P.C.                      MDL Wave 2
Lyon, Jeremy                   14940   7:20cv94408   The Kuykendall Group LLc                     MDL Wave 2
Christiansen, Corey            48784   7:20cv04719   The Lanier Law Firm                          MDL Wave 2
Majewski, Ryan                 48868   7:20cv04571   The Lanier Law Firm                          MDL Wave 2
Travis, Crystal                48588   7:20cv44360   The Moody Law Firm                           MDL Wave 2
Johnson, Faron                 14434   8:20cv18624   The Simon Law Firm, P.C.                     MDL Wave 2
Kinley, Jeffery                14399   8:20cv18527   The Simon Law Firm, P.C.                     MDL Wave 2
Rebo, Jacob                    14501   8:20cv19126   The Simon Law Firm, P.C.                     MDL Wave 2
Baez, Ralph                    19449   7:20cv84061   Tracey & Fox Law Firm                        MDL Wave 2
Barnes, Andre                  19524   7:20cv84294   Tracey & Fox Law Firm                        MDL Wave 2
Bolton, Steven                 19762   7:20cv85369   Tracey & Fox Law Firm                        MDL Wave 2
Cavaliere, Michael P.          20240   7:20cv14897   Tracey & Fox Law Firm                        MDL Wave 2
Cyr, Jason                     20612   7:20cv89493   Tracey & Fox Law Firm                        MDL Wave 2
Harrison, Jonathan M.          21856   7:20cv93924   Tracey & Fox Law Firm                        MDL Wave 2
Holliday, David                22087   7:20cv86190   Tracey & Fox Law Firm                        MDL Wave 2
Johnson, Jeremiah              22376   7:20cv87386   Tracey & Fox Law Firm                        MDL Wave 2
Lefrancois, James              22837   7:20cv89253   Tracey & Fox Law Firm                        MDL Wave 2
Morgan, Nicholas               23592   7:20cv90887   Tracey & Fox Law Firm                        MDL Wave 2
Posch, Stephen J.              24229   7:20cv90510   Tracey & Fox Law Firm                        MDL Wave 2
Presley, Jeremy S.             24265   7:20cv90588   Tracey & Fox Law Firm                        MDL Wave 2
Redmann, Bryan                 24394   7:20cv91473   Tracey & Fox Law Firm                        MDL Wave 2
Rocha, Jose                    24598   7:20cv92118   Tracey & Fox Law Firm                        MDL Wave 2
Shackelford, Steven T.         24961   7:20cv93751   Tracey & Fox Law Firm                        MDL Wave 2
Todd, Terrence                 25560   7:20cv94327   Tracey & Fox Law Firm                        MDL Wave 2
Walker, Daniel                 25817   7:20cv95686   Tracey & Fox Law Firm                        MDL Wave 2
Watson, Brandon                25900   7:20cv96477   Tracey & Fox Law Firm                        MDL Wave 2
Whear, Keith                   25988   7:20cv96772   Tracey & Fox Law Firm                        MDL Wave 2
Wilson, Andrew                 26134   7:20cv97808   Tracey & Fox Law Firm                        MDL Wave 2
Wood, Michael                  26186   7:20cv98095   Tracey & Fox Law Firm                        MDL Wave 2
Dempsey, Patrick Christopher   49288   8:20cv12587   Wagstaff & Cartmell, LLP                     MDL Wave 2
East, Christopher Charles      95400   7:20cv21686   Wagstaff & Cartmell, LLP                     MDL Wave 2
Isom, Tabatha Beth             95351   7:20cv21696   Wagstaff & Cartmell, LLP                     MDL Wave 2
Johnson, Brett Andrew          95750   3:22cv00821   Wagstaff & Cartmell, LLP                     MDL Wave 2
Sipple, Robert Brandon         96147   7:20cv36007   Wagstaff & Cartmell, LLP                     MDL Wave 2
Reynolds, Denis J.              5027   7:20cv88121   Waters Kraus                                 MDL Wave 2
Abel, James                     4084   7:20cv43176   Weller, Green, Toups & Terrell, LLP          MDL Wave 2
Chenault, David                 4180   7:20cv43099   Weller, Green, Toups & Terrell, LLP          MDL Wave 2
Hamilton, David Lee             4291   7:20cv43414   Weller, Green, Toups & Terrell, LLP          MDL Wave 2
Pilling, Arthur                 4513   7:20cv43489   Weller, Green, Toups & Terrell, LLP          MDL Wave 2
Quigg, Joshua D                 4525   7:20cv43505   Weller, Green, Toups & Terrell, LLP          MDL Wave 2
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                                    Wave List Group
Thomas, Dawn                   4658    7:20cv43558   Weller, Green, Toups & Terrell, LLP                   MDL Wave 2
Brennan, Andrew Joseph        116434   8:20cv30556   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Carnahan, Christopher Todd    116850   8:20cv31204   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Mcnickles, Shantique Frank    116582   8:20cv30733   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Schultz, Eric Michael         116972   8:20cv31098   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Strecker, Brian Alan          116380   8:20cv30452   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz     MDL Wave 3
Roberts, Blake                66068    8:20cv21956   Allen & Nolte, PLLC                                   MDL Wave 3
Baez, Christopher             279045   7:21cv00709   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Bailey, Brett James           60346    7:20cv09637   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Beddingfield, Howard          256962   9:20cv00590   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Cupitt, Jeffrey Lee           227023   8:20cv77603   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Davis, Charles                226255   8:20cv76440   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Dumont Vega, Angel Luis       61530    3:19cv03179   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
England, Cameron              272264   9:20cv15371   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Fahie, Jacqueline             259267   9:20cv04973   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Farkas, James                 281600   7:21cv03280   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Gembala, Patrick J.           196708   8:20cv42601   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Gordon, Katrina               227716   8:20cv79238   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Gutting, Darrick              190236   8:20cv31578   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Hyder, Nicholas               62615    7:20cv12168   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Jackson, Keith                281743   7:21cv03614   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Jarman, Wade                  278925   7:21cv00558   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Jimenez Reveron, Yaritza      190459   8:20cv33823   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Yvette
Johnson, Devar                227802   8:20cv79790   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Johnson, Lee                  246503   8:20cv98975   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Johnson, Wayne                226352   8:20cv76612   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Lee, Bryan Stephen            278255   3:21cv01042   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Lemons, Antonio               281186   7:21cv04532   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Matias, Carlos                271645   9:20cv14303   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Mccall, Tara                  284698   7:21cv08517   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Mcphearson, Adam              279043   7:21cv00707   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Monn, Daryl                   63754    7:20cv22378   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Murders, Billy                228027   8:20cv80962   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Nelson, John                  63924    7:20cv12468   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Peloquin, Dean                226868   8:20cv77434   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Perez, Jonathan               259559   9:20cv05268   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Price, John C.                225972   8:20cv75678   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Rozsi, Phillip                227571   3:21cv01842   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Schwarz, Brian                281357   7:21cv04703   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Seymour, Ricky                272588   9:20cv16238   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Shaner, Nicholas              257296   9:20cv01181   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Shy, Albert Joshua            196082   8:20cv41434   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Singleton, Aaron David        64924    7:20cv14259   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Skurka, Daniel                237770   8:20cv97852   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Storm, Dustin M.              65152    7:20cv15336   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Thompson, Junius Broden       189499   8:20cv24275   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Vath, Troy                    164376   7:20cv36903   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Velazquez, Joaquin Armando    226984   8:20cv77565   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Vendl, Richard                65493    3:19cv02793   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Williamson, Cheryl            271062   9:20cv14044   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Wormley, Alexis D.            226538   8:20cv76798   Aylstock, Witkin, Kreis & Overholtz, PLLC             MDL Wave 3
Dukes, Ernest                 69129    7:20cv81471   Aylstock, Witkin, Kreis & Overholtz, PLLC; Coxwell    MDL Wave 3
                                                     & Associates PLLC.
Ferris, Joshua                69147    7:20cv81543   Aylstock, Witkin, Kreis & Overholtz, PLLC; Coxwell    MDL Wave 3
                                                     & Associates PLLC.
Kimmel, Dwayne                66384    7:20cv55559   Bailey Cowan Heckaman PLLC                            MDL Wave 3
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Plaintiff Name                    PID       Case No.    Plaintiff Counsel                             Wave List Group
Pearson-Murray, Corean           66524    7:20cv56069   Bailey Cowan Heckaman PLLC                     MDL Wave 3
Bayless, John                    117049   7:20cv86879   Baron & Budd                                   MDL Wave 3
Becerra, Alfonso                 117054   7:20cv86899   Baron & Budd                                   MDL Wave 3
Grano, Joseph Paul               117448   7:20cv96853   Baron & Budd                                   MDL Wave 3
Leon, Lorenzo                    117687   7:20cv98040   Baron & Budd                                   MDL Wave 3
Powell, Brian                    117989   8:20cv00561   Baron & Budd                                   MDL Wave 3
Rhodes, Troy E.                  67830    8:20cv15381   Bernstein Liebhard LLP                         MDL Wave 3
Oliver, Jamie                    16415    8:20cv05704   Bryant Law Center                              MDL Wave 3
Parra, Omar                      133798   7:20cv59602   Burnett Law Firm; Junell & Associates, PLLC    MDL Wave 3
Mowery, Kevin Michael            176341   7:20cv80641   Charles E. Boyk Law Offices, LLC               MDL Wave 3
Bilbo, Jimmy                     330213   7:21cv47132   Clark, Love & Hutson PLLC                      MDL Wave 3
Carl, Steven                     90178    7:20cv22507   Clark, Love & Hutson PLLC                      MDL Wave 3
Dodrill, Jesse                   213623   8:20cv66120   Clark, Love & Hutson PLLC                      MDL Wave 3
Duncan, Taylor                   89614    7:20cv20614   Clark, Love & Hutson PLLC                      MDL Wave 3
Griswell, Chiquita N.            90157    7:20cv22446   Clark, Love & Hutson PLLC                      MDL Wave 3
Hankins, Christopher A.          90881    7:20cv21151   Clark, Love & Hutson PLLC                      MDL Wave 3
Henneman, Clyde                  213733   8:20cv67398   Clark, Love & Hutson PLLC                      MDL Wave 3
Hinnen, Brian                    42991    3:19cv00797   Clark, Love & Hutson PLLC                      MDL Wave 3
Kaiser, Byron                    252436   9:20cv12198   Clark, Love & Hutson PLLC                      MDL Wave 3
Mason, Christopher               88732    7:20cv19491   Clark, Love & Hutson PLLC                      MDL Wave 3
Molik, Peter                     213890   8:20cv67784   Clark, Love & Hutson PLLC                      MDL Wave 3
Monari, Louis                    90602    7:20cv20735   Clark, Love & Hutson PLLC                      MDL Wave 3
Palmentera, Tyler                195056   8:20cv39497   Clark, Love & Hutson PLLC                      MDL Wave 3
Petersen, Alicia                 264955   9:20cv09357   Clark, Love & Hutson PLLC                      MDL Wave 3
Reyes, Juan                      265005   9:20cv09407   Clark, Love & Hutson PLLC                      MDL Wave 3
Robson, Jake                     213981   8:20cv68408   Clark, Love & Hutson PLLC                      MDL Wave 3
Schelte, Jason                   265071   9:20cv09528   Clark, Love & Hutson PLLC                      MDL Wave 3
Slocum, Lee                      42958    7:20cv06999   Clark, Love & Hutson PLLC                      MDL Wave 3
Stockley, Jason                  90056    7:20cv22182   Clark, Love & Hutson PLLC                      MDL Wave 3
Ohare, Daniel Ryan               176078   7:20cv41188   Colson Hicks Eidson                            MDL Wave 3
Mcfee, Jacob                      9914    7:20cv47277   Cory Watson                                    MDL Wave 3
Ofarrell, William                73818    8:20cv25438   Danziger & De Llano; Watts Guerra              MDL Wave 3
Perrine, Daniel                  74043    8:20cv25876   Danziger & De Llano; Watts Guerra              MDL Wave 3
Glavach, Christopher             76217    8:20cv34007   DeGaris Wright McCall                          MDL Wave 3
Jackson, Cassandra               76232    8:20cv34040   DeGaris Wright McCall                          MDL Wave 3
Bailey, Joshua                   107459   7:20cv75557   Douglas & London                               MDL Wave 3
Brown, Peter                     108059   7:20cv72746   Douglas & London                               MDL Wave 3
Burton, Noah                     108160   7:20cv72428   Douglas & London                               MDL Wave 3
Chabanik, Richard                108389   7:20cv73149   Douglas & London                               MDL Wave 3
Cheatham, Ericka L.              108439   7:20cv73354   Douglas & London                               MDL Wave 3
Clement, Brandon                 108515   7:20cv73640   Douglas & London                               MDL Wave 3
Crittenden, Robert               108780   3:19cv03249   Douglas & London                               MDL Wave 3
Cunningham, Logan                108836   7:20cv73624   Douglas & London                               MDL Wave 3
Dachoute, Pierre                 108862   7:20cv73689   Douglas & London                               MDL Wave 3
Decoria, Kevin                   108999   7:20cv76934   Douglas & London                               MDL Wave 3
Delpino, Anthony                 109033   7:20cv77030   Douglas & London                               MDL Wave 3
Downey, Eric                     109200   7:20cv77383   Douglas & London                               MDL Wave 3
Eagan, Michael                   109295   7:20cv77470   Douglas & London                               MDL Wave 3
Earnhardt, Scott                 109301   7:20cv77476   Douglas & London                               MDL Wave 3
Finch, Stephen                   109537   7:20cv79579   Douglas & London                               MDL Wave 3
Flora, Ryan                      109580   7:20cv79621   Douglas & London                               MDL Wave 3
Fout, Luke                       109631   7:20cv79670   Douglas & London                               MDL Wave 3
Giroux, Raymond                  109895   7:20cv79919   Douglas & London                               MDL Wave 3
Goodnough, Neal                  109989   7:20cv73848   Douglas & London                               MDL Wave 3
Gray, Bryan                      110052   7:20cv73967   Douglas & London                               MDL Wave 3
Greer, Chris                     110082   7:20cv73999   Douglas & London                               MDL Wave 3
Gwaltney, Joshua                 110177   7:20cv74086   Douglas & London                               MDL Wave 3
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                                Wave List Group
Hammock, Donald               110239   7:20cv74229   Douglas & London                                  MDL Wave 3
Handwerker, Henry             110254   7:20cv74256   Douglas & London                                  MDL Wave 3
Henry, Michael                110467   7:20cv74749   Douglas & London                                  MDL Wave 3
Hickson, Josh                 110534   7:20cv74777   Douglas & London                                  MDL Wave 3
Hillenburg, Gregory           110565   7:20cv74860   Douglas & London                                  MDL Wave 3
Hillyer, William              110569   7:20cv74875   Douglas & London                                  MDL Wave 3
Hooper, Justin                110663   7:20cv75339   Douglas & London                                  MDL Wave 3
Isham, David                  110836   7:20cv75085   Douglas & London                                  MDL Wave 3
Johnson, Tavonte              111000   7:20cv75830   Douglas & London                                  MDL Wave 3
Joyner, William               111084   7:20cv76378   Douglas & London                                  MDL Wave 3
Kellum, Benjamin              111151   7:20cv76599   Douglas & London                                  MDL Wave 3
Kline, Randy                  111263   7:20cv77853   Douglas & London                                  MDL Wave 3
Lawson, David                 111492   7:20cv78928   Douglas & London                                  MDL Wave 3
Lehr, Bradley                 111543   7:20cv79212   Douglas & London                                  MDL Wave 3
Levi, Joseph                  111577   7:20cv80426   Douglas & London                                  MDL Wave 3
Loredo, Edward                111702   7:20cv81176   Douglas & London                                  MDL Wave 3
Mason, Brandon                111965   7:20cv84312   Douglas & London                                  MDL Wave 3
Miron, Joseph                 112402   7:20cv77763   Douglas & London                                  MDL Wave 3
Mobley, Terry                 112427   7:20cv77809   Douglas & London                                  MDL Wave 3
Moore, Melvin                 112486   7:20cv77958   Douglas & London                                  MDL Wave 3
Munro, Alexander              112624   7:20cv78404   Douglas & London                                  MDL Wave 3
Nelson, Zacharie              112707   7:20cv78255   Douglas & London                                  MDL Wave 3
Parker, Jeramie               113002   7:20cv78911   Douglas & London                                  MDL Wave 3
Pizana, Robert                113221   7:20cv77648   Douglas & London                                  MDL Wave 3
Pratt, Christopher            113297   7:20cv77758   Douglas & London                                  MDL Wave 3
Putman, Phillip               113347   7:20cv77860   Douglas & London                                  MDL Wave 3
Rivera, Joseph                113649   7:20cv79273   Douglas & London                                  MDL Wave 3
Rowley, Steven                113848   7:20cv80348   Douglas & London                                  MDL Wave 3
Ruggero, Samuel               113864   7:20cv80405   Douglas & London                                  MDL Wave 3
Shapardon, Chris              114139   7:20cv81784   Douglas & London                                  MDL Wave 3
Suklja, Daniel                114644   7:20cv80449   Douglas & London                                  MDL Wave 3
Torrez, Daniel                114910   7:20cv81089   Douglas & London                                  MDL Wave 3
Tramble, Kenneth              114921   7:20cv81130   Douglas & London                                  MDL Wave 3
Waters, Derek                 115254   7:20cv81712   Douglas & London                                  MDL Wave 3
Whitton, Willard              115427   7:20cv82314   Douglas & London                                  MDL Wave 3
Wickham, Glenn                115429   7:20cv82320   Douglas & London                                  MDL Wave 3
Willing, Brandon              115511   7:20cv82581   Douglas & London                                  MDL Wave 3
Garcia Hernandez, Diego       95243    7:20cv98128   Fenstersheib Law Group, P.A.; Murphy Law Firm;    MDL Wave 3
                                                     Comeaux Law Firm
Touchette, Timothy Joseph     139339   3:19cv02925   Gattuso & Ciotoli, PLLC                           MDL Wave 3
Hoover, Ronnie                 3903    8:20cv04721   Goldenberg Heller & Antognoli, P.C.               MDL Wave 3
Gardner, Benjamin             79472    7:20cv52790   Heninger Garrison Davis, LLC                      MDL Wave 3
Jackson, Arland               173948   7:20cv65160   Heninger Garrison Davis, LLC                      MDL Wave 3
Jewel, William                79676    7:20cv53478   Heninger Garrison Davis, LLC                      MDL Wave 3
Nadeau, Nathan                138194   8:20cv47478   Jensen & Associates; Keller Postman               MDL Wave 3
Adams, James                  115845   7:20cv45651   Joel Bieber Firm                                  MDL Wave 3
Gibson, Joseph                116028   7:20cv45357   Joel Bieber Firm                                  MDL Wave 3
Marx, Phillip                 115802   7:20cv45431   Joel Bieber Firm                                  MDL Wave 3
Rivera, Benjamin              115772   7:20cv45345   Joel Bieber Firm                                  MDL Wave 3
Johnson, Brandie Louise       138964   3:19cv04271   Johnson Becker                                    MDL Wave 3
Ahrmann, Samuel               129628   7:20cv52398   Junell & Associates, PLLC                         MDL Wave 3
Ayson, Mark                   129801   7:20cv51292   Junell & Associates, PLLC                         MDL Wave 3
Barker, Melisa                129867   7:20cv51472   Junell & Associates, PLLC                         MDL Wave 3
Bazar, Adam                   129938   7:20cv51706   Junell & Associates, PLLC                         MDL Wave 3
Brown, James                  130278   7:20cv53092   Junell & Associates, PLLC                         MDL Wave 3
Brown, James                  223821   9:20cv04748   Junell & Associates, PLLC                         MDL Wave 3
Campbell, Katrina             130415   7:20cv53877   Junell & Associates, PLLC                         MDL Wave 3
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Daugherty, Michael            130872   7:20cv54083   Junell & Associates, PLLC                    MDL Wave 3
Figueroa, Fernando            131328   7:20cv51627   Junell & Associates, PLLC                    MDL Wave 3
Fox, Tyler                    131435   7:20cv53218   Junell & Associates, PLLC                    MDL Wave 3
Gardner, Stephen              131536   7:20cv53745   Junell & Associates, PLLC                    MDL Wave 3
Hall, Danial                  131860   7:20cv56686   Junell & Associates, PLLC                    MDL Wave 3
Harris, Melzurie              131937   7:20cv57522   Junell & Associates, PLLC                    MDL Wave 3
O'Brien, Jeff                 133685   7:20cv58736   Junell & Associates, PLLC                    MDL Wave 3
Petry, Austin                 133915   7:20cv59810   Junell & Associates, PLLC                    MDL Wave 3
Porter, Paul                  134008   7:20cv60338   Junell & Associates, PLLC                    MDL Wave 3
Ritchel, Timothy              134268   7:20cv62318   Junell & Associates, PLLC                    MDL Wave 3
Sickler, Philip               135940   7:20cv41977   Junell & Associates, PLLC                    MDL Wave 3
Stoeber, Andrew               134986   7:20cv00059   Junell & Associates, PLLC                    MDL Wave 3
Hickox, Justin                 3103    8:20cv32934   Justinian & Associates PLLC                  MDL Wave 3
Porter, Dillon                84671    8:20cv34145   Justinian & Associates PLLC                  MDL Wave 3
Angelo, Wade                  138719   7:20cv30236   Keller Postman                               MDL Wave 3
Brown, Garry                  137377   8:20cv36621   Keller Postman                               MDL Wave 3
Browning, Vincent             43524    7:20cv58898   Keller Postman                               MDL Wave 3
Catrucco, Chad J              43675    7:20cv59343   Keller Postman                               MDL Wave 3
Corliss, Kris                 137933   8:20cv41514   Keller Postman                               MDL Wave 3
Correa, Javier                137562   8:20cv37872   Keller Postman                               MDL Wave 3
Dommell, Brian R.             136926   8:20cv38136   Keller Postman                               MDL Wave 3
Graham-Anderson, Joshua       137784   8:20cv39912   Keller Postman                               MDL Wave 3
Hodson, Jeremy                137606   8:20cv38009   Keller Postman                               MDL Wave 3
Kulp, Joshua J                137795   8:20cv39948   Keller Postman                               MDL Wave 3
Martin, Danny                 137167   8:20cv42252   Keller Postman                               MDL Wave 3
Reeves, Johnny                137713   8:20cv39598   Keller Postman                               MDL Wave 3
Simmons, Tobias               327365   7:21cv45003   Keller Postman                               MDL Wave 3
Taylor, David Allen           164238   8:20cv49880   Keller Postman                               MDL Wave 3
Watts, Tyler                  138703   8:20cv37576   Keller Postman                               MDL Wave 3
Wildern, Amanda D.            46930    7:20cv76059   Keller Postman                               MDL Wave 3
Burton, Joshua                50621    7:20cv65393   Kirkendall Dwyer LLP                         MDL Wave 3
Crist, William                50586    7:20cv65325   Kirkendall Dwyer LLP                         MDL Wave 3
Guzman, Carlos                50888    7:20cv65969   Kirkendall Dwyer LLP                         MDL Wave 3
Hall, Erica                   50785    7:20cv65721   Kirkendall Dwyer LLP                         MDL Wave 3
Lanham, Benjamin              77158    7:20cv69975   Kirtland & Packard LLP                       MDL Wave 3
Johnson, Clifton              146209   7:20cv88977   LANGSTON & LOTT, PLLC                        MDL Wave 3
Milson, Charles               140015   7:20cv30426   Law Offices of James Scott Farrin            MDL Wave 3
Roldan, Eduardo               88580    3:19cv03375   Law Offices of Jan K. Apo                    MDL Wave 3
Boyd, Desmond                  9061    7:20cv48448   Law Offices of Peter G. Angelos, P.C.        MDL Wave 3
Maples, Gary                   9002    7:20cv48409   Law Offices of Peter G. Angelos, P.C.        MDL Wave 3
Oliver, Brian J.               8551    7:20cv47790   Law Offices of Peter G. Angelos, P.C.        MDL Wave 3
Waymire, Daniel                8754    7:20cv47525   Law Offices of Peter G. Angelos, P.C.        MDL Wave 3
Coronado, Eric                11214    7:20cv00560   Levin Papantonio Rafferty                    MDL Wave 3
Darrington, Leondre           11433    7:20cv00779   Levin Papantonio Rafferty                    MDL Wave 3
Baker, Misty Lee              139388   8:20cv14961   Matthews & Associates                        MDL Wave 3
Aguilar, Michael              181135   8:20cv31456   McDonald Worley                              MDL Wave 3
Williams, Richard             12378    7:20cv01818   McDonald Worley                              MDL Wave 3
Cruz, Juan D.                 91230    7:20cv71580   Messa & Associates                           MDL Wave 3
Prais, Joseph                 91339    7:20cv72082   Messa & Associates                           MDL Wave 3
Rodgers, Johnny L.            91349    7:20cv72109   Messa & Associates                           MDL Wave 3
Hammock, Michelle R.          126310   8:20cv31746   Morgan & Morgan                              MDL Wave 3
Jackson, Michael Kevin        126315   8:20cv31764   Morgan & Morgan                              MDL Wave 3
Koon, Christopher Robert      126147   8:20cv31428   Morgan & Morgan                              MDL Wave 3
Mclellan, Joseph Edward       126435   8:20cv32985   Morgan & Morgan                              MDL Wave 3
Roberts, Andrew Harrison      126220   8:20cv31437   Morgan & Morgan                              MDL Wave 3
Correa-Charles, Luis          51574    7:20cv95522   Mostyn Law                                   MDL Wave 3
Eakes, Matthew                167918   8:20cv03708   Mostyn Law                                   MDL Wave 3
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                            Wave List Group
Moore, Jay                      51623    7:20cv95777   Mostyn Law                                    MDL Wave 3
Reynolds, Kenneth               126932   7:20cv98085   Mostyn Law                                    MDL Wave 3
Whitty-Sandaker, Kelley         168433   8:20cv02369   Mostyn Law                                    MDL Wave 3
Harmon, Joshua Michael          17910    7:20cv95650   Murphy Law Firm                               MDL Wave 3
Wood, Jessica P.                17817    8:20cv05875   Murphy Law Firm                               MDL Wave 3
Miggins, Donald                 30482    8:20cv33436   OnderLaw, LLC                                 MDL Wave 3
Rodriguez, Joseph Alexander L   30744    7:20cv92955   OnderLaw, LLC                                 MDL Wave 3

Thomas, Othella                 30954    7:20cv93133   OnderLaw, LLC                                 MDL Wave 3
Armstrong, Gregory              159506   7:20cv35239   Parafinczuk Wolf, P.A.                        MDL Wave 3
Miranda, Isaac                  52437    7:20cv05749   Parafinczuk Wolf, P.A.                        MDL Wave 3
White, Benjamin                 168808   7:20cv38532   Parafinczuk Wolf, P.A.                        MDL Wave 3
Arias, Michael Lee              103619   7:20cv68468   Parker Waichman LLP                           MDL Wave 3
Balon, Sherwin                  103661   7:20cv68614   Parker Waichman LLP                           MDL Wave 3
Blackwell, Richard Gene         103763   7:20cv68699   Parker Waichman LLP                           MDL Wave 3
Brewer, Patrick James           103842   7:20cv68973   Parker Waichman LLP                           MDL Wave 3
Danielecki, Jason John          104160   7:20cv68434   Parker Waichman LLP                           MDL Wave 3
Kabachenko, Maksim              104950   3:21cv01526   Parker Waichman LLP                           MDL Wave 3
Somohano, Hubert Lazaro         106031   7:20cv71983   Parker Waichman LLP                           MDL Wave 3
Talbot, Shawn Wayne             106125   7:20cv72267   Parker Waichman LLP                           MDL Wave 3
Woods, Tema                     136066   8:20cv14885   Price Armstrong                               MDL Wave 3
Baker, Stacy                    224273   8:20cv75427   Pulaski Law Firm, PLLC                        MDL Wave 3
Cahill, Ryan                    15257    7:20cv02295   Pulaski Law Firm, PLLC                        MDL Wave 3
Connolly, Chad                  158229   7:20cv65922   Pulaski Law Firm, PLLC                        MDL Wave 3
Duncan, Ricardo                 27755    7:20cv03420   Pulaski Law Firm, PLLC                        MDL Wave 3
Laday, Christopher              15695    7:20cv02678   Pulaski Law Firm, PLLC                        MDL Wave 3
Montes, Jorge R.                200692   8:20cv46844   Pulaski Law Firm, PLLC                        MDL Wave 3
Shrawder, Joshua                158454   7:20cv66075   Pulaski Law Firm, PLLC                        MDL Wave 3
Sierra, Angel                   15634    7:20cv02630   Pulaski Law Firm, PLLC                        MDL Wave 3
Galgano, Godot G.               93872    7:20cv73159   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 3
Gilbert, Richard                93882    3:21cv01527   Rogers, Patrick, Westbrook & Brickman, LLC    MDL Wave 3
Bailey, Alicia N.               13915    8:20cv05249   Searcy Denney Scarola Barnhart and Shipley    MDL Wave 3
Morris, Andrew                  13947    8:20cv06095   Searcy Denney Scarola Barnhart and Shipley    MDL Wave 3
West, Melissa                   13973    8:20cv06135   Searcy Denney Scarola Barnhart and Shipley    MDL Wave 3
Adkins, Michael                 175041   7:20cv39544   Seeger Weiss LLP                              MDL Wave 3
Cabrera, James                  82494    7:20cv17918   Seeger Weiss LLP                              MDL Wave 3
Diaz, Ivan                      210575   8:20cv55900   Seeger Weiss LLP                              MDL Wave 3
Duffy, Orlando                  83217    7:20cv18822   Seeger Weiss LLP                              MDL Wave 3
Ford, Taylor                    263368   9:20cv03365   Seeger Weiss LLP                              MDL Wave 3
Hall, Tony                      254984   8:20cv99312   Seeger Weiss LLP                              MDL Wave 3
Hawkins, Sean                   247750   8:20cv96500   Seeger Weiss LLP                              MDL Wave 3
Jones, John                     247762   8:20cv96522   Seeger Weiss LLP                              MDL Wave 3
Marulanda, William              220315   8:20cv70295   Seeger Weiss LLP                              MDL Wave 3
Washington, Lorenzo             188822   7:20cv96841   Seeger Weiss LLP                              MDL Wave 3
Zamora, Joshua                  210587   8:20cv55911   Seeger Weiss LLP                              MDL Wave 3
Yonts, Clay                     179626   3:20cv05210   Singleton Schreiber, LLP                      MDL Wave 3
Dupree, Vincent Edward          127700   8:20cv18068   Smith, Gildea & Schmidt, LLC                  MDL Wave 3
Acosta, Jessica                  6368    7:20cv43148   Stueve Siegel Hanson                          MDL Wave 3
Franco, Edwin                   156390   8:20cv04151   Sullivan & Brill, LLP                         MDL Wave 3
Guzik, Samantha                 128543   8:20cv18388   The DiLorenzo Law Firm, LLC                   MDL Wave 3
Plant, James                    128175   8:20cv20484   The DiLorenzo Law Firm, LLC                   MDL Wave 3
Walton, Joseph                  128285   8:20cv17403   The DiLorenzo Law Firm, LLC                   MDL Wave 3
Johnston, Matthew Scott         195523   3:19cv04366   The Downs Law Group                           MDL Wave 3
Matthey, Mark Edward            88547    8:20cv04526   The Finley Firm, PC                           MDL Wave 3
O'Neill, Douglas Edmunds        88555    8:20cv04532   The Finley Firm, PC                           MDL Wave 3
Brown, Anthony R.               59263    7:20cv11102   The Gori Law Firm, P.C.                       MDL Wave 3
Brown, John Walter              57449    7:20cv10764   The Gori Law Firm, P.C.                       MDL Wave 3
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Butler, Jamal                 57492    7:20cv10631   The Gori Law Firm, P.C.                      MDL Wave 3
Cole, Charles                 55345    7:20cv05911   The Gori Law Firm, P.C.                      MDL Wave 3
Connor, Joseph D.             169639   7:20cv39396   The Gori Law Firm, P.C.                      MDL Wave 3
Gadsden, Dwayne               56279    7:20cv07237   The Gori Law Firm, P.C.                      MDL Wave 3
James, Zachary                57436    7:20cv10736   The Gori Law Firm, P.C.                      MDL Wave 3
Klein, Jimmy                  58428    7:20cv10094   The Gori Law Firm, P.C.                      MDL Wave 3
Scutt, Erica L                56089    7:20cv06974   The Gori Law Firm, P.C.                      MDL Wave 3
Splattstoesser, Andrew        56945    7:20cv08722   The Gori Law Firm, P.C.                      MDL Wave 3
Springer, Kwesi-Raj           169719   7:20cv39359   The Gori Law Firm, P.C.                      MDL Wave 3
Steep, Eric                   59601    7:20cv08966   The Gori Law Firm, P.C.                      MDL Wave 3
Temple, Geoffery              57218    7:20cv10272   The Gori Law Firm, P.C.                      MDL Wave 3
Weeks, Lasalle                169733   7:20cv39367   The Gori Law Firm, P.C.                      MDL Wave 3
Whilby, Raymond               57968    7:20cv09199   The Gori Law Firm, P.C.                      MDL Wave 3
Wisener Pierce, Amanda G.     57271    7:20cv10308   The Gori Law Firm, P.C.                      MDL Wave 3
Brown, Michael                 3392    3:19cv01698   The Hirsch Law Firm                          MDL Wave 3
Brewer, Joshua T.             93509    7:20cv94731   The Kuykendall Group LLc                     MDL Wave 3
Garcia, Nelson                14922    7:20cv94377   The Kuykendall Group LLc                     MDL Wave 3
Morales, Marco                14950    7:20cv94439   The Kuykendall Group LLc                     MDL Wave 3
Moustafhim, Kamal             59933    8:20cv33619   The Law Office of L. Paul Mankin             MDL Wave 3
Davis, Winsceler              146022   8:20cv39044   The Murray Law Firm                          MDL Wave 3
Coby, Jose                    14581    8:20cv19223   The Simon Law Firm, P.C.                     MDL Wave 3
Sanders, Gary                 49510    7:20cv96392   The Spencer Law Firm                         MDL Wave 3
Goulart, Jerimy               136247   3:19cv01738   Thomas J. Henry                              MDL Wave 3
Rivera, Carlos                151598   7:20cv00166   Thomas J. Henry                              MDL Wave 3
Vaillancourt, Eugene           4976    7:20cv00384   Thornton Law Firm                            MDL Wave 3
Lee, Billy Joel               116355   8:20cv11318   Tomasik Kotin Kasserman, LLC                 MDL Wave 3
Besson, Joshua                19665    7:20cv84928   Tracey & Fox Law Firm                        MDL Wave 3
Corey, Stephen A.             20470    7:20cv89098   Tracey & Fox Law Firm                        MDL Wave 3
Cross, Kirt L.                20566    7:20cv89394   Tracey & Fox Law Firm                        MDL Wave 3
Davis, Paul J.                20685    7:20cv89630   Tracey & Fox Law Firm                        MDL Wave 3
Dixon, Marcell                170884   8:20cv04734   Tracey & Fox Law Firm                        MDL Wave 3
Fordham, Daniel Andrew        21253    7:20cv93311   Tracey & Fox Law Firm                        MDL Wave 3
Johnson, Adam                 170944   8:20cv05156   Tracey & Fox Law Firm                        MDL Wave 3
Madison, Patrick S.           23041    7:20cv89580   Tracey & Fox Law Firm                        MDL Wave 3
Taffoya, Christopher G.       25426    7:20cv92335   Tracey & Fox Law Firm                        MDL Wave 3
Wiles, Michael                26049    7:20cv97415   Tracey & Fox Law Firm                        MDL Wave 3
Beamon, Terrance              140758   3:20cv00865   Watts Guerra                                 MDL Wave 3
Bennett, Giovanni             140953   3:20cv01446   Watts Guerra                                 MDL Wave 3
Dixon, Timothy                141290   3:19cv04165   Watts Guerra                                 MDL Wave 3
Dufault, William              70984    8:20cv23665   Watts Guerra                                 MDL Wave 3
Fluhrer, Neal                 143427   3:20cv00247   Watts Guerra                                 MDL Wave 3
Leyva, Pete                   141353   3:20cv02046   Watts Guerra                                 MDL Wave 3
Martin, Casey                 73145    8:20cv23846   Watts Guerra                                 MDL Wave 3
Perry, Michael                142586   3:20cv00638   Watts Guerra                                 MDL Wave 3
Rhodes, Tyron                 74364    8:20cv25814   Watts Guerra                                 MDL Wave 3
Salter, Richard               74650    8:20cv24837   Watts Guerra                                 MDL Wave 3
Stafford, William             75132    8:20cv26890   Watts Guerra                                 MDL Wave 3
Tamez, Alexander              75351    8:20cv27860   Watts Guerra                                 MDL Wave 3
Turner, Christopher           75552    8:20cv28250   Watts Guerra                                 MDL Wave 3
Akira, Liella                 120546   7:20cv27535   Weitz & Luxenberg                            MDL Wave 3
Angel, Shadrika K.            119211   7:20cv26795   Weitz & Luxenberg                            MDL Wave 3
Becker, Evan A.               120838   7:20cv27841   Weitz & Luxenberg                            MDL Wave 3
Bishop, Charles               87816    7:20cv18127   Weitz & Luxenberg                            MDL Wave 3
Buniger, Allen E.             119515   7:21cv43451   Weitz & Luxenberg                            MDL Wave 3
Cooke, David Alan             119087   7:20cv26515   Weitz & Luxenberg                            MDL Wave 3
Eastman, Ross                 87730    7:20cv17896   Weitz & Luxenberg                            MDL Wave 3
Enyart, Lacey C.              119193   7:20cv26684   Weitz & Luxenberg                            MDL Wave 3
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Plaintiff Name                  PID       Case No.    Plaintiff Counsel                                   Wave List Group
Faulkner, John                 119533   7:21cv43470   Weitz & Luxenberg                                    MDL Wave 3
Floyd, Michael B.              121184   7:20cv28193   Weitz & Luxenberg                                    MDL Wave 3
Horton, Keith T.               120065   7:20cv26348   Weitz & Luxenberg                                    MDL Wave 3
Martin, Alfred Gillium         119447   7:21cv43855   Weitz & Luxenberg                                    MDL Wave 3
Mcbride, Joseph                119094   7:20cv26522   Weitz & Luxenberg                                    MDL Wave 3
Meekins, Andrew Thomas         120015   7:20cv25077   Weitz & Luxenberg                                    MDL Wave 3
Powell, Ryan Marcus            119764   7:20cv24192   Weitz & Luxenberg                                    MDL Wave 3
Rennicks, Nathaniel W.         120292   7:20cv27126   Weitz & Luxenberg                                    MDL Wave 3
Stone, Michael                 118840   7:20cv25051   Weitz & Luxenberg                                    MDL Wave 3
Tuttle, Gerald                 88294    7:20cv20031   Weitz & Luxenberg                                    MDL Wave 3
Wangerin, Shawn A.             87836    7:20cv18218   Weitz & Luxenberg                                    MDL Wave 3
Weir, Debra                    119804   7:20cv24230   Weitz & Luxenberg                                    MDL Wave 3
Yerby, Nicholas Paul           119796   7:20cv24222   Weitz & Luxenberg                                    MDL Wave 3
Eddington, David W.            136597   7:20cv44468   Weller, Green, Toups & Terrell, LLP                  MDL Wave 3
Floyd, Jude E                  139174   8:20cv14917   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Hulslander, Clinton            139166   8:20cv14909   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Rendon, Erwin                  139140   8:20cv09824   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Taschetti, Jamie               139130   8:20cv09815   Wells & Associates, PLLC; Williams McDaniel PLLC     MDL Wave 3

Ferreira, James Phillip        218693   8:20cv76916   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Gutierrez Reyes, Luis A.       162092   7:20cv00005   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Hoxie, Larry Gilbert           218675   8:20cv76898   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Pavesi, Christian F.           147961   8:20cv41494   Abraham, Watkins, Nichols, Sorrels, Agosto & Aziz    MDL Wave 4
Anest, Stephen Michael         60253    7:20cv09523   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Beggrow, Brian                 283999   7:21cv06920   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Blackmon, Toby                 339932   7:21cv59265   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Brown, Christopher             318873   7:21cv36075   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Cherry, James M.               61018    7:20cv13127   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Coleman, Lamar                 231427   8:20cv79549   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Eldridge, Cecil R.             61601    7:20cv15466   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Elkhouddari, Reda              61606    7:20cv15473   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Fletcher, Nathaniel Blake      61780    7:20cv11222   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Gallagher, Mark                281292   7:21cv04638   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Greenwood, Denise              98871    7:20cv24743   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Grevely, Daniel S.             62120    7:20cv11699   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Gumz, Eric James               339249   7:21cv58569   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Haskins, Jacob                 339134   3:22cv05537   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Hunter, Robert                 50089    8:20cv09585   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Jordan, Robert A.              242981   8:20cv97929   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Knoell, Michael                339357   7:21cv58690   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Lewis, Quintin Dejuan          63203    7:20cv17446   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Munson, Jeremy                 281972   7:21cv03938   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Vereen, Frank                  65496    7:20cv15513   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Walnofer, Eric                 65564    7:20cv15651   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Williams, Tela                 253806   8:20cv96101   Aylstock, Witkin, Kreis & Overholtz, PLLC            MDL Wave 4
Ford, Byron                    164283   7:20cv88464   Bailey & Glasser                                     MDL Wave 4
Smith, Harry William            3542    7:20cv42492   Bailey & Glasser                                     MDL Wave 4
Filomeno, Jonathan             312067   7:21cv29530   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Jones, Jeremiah                314176   7:21cv32385   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Lima, Candice                  229023   8:20cv75664   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Miller, Thomas                 256904   9:20cv00440   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Stolz, Kyle                    315214   7:21cv33871   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Strader, Adam                  66653    7:20cv49076   Bailey Cowan Heckaman PLLC                           MDL Wave 4
Strange, Charles               186429   7:20cv91025   Beasley Allen                                        MDL Wave 4
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Mingo, Gregory                16555    7:20cv87959   Beggs & Lane                                 MDL Wave 4
Bercegeay, Linden Joseph      67227    8:20cv13375   Bernstein Liebhard LLP                       MDL Wave 4
Hammell, Gregory L.           67292    8:20cv13643   Bernstein Liebhard LLP                       MDL Wave 4
Peterson, Benjamin David      67319    8:20cv13740   Bernstein Liebhard LLP                       MDL Wave 4
Colvin, Carlton               101845   7:20cv45433   Bertram & Graf, L.L.C.                       MDL Wave 4
Goodwin, William P.           331881   7:21cv49650   Bertram & Graf, L.L.C.                       MDL Wave 4
Reyes-Hernandez, Adan         256954   9:20cv05277   Bighorn Law                                  MDL Wave 4
Abraham
Figueroa, Heriberto            1341    7:20cv42123   Blasingame, Burch, Garrard & Ashley, P.C.    MDL Wave 4
Hansberry, April              168825   7:20cv00018   Blasingame, Burch, Garrard & Ashley, P.C.    MDL Wave 4
Muniz, Justin                 303058   7:21cv23077   Blasingame, Burch, Garrard & Ashley, P.C.    MDL Wave 4
Ort, Shane A.                 254018   8:20cv97278   Bossier & Associates, PLLC                   MDL Wave 4
Barbee, Tiger                 290562   7:21cv12688   Brent Coon & Associates                      MDL Wave 4
Discenza, Michael             362438   3:22cv10651   Brent Coon & Associates                      MDL Wave 4
Fleming, James                68410    7:20cv71758   Brent Coon & Associates                      MDL Wave 4
Johnson, Jeff                 323994   7:21cv48723   Brent Coon & Associates                      MDL Wave 4
Julian, Michael               303934   7:21cv21557   Brent Coon & Associates                      MDL Wave 4
Macon, David                  290482   7:21cv12609   Brent Coon & Associates                      MDL Wave 4
Otero, Edgardo                293283   7:21cv12932   Brent Coon & Associates                      MDL Wave 4
Watson, Matthew               328708   7:21cv48822   Brent Coon & Associates                      MDL Wave 4
Winchester, Christopher       68198    7:20cv71415   Brent Coon & Associates                      MDL Wave 4
Eakle, Stephen James          303911   7:21cv21542   Bryant Law Center                            MDL Wave 4
Ansin, Roger                  234106   8:20cv83170   Carey Danis & Lowe                           MDL Wave 4
Grant, Jermaine               344203   7:21cv63108   Carey Danis & Lowe                           MDL Wave 4
Donavan, Jonathan             106640   8:20cv30242   Chaffin Luhana LLP                           MDL Wave 4
Chastain, Joshua              174614   7:20cv80225   Charles E. Boyk Law Offices, LLC             MDL Wave 4
Terry, Matthew John           170052   7:20cv88837   Charles E. Boyk Law Offices, LLC             MDL Wave 4
Barnes, Benjamin              343927   7:21cv68611   Clark, Love & Hutson PLLC                    MDL Wave 4
Burns, Michael                308856   7:21cv27116   Clark, Love & Hutson PLLC                    MDL Wave 4
Chambers, Slayton             308889   7:21cv27149   Clark, Love & Hutson PLLC                    MDL Wave 4
Creech, Dorsey                264315   9:20cv08254   Clark, Love & Hutson PLLC                    MDL Wave 4
Delossantos, Daniel           88909    7:20cv19797   Clark, Love & Hutson PLLC                    MDL Wave 4
Hart, Patrick                 42989    3:19cv00622   Clark, Love & Hutson PLLC                    MDL Wave 4
Herrington, Kenneth           43015    3:19cv04339   Clark, Love & Hutson PLLC                    MDL Wave 4
Jackson, Nicholas             330563   7:21cv47483   Clark, Love & Hutson PLLC                    MDL Wave 4
Lozada, Jose                  177270   8:20cv36272   Clark, Love & Hutson PLLC                    MDL Wave 4
Marcus, Yshua                 264785   9:20cv09048   Clark, Love & Hutson PLLC                    MDL Wave 4
Oerding, Amie                 288070   7:21cv09229   Clark, Love & Hutson PLLC                    MDL Wave 4
Orduno, Cesar                 309361   7:21cv27845   Clark, Love & Hutson PLLC                    MDL Wave 4
Ramirezalicano, Giovanni      252651   9:20cv10109   Clark, Love & Hutson PLLC                    MDL Wave 4
Rose, Daniel                  330826   7:21cv47745   Clark, Love & Hutson PLLC                    MDL Wave 4
Ruggiero, Marc                90119    7:20cv22293   Clark, Love & Hutson PLLC                    MDL Wave 4
Sands, Sofia                  299185   7:21cv20478   Clark, Love & Hutson PLLC                    MDL Wave 4
Southard, Christopher         106864   7:20cv26134   Clark, Love & Hutson PLLC                    MDL Wave 4
Spencer, Matthew              252767   9:20cv10225   Clark, Love & Hutson PLLC                    MDL Wave 4
Sutphin, Matthew David        177387   8:20cv36551   Clark, Love & Hutson PLLC                    MDL Wave 4
Thomas, Ryan                  265215   9:20cv09774   Clark, Love & Hutson PLLC                    MDL Wave 4
Watson, Eugene                195000   8:20cv39429   Clark, Love & Hutson PLLC                    MDL Wave 4
Andrews, Morris G.            60059    7:20cv09293   Colson Hicks Eidson                          MDL Wave 4
Davis, Donald                 10252    7:20cv47610   Cory Watson                                  MDL Wave 4
Larkin, Carter Robert         222590   8:20cv74561   Cory Watson                                  MDL Wave 4
Maxey, Eudean                 222528   8:20cv74408   Cory Watson                                  MDL Wave 4
Nanney, Christopher           233696   8:20cv81092   Cory Watson                                  MDL Wave 4
Pilate, Marcel                222408   8:20cv74033   Cory Watson                                  MDL Wave 4
Quiles Torres, Axel Rolando   366533   3:22cv16938   Cory Watson                                  MDL Wave 4
Smith, Steven                 233491   8:20cv80575   Cory Watson                                  MDL Wave 4
Zuraff, Jeremiah              233703   8:20cv81104   Cory Watson                                  MDL Wave 4
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Plaintiff Name                   PID       Case No.    Plaintiff Counsel                                 Wave List Group
Davenport, Justin               69113    7:20cv81398   Coxwell & Associates PLLC.; Maggio Thompson LLP    MDL Wave 4

Kingcade, Scotty                69209    7:20cv82026   Coxwell & Associates PLLC.; Maggio Thompson LLP    MDL Wave 4

Belk, Kyle                      107643   7:20cv76332   Douglas & London                                   MDL Wave 4
Bish, Joseph                    107753   7:20cv76518   Douglas & London                                   MDL Wave 4
Bollinger, Mikel                107833   7:20cv72029   Douglas & London                                   MDL Wave 4
Campbell, Michael               108242   7:20cv72669   Douglas & London                                   MDL Wave 4
Candela, Mario                  108253   7:20cv72802   Douglas & London                                   MDL Wave 4
Cleveland, Broderick            108520   7:20cv73651   Douglas & London                                   MDL Wave 4
Cook, Samuel                    108639   7:20cv73100   Douglas & London                                   MDL Wave 4
Craig, Peter                    108747   7:20cv73310   Douglas & London                                   MDL Wave 4
Davis, Kelly                    108961   7:20cv76849   Douglas & London                                   MDL Wave 4
Gonzalez, Alejandro             109962   7:20cv73749   Douglas & London                                   MDL Wave 4
Hawkins, Jonathan               110395   7:20cv74592   Douglas & London                                   MDL Wave 4
Jayne, Jeffrey                  110906   7:20cv75430   Douglas & London                                   MDL Wave 4
Mickelson, Levi                 112329   7:20cv77339   Douglas & London                                   MDL Wave 4
Middleton, Christopher          112330   7:20cv77341   Douglas & London                                   MDL Wave 4
Munoz, Robert                   112623   7:20cv78401   Douglas & London                                   MDL Wave 4
Oakes, Daniel                   112821   3:19cv03325   Douglas & London                                   MDL Wave 4
Poss, Phillip                   113266   7:20cv77696   Douglas & London                                   MDL Wave 4
Reyes, David                    113554   7:20cv78863   Douglas & London                                   MDL Wave 4
Ritenour, Adam                  113638   7:20cv79221   Douglas & London                                   MDL Wave 4
Roundy, Matthew                 113840   7:20cv80330   Douglas & London                                   MDL Wave 4
Skaggs, Daniel                  114275   7:20cv79075   Douglas & London                                   MDL Wave 4
Smith, Justin                   114369   7:20cv79441   Douglas & London                                   MDL Wave 4
Smither, Joseph                 114384   7:20cv78978   Douglas & London                                   MDL Wave 4
Thrasher, Trevor                114846   7:20cv80917   Douglas & London                                   MDL Wave 4
Wolke, Curt                     115590   7:20cv82779   Douglas & London                                   MDL Wave 4
Wynn, Kari                      115664   7:20cv82915   Douglas & London                                   MDL Wave 4
Crenshaw, Marc                  152626   8:20cv11500   Doyle LLP; The Urquhart Law Firm, PLLC             MDL Wave 4
Garza, Aldo                     152649   8:20cv11567   Doyle LLP; The Urquhart Law Firm, PLLC             MDL Wave 4
Rollins, William                152631   8:20cv11515   Doyle LLP; The Urquhart Law Firm, PLLC             MDL Wave 4
Small, John                     237897   3:20cv01064   Eckland & Blando LLP                               MDL Wave 4
Reyes, Christopher              76906    7:20cv49559   Fears Nachawati                                    MDL Wave 4
Lee, Mark                       277239   7:21cv02278   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Lewis, Carlos                   76580    8:20cv14852   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Rauls, David                    300972   7:21cv21834   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Rinaldi, Dominic                76700    8:20cv10244   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Shaheen, Michael                76735    8:20cv10335   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Whye, Benjamin                  300996   7:21cv21858   FLEMING, NOLEN & JEZ, L.L.P                        MDL Wave 4
Klemm, Nicholas                 332642   7:21cv48469   Forman Law Offices                                 MDL Wave 4
Cruz, Pedro                     139694   7:20cv63910   Goza & Honnold, LLC                                MDL Wave 4
Ottenbacher, Brock              139977   7:20cv64107   Goza & Honnold, LLC                                MDL Wave 4
Cuevas, Jeremiah                350686   3:21cv01183   Grant & Eisenhofer                                 MDL Wave 4
Keith, Jeffrey                  170519   7:20cv41335   Grant & Eisenhofer                                 MDL Wave 4
Macias, Francisco               170563   7:20cv00092   Grant & Eisenhofer                                 MDL Wave 4
Debrow, Ebony                   329708   7:21cv43342   Green & Schafle LLC                                MDL Wave 4
Jones, Jonathan P.              319820   7:21cv30040   Hair Shunnarah Trial Attorneys                     MDL Wave 4
Trotman, Selwyn A.              270250   9:20cv11077   Hair Shunnarah Trial Attorneys                     MDL Wave 4
Flanigan, Charles               310571   7:21cv41620   Heninger Garrison Davis, LLC                       MDL Wave 4
Mejia Meran, Emilio             201283   8:20cv54917   Heninger Garrison Davis, LLC                       MDL Wave 4
Ruckdeschel, Robert             357727   3:22cv02686   Heninger Garrison Davis, LLC                       MDL Wave 4
Moyers, Dannie                  10494    7:20cv83857   Hensley Legal Group, PC                            MDL Wave 4
Mcanulty, Dustin                81027    7:20cv85405   Holland Law Firm                                   MDL Wave 4
Owens, Jason M.                 80844    7:20cv84634   Holland Law Firm                                   MDL Wave 4
Polk, Darrell                   81055    7:20cv85508   Holland Law Firm                                   MDL Wave 4
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Stange, Barry K.              80927    7:20cv84969   Holland Law Firm                             MDL Wave 4
Marek, Gregory                31311    8:20cv19841   Huber, Slack, Thomas & Marcelle, LLP         MDL Wave 4
Mcfann, Christopher           31320    8:20cv19868   Huber, Slack, Thomas & Marcelle, LLP         MDL Wave 4
South, Brent                  31393    8:20cv20062   Huber, Slack, Thomas & Marcelle, LLP         MDL Wave 4
Williams, Terry               31428    8:20cv20161   Huber, Slack, Thomas & Marcelle, LLP         MDL Wave 4
Jansen, Ronald                116310   7:20cv48050   Joel Bieber Firm                             MDL Wave 4
Chapman, Jeffrey              176863   8:20cv26640   Johnson Becker                               MDL Wave 4
Gardner, Kevin Alandell       138969   3:19cv04262   Johnson Becker                               MDL Wave 4
Simonson, Raymond G.          16813    7:20cv43854   Johnson Becker                               MDL Wave 4
Thomas, Jason                 199050   3:21cv01812   Johnson Becker                               MDL Wave 4
Abney, Avianna                194448   8:20cv40346   Junell & Associates, PLLC                    MDL Wave 4
Allen, Christopher            129659   7:20cv52558   Junell & Associates, PLLC                    MDL Wave 4
Benge, Dustin                 129990   7:20cv51917   Junell & Associates, PLLC                    MDL Wave 4
Bennett, Won                  129999   7:20cv51964   Junell & Associates, PLLC                    MDL Wave 4
Bovain, James                 130146   7:20cv52654   Junell & Associates, PLLC                    MDL Wave 4
Espinosa, Gerardo G.          131241   7:20cv55407   Junell & Associates, PLLC                    MDL Wave 4
Gaston, Levi                  131563   7:20cv54329   Junell & Associates, PLLC                    MDL Wave 4
Hall, Christopher             131861   7:20cv56693   Junell & Associates, PLLC                    MDL Wave 4
Liberty, Robin                132843   7:20cv58043   Junell & Associates, PLLC                    MDL Wave 4
Martinez, Christian           133098   7:20cv58834   Junell & Associates, PLLC                    MDL Wave 4
Mason, Charles                133102   7:20cv58848   Junell & Associates, PLLC                    MDL Wave 4
Mcneal, Riley                 133248   7:20cv59255   Junell & Associates, PLLC                    MDL Wave 4
Meneses, Franklin             133298   7:20cv59402   Junell & Associates, PLLC                    MDL Wave 4
Naranjo, Jesus                133589   7:20cv58393   Junell & Associates, PLLC                    MDL Wave 4
Proctor, Wendell              134055   7:20cv61315   Junell & Associates, PLLC                    MDL Wave 4
Quinn, Jonathan               134088   7:20cv61406   Junell & Associates, PLLC                    MDL Wave 4
Rivera, Domiciano             134275   7:20cv62325   Junell & Associates, PLLC                    MDL Wave 4
Toledo, Chad                  135209   7:20cv62919   Junell & Associates, PLLC                    MDL Wave 4
Tracy, Dillan                 135238   7:20cv63007   Junell & Associates, PLLC                    MDL Wave 4
Walton, Terence               135465   7:20cv61775   Junell & Associates, PLLC                    MDL Wave 4
Williams, Derek               157265   7:20cv65736   Junell & Associates, PLLC                    MDL Wave 4
Schwery, James M.             84720    8:20cv34177   Justinian & Associates PLLC                  MDL Wave 4
Wingo, Stephen T.              3209    8:20cv33257   Justinian & Associates PLLC                  MDL Wave 4
Charlton, Jeffrey Justin      323598   7:21cv38727   Keller Postman                               MDL Wave 4
De La Torre, Arturo           269908   9:20cv10836   Keller Postman                               MDL Wave 4
Frankenstein, Shyan           44252    3:22cv07294   Keller Postman                               MDL Wave 4
Lecompte, Randy C.            66039    8:20cv21880   Keller Postman                               MDL Wave 4
Lopez, Pedro                  138271   8:20cv48825   Keller Postman                               MDL Wave 4
Mathis, Steven                138581   8:20cv37472   Keller Postman                               MDL Wave 4
Nickels, Christopher B.       261368   9:20cv03185   Keller Postman                               MDL Wave 4
Reddick, Selicia N.           236646   8:20cv88620   Keller Postman                               MDL Wave 4
Smith, Bennie                 46399    7:20cv70649   Keller Postman                               MDL Wave 4
Thompson, Cody W.             262063   9:20cv04585   Keller Postman                               MDL Wave 4
Wilcox, Frederic              242906   8:20cv85997   Keller Postman                               MDL Wave 4
Kirk, Ashley                  303115   7:21cv23505   Kelley & Ferraro LLP                         MDL Wave 4
Sallee, Gregory A.            50551    7:20cv65254   Kirkendall Dwyer LLP                         MDL Wave 4
Teague, Kristopher            242283   8:20cv90444   Kirkendall Dwyer LLP                         MDL Wave 4
Lewis, Waylon                 243389   8:20cv90543   Kirtland & Packard LLP                       MDL Wave 4
Gutierrez, Andrew             270086   9:20cv17823   Laminack Pirtle & Martines                   MDL Wave 4
Otero, Anthony                216219   8:20cv72450   Laminack Pirtle & Martines                   MDL Wave 4
Wicklander, Arthur            323418   7:21cv48532   Laminack Pirtle & Martines                   MDL Wave 4
Thompson, Anthony             10711    7:20cv04005   Law Offices of James Scott Farrin            MDL Wave 4
Oliver, Brian K.               8552    7:20cv47792   Law Offices of Peter G. Angelos, P.C.        MDL Wave 4
Tolbert, Ashley M.            186144   8:20cv10479   Levin Papantonio Rafferty                    MDL Wave 4
Easter, Jason                 77581    7:20cv49117   Lieff Cabraser Heimann & Bernstein, LLP      MDL Wave 4
Brackins, Ronald P.            4984    7:20cv88029   Luff Law Firm PLLC; Waters Kraus             MDL Wave 4
De La Maza, Francisco J.      139557   8:20cv16224   Matthews & Associates                        MDL Wave 4
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Fleming, Jason James          139614   8:20cv15020   Matthews & Associates                        MDL Wave 4
Garlow, Rayburn James         139640   3:22cv06667   Matthews & Associates                        MDL Wave 4
Hammond, Stanley Joseph       199171   8:20cv63603   Matthews & Associates                        MDL Wave 4
Hatcher, Anthony Dwain        173565   8:20cv15285   Matthews & Associates                        MDL Wave 4
Zillmer, Terry Lee            199750   8:20cv61337   Matthews & Associates                        MDL Wave 4
Shandi, Alaa                  87622    3:22cv06563   McCune Wright Arevalo                        MDL Wave 4
Jones, Phillip                305247   7:21cv24455   McDonald Worley                              MDL Wave 4
Ortiz, Kenneth                11812    7:20cv01276   McDonald Worley                              MDL Wave 4
Hood, Jonathan W.             103528   7:20cv26958   McIntyre Thanasides                          MDL Wave 4
Stewart, Neisha               285634   7:21cv08562   Milstein Jackson Fairchild & Wade, LLP       MDL Wave 4
Schell, Robert J.             285642   3:21cv00108   Moll Law Group                               MDL Wave 4
Alexander, Beaurn             324727   7:21cv39555   Monsour Law Firm                             MDL Wave 4
Brown, Michael                223969   8:20cv67888   Monsour Law Firm                             MDL Wave 4
Knigge, Shane                 262970   9:20cv07786   Monsour Law Firm                             MDL Wave 4
Porter, Samuel                258215   9:20cv00947   Monsour Law Firm                             MDL Wave 4
Swafford, Brian               269586   9:20cv12488   Monsour Law Firm                             MDL Wave 4
Talbott, Jacob                247447   8:20cv92881   Monsour Law Firm                             MDL Wave 4
Williams, Oshun               238258   8:20cv85137   Monsour Law Firm                             MDL Wave 4
Baldwin, Jason                288364   7:21cv09950   Morgan & Morgan                              MDL Wave 4
Barber, James Derek           238273   8:20cv86182   Morgan & Morgan                              MDL Wave 4
Cameron, William Edward       356943   3:22cv02004   Morgan & Morgan                              MDL Wave 4
Fernandez, Sean Paul          191123   8:20cv28674   Morgan & Morgan                              MDL Wave 4
Lamourt Tiru, Natanael        317123   7:21cv34217   Morgan & Morgan                              MDL Wave 4
Monteiro, Pablo               326978   7:21cv50048   Morgan & Morgan                              MDL Wave 4
Valentin, Edgardo             199921   8:20cv46326   Morgan & Morgan                              MDL Wave 4
Pangan, Brice                 129403   8:20cv35812   Morris Bart, LLC                             MDL Wave 4
Bolivar, Ivan                 52137    7:20cv86873   Mostyn Law                                   MDL Wave 4
Hughes, Lisa                  51787    7:20cv86411   Mostyn Law                                   MDL Wave 4
Lawson, Chris                 51614    7:20cv95721   Mostyn Law                                   MDL Wave 4
Nobles, Shaquilla             326625   7:21cv51884   Mostyn Law                                   MDL Wave 4
Adams, Cody Zane Mitchell     18133    7:20cv83052   Murphy Law Firm                              MDL Wave 4
Fluitt, Herman                18127    7:20cv83043   Murphy Law Firm                              MDL Wave 4
Jackson, Robert Paul          182283   8:20cv36579   Murphy Law Firm                              MDL Wave 4
Macias, Ivan                  18112    7:20cv95923   Murphy Law Firm                              MDL Wave 4
Wilburn, Michael David        17185    7:20cv99252   Murphy Law Firm                              MDL Wave 4
Williams, Cody Lynn           17603    7:20cv99560   Murphy Law Firm                              MDL Wave 4
Chandler, Steven James        306059   7:21cv25625   Nabers Law Firm, PLLC                        MDL Wave 4
Hayden, Steven                243978   8:20cv89460   Nabers Law Firm, PLLC                        MDL Wave 4
Herbert, Cameron D.           318199   7:21cv35116   Nabers Law Firm, PLLC                        MDL Wave 4
Lairmore, Terrance Richard    322752   7:21cv42987   Nabers Law Firm, PLLC                        MDL Wave 4
Lopez, Franz                  304612   7:21cv25518   Nabers Law Firm, PLLC                        MDL Wave 4
Mcclain, Daumonic Dean        297548   7:21cv15173   Nabers Law Firm, PLLC                        MDL Wave 4
Monterrosa, Jorge             297622   7:21cv15315   Nabers Law Firm, PLLC                        MDL Wave 4
Shadley, Jason                322995   7:21cv43664   Nabers Law Firm, PLLC                        MDL Wave 4
Sykes, Ron                    298204   7:21cv16136   Nabers Law Firm, PLLC                        MDL Wave 4
Unger, William R.             280305   7:21cv02808   Nabers Law Firm, PLLC                        MDL Wave 4
Marshall, Paul                213255   8:20cv86543   Nabors Law Firm                              MDL Wave 4
Usher, Jessica                194354   8:20cv40185   Napoli Shkolnik PLLC                         MDL Wave 4
Anderson, Jeffrey             29529    7:20cv42279   OnderLaw, LLC                                MDL Wave 4
Evans, Jimmie                 29924    8:20cv31865   OnderLaw, LLC                                MDL Wave 4
Hernandez, Faustino Efrain    280091   7:21cv02597   OnderLaw, LLC                                MDL Wave 4
Panella, Trey                 160124   8:20cv54021   OnderLaw, LLC                                MDL Wave 4
Rivera, Victor                280103   7:21cv02609   OnderLaw, LLC                                MDL Wave 4
Vining, Ian                   31022    8:20cv33347   OnderLaw, LLC                                MDL Wave 4
Yingling, Landon              31127    7:20cv93277   OnderLaw, LLC                                MDL Wave 4
Harper, Joshua                350563   3:21cv01372   Parafinczuk Wolf, P.A.                       MDL Wave 4
Arias, Frank                  103618   7:20cv68464   Parker Waichman LLP                          MDL Wave 4
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Exhibit 7 to the MSA

Plaintiff Name                   PID       Case No.    Plaintiff Counsel                             Wave List Group
Burnette, Cary James            103911   7:20cv69230   Parker Waichman LLP                            MDL Wave 4
Caldwell, Luther Eugene         103935   7:20cv69290   Parker Waichman LLP                            MDL Wave 4
Cerino, Hephzibah Gladys        103996   7:20cv69416   Parker Waichman LLP                            MDL Wave 4
Duncan, Emmanuel Thomas         104285   7:20cv69620   Parker Waichman LLP                            MDL Wave 4
Figueroa-Ortiz, Pablo Antonio   104391   7:20cv69930   Parker Waichman LLP                            MDL Wave 4
Holland, Derrick Matthew        104796   7:20cv75100   Parker Waichman LLP                            MDL Wave 4
Jones, Brandon Dale             104925   7:20cv76758   Parker Waichman LLP                            MDL Wave 4
Kessel, Brett Richard           104981   7:20cv77018   Parker Waichman LLP                            MDL Wave 4
Stariha, Rodney Joseph          106062   7:20cv72038   Parker Waichman LLP                            MDL Wave 4
White, Jeffery Lynn             106387   7:20cv73796   Parker Waichman LLP                            MDL Wave 4
Baker, Scott                    194382   3:19cv00899   Paul LLP                                       MDL Wave 4
Baker, Timothy                  161502   8:20cv15153   Paul LLP                                       MDL Wave 4
Ocon, Walter                    52729    7:20cv67539   Peterson & Associates, P.C.                    MDL Wave 4
Auld, Donavin                   27245    7:20cv02922   Pulaski Law Firm, PLLC                         MDL Wave 4
Biggs, Jason                    158781   7:20cv66484   Pulaski Law Firm, PLLC                         MDL Wave 4
Clark, Shawn                    158364   8:20cv43669   Pulaski Law Firm, PLLC                         MDL Wave 4
Clifford, Kenneth               18735    7:20cv04468   Pulaski Law Firm, PLLC                         MDL Wave 4
Cromartie, Lyndol               19103    7:20cv08538   Pulaski Law Firm, PLLC                         MDL Wave 4
Dellinger, Travis               18745    7:20cv04480   Pulaski Law Firm, PLLC                         MDL Wave 4
Fuston, Paul                    191673   8:20cv39244   Pulaski Law Firm, PLLC                         MDL Wave 4
Johnson, James A.               18773    7:20cv04498   Pulaski Law Firm, PLLC                         MDL Wave 4
Jones, Daniel                   26336    7:20cv14970   Pulaski Law Firm, PLLC                         MDL Wave 4
Mize, Kevin                     28225    7:20cv03832   Pulaski Law Firm, PLLC                         MDL Wave 4
Pulliam, Chris                  28742    7:20cv05655   Pulaski Law Firm, PLLC                         MDL Wave 4
Rooks, Aaron                    216760   8:20cv65029   Pulaski Law Firm, PLLC                         MDL Wave 4
Self, Todd                      266600   9:20cv06574   Pulaski Law Firm, PLLC                         MDL Wave 4
Tennessen, James                15879    7:20cv04050   Pulaski Law Firm, PLLC                         MDL Wave 4
Velasco, Francisco              158887   7:20cv66618   Pulaski Law Firm, PLLC                         MDL Wave 4
Worker, Joseph                  26662    7:21cv68261   Pulaski Law Firm, PLLC                         MDL Wave 4
Fish, Thomas Howard             276091   7:21cv00007   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Ramsey, Lavedris Jerome         367915   3:22cv12188   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Rogers, Christopher Ryan        370546   3:22cv15251   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Sims, Mason Paul                368901   3:22cv14220   Quinn Emanuel Urquhart & Sullivan LLP          MDL Wave 4
Castello, Gary                   5644    7:20cv01097   Reich and Binstock, LLP                        MDL Wave 4
Gaskins, Andrew                  5762    3:19cv02015   Reich and Binstock, LLP                        MDL Wave 4
Sylvester, Dashmond              6171    7:20cv03221   Reich and Binstock, LLP                        MDL Wave 4
Christian, Thomas               92304    7:20cv56211   Robinson Calcagnie, Inc.                       MDL Wave 4
Dix, Adam                       207610   8:20cv51809   Robinson Calcagnie, Inc.                       MDL Wave 4
Godfrey, Thomas                 92593    7:20cv56857   Robinson Calcagnie, Inc.                       MDL Wave 4
Skinner, Steven T.              94224    7:20cv75739   Rogers, Patrick, Westbrook & Brickman, LLC     MDL Wave 4
Clarke, Shawn A.                276376   9:20cv20241   Rosen Injury Lawyers                           MDL Wave 4
Isom, Brian                     18356    7:20cv44842   Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    MDL Wave 4
Redd, Robert                    350593   3:21cv01323   Saltz, Mongeluzzi, Barrett & Bendesky, P.C.    MDL Wave 4
Carmack, Rachel                 13965    8:20cv06123   Searcy Denney Scarola Barnhart and Shipley     MDL Wave 4
Martinez, Ceasar L.             13985    8:20cv05297   Searcy Denney Scarola Barnhart and Shipley     MDL Wave 4
Bernard, Sarah                  220395   8:20cv70450   Seeger Weiss LLP                               MDL Wave 4
Case, Colt                      202420   8:20cv44807   Seeger Weiss LLP                               MDL Wave 4
Cooper, Paul William            301751   7:21cv22423   Seeger Weiss LLP                               MDL Wave 4
Davis, Ryan                     301719   7:21cv22391   Seeger Weiss LLP                               MDL Wave 4
Fryer, Jimmy Dean               220434   8:20cv70503   Seeger Weiss LLP                               MDL Wave 4
Gifford, Daniel                 267717   9:20cv10008   Seeger Weiss LLP                               MDL Wave 4
Hamby, William                  247748   8:20cv96497   Seeger Weiss LLP                               MDL Wave 4
Hayes, Charles L.               289025   7:21cv11428   Seeger Weiss LLP                               MDL Wave 4
Ingram, Ryan                    267730   9:20cv10021   Seeger Weiss LLP                               MDL Wave 4
Inzar, Al-Farad                 81660    3:19cv01191   Seeger Weiss LLP                               MDL Wave 4
Jones, Lewis                    182800   8:20cv05081   Seeger Weiss LLP                               MDL Wave 4
Kitchener, Kyle                 182987   8:20cv36797   Seeger Weiss LLP                               MDL Wave 4
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Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Lomas, Jesse                  255161   9:20cv00381   Seeger Weiss LLP                             MDL Wave 4
Mills, Lillian                202382   8:20cv44721   Seeger Weiss LLP                             MDL Wave 4
Price, Ronald                 188802   7:20cv96821   Seeger Weiss LLP                             MDL Wave 4
Whitaker, Lance               82936    7:20cv17542   Seeger Weiss LLP                             MDL Wave 4
Ball, Toni                    16323    7:20cv49675   Simmons Hanly Conroy                         MDL Wave 4
Brasfield, Steven             165471   7:20cv69092   Simmons Hanly Conroy                         MDL Wave 4
Chance, Michael               16229    7:20cv49318   Simmons Hanly Conroy                         MDL Wave 4
Green, Daniel                 16172    7:20cv49122   Simmons Hanly Conroy                         MDL Wave 4
Pape, Randall                 16328    7:20cv49704   Simmons Hanly Conroy                         MDL Wave 4
Pretty Boy, Jon               202596   8:20cv31735   Simmons Hanly Conroy                         MDL Wave 4
Shaw, Zachary                 165578   7:20cv62677   Simmons Hanly Conroy                         MDL Wave 4
Baylor, Don                   178220   3:20cv03683   Singleton Schreiber, LLP                     MDL Wave 4
Benoit, Chris Kyu             178234   3:20cv03708   Singleton Schreiber, LLP                     MDL Wave 4
Cooper, Woodrow Wilson        178399   3:20cv04311   Singleton Schreiber, LLP                     MDL Wave 4
Powell, Michael               179180   3:20cv05241   Singleton Schreiber, LLP                     MDL Wave 4
Whitler, Johnathan            194336   8:20cv32156   SL Chapman LLC                               MDL Wave 4
Bloom, Albert                 331040   7:21cv48068   Slater Slater Schulman LLP                   MDL Wave 4
Carver, Ryan Nicholas         127800   8:20cv18423   Smith, Gildea & Schmidt, LLC                 MDL Wave 4
Adeola, Abiodun               307234   7:21cv26108   Sommers Schwartz                             MDL Wave 4
Baker, John                    6429    7:20cv00154   Stueve Siegel Hanson                         MDL Wave 4
Hesler, Larry                  7053    7:20cv46028   Stueve Siegel Hanson                         MDL Wave 4
Lusignan, Elizabeth            7353    7:20cv46834   Stueve Siegel Hanson                         MDL Wave 4
Tagum, Anthony                 7961    7:20cv48118   Stueve Siegel Hanson                         MDL Wave 4
Moley, Patrick                53535    8:20cv04460   Sullivan & Brill, LLP                        MDL Wave 4
Hawkins, Paul                 53591    7:20cv88222   Summers & Johnson, P.C.                      MDL Wave 4
Green, Bobby                  333488   7:21cv48615   Taylor Martino, P.C.                         MDL Wave 4
Anderson, Sheldon             333678   7:21cv54247   The Carlson Law Firm                         MDL Wave 4
Bowling, Stephen              333714   7:21cv54706   The Carlson Law Firm                         MDL Wave 4
Neipert, Lester               267320   9:20cv16555   The Carlson Law Firm                         MDL Wave 4
Washington Rogers, Jasmine    276665   7:21cv04815   The Carlson Law Firm                         MDL Wave 4
Reed, Anthony                 14291    8:20cv16951   The Cochran Firm - Dothan                    MDL Wave 4
De La Victoria, Gustavo       244764   8:20cv92597   The DiLorenzo Law Firm, LLC                  MDL Wave 4
Duff, Eugene                  128097   8:20cv20378   The DiLorenzo Law Firm, LLC                  MDL Wave 4
Presley, Howard               128143   8:20cv20451   The DiLorenzo Law Firm, LLC                  MDL Wave 4
Barclay, Ali-Andro            169500   8:20cv18397   The Ferraro Law Firm                         MDL Wave 4
Brown, Tony                   56343    7:20cv07349   The Gori Law Firm, P.C.                      MDL Wave 4
Centineo, Dominick            59618    7:20cv08998   The Gori Law Firm, P.C.                      MDL Wave 4
Colbert, Immanuel             58716    7:20cv11019   The Gori Law Firm, P.C.                      MDL Wave 4
Duris, Mark                   54257    7:20cv05898   The Gori Law Firm, P.C.                      MDL Wave 4
Eckert, David                 54190    7:20cv05591   The Gori Law Firm, P.C.                      MDL Wave 4
Hawkins, Donald               59311    7:20cv08543   The Gori Law Firm, P.C.                      MDL Wave 4
King, Ayeshah                 58108    7:20cv71211   The Gori Law Firm, P.C.                      MDL Wave 4
Lewis, Connor                 47216    7:20cv07415   The Gori Law Firm, P.C.                      MDL Wave 4
Moses, Johnny                 47526    7:20cv08025   The Gori Law Firm, P.C.                      MDL Wave 4
Ramos, Eric                   343651   7:21cv63103   The Gori Law Firm, P.C.                      MDL Wave 4
Rothermel, Andrew J.          219644   8:20cv60887   The Gori Law Firm, P.C.                      MDL Wave 4
Salazar, Eric M.              308583   7:21cv26734   The Gori Law Firm, P.C.                      MDL Wave 4
Schatz, Matthew D.            59482    7:20cv08939   The Gori Law Firm, P.C.                      MDL Wave 4
Demaris, Rodney               93512    7:20cv94737   The Kuykendall Group LLc                     MDL Wave 4
German, Patrick               317521   7:21cv31210   The Kuykendall Group LLc                     MDL Wave 4
Hill, Kenneth Joshua          325346   7:21cv44778   The Kuykendall Group LLc                     MDL Wave 4
Kendall, Sean                 317531   7:21cv31220   The Kuykendall Group LLc                     MDL Wave 4
Kuchling, William             325211   7:21cv44643   The Kuykendall Group LLc                     MDL Wave 4
Manning, William              289251   7:21cv10223   The Kuykendall Group LLc                     MDL Wave 4
Salas, Annette                267480   9:20cv07257   The Kuykendall Group LLc                     MDL Wave 4
Borja, Lawrence               48982    7:20cv04851   The Lanier Law Firm                          MDL Wave 4
Smith, Kenneth                49067    7:20cv04903   The Lanier Law Firm                          MDL Wave 4
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Exhibit 7 to the MSA

Plaintiff Name                 PID       Case No.    Plaintiff Counsel                           Wave List Group
Bley, Karl Douglas            220578   8:20cv69667   The Law Office of L. Paul Mankin             MDL Wave 4
Cowell, Christopher Aaron     289111   7:21cv10083   The Law Office of L. Paul Mankin             MDL Wave 4
Saintfleur, Guinald           220838   8:20cv70274   The Law Office of L. Paul Mankin             MDL Wave 4
Llano, Josh                   188606   8:20cv56289   The Murray Law Firm                          MDL Wave 4
Vlacancich, Krysten           191273   8:20cv32106   The Murray Law Firm                          MDL Wave 4
Austin, Matthew               14407    8:20cv18549   The Simon Law Firm, P.C.                     MDL Wave 4
England, Stacy Dane           181927   7:20cv96751   The Simon Law Firm, P.C.                     MDL Wave 4
Lindley, Rickey               14594    8:20cv19242   The Simon Law Firm, P.C.                     MDL Wave 4
Perry, Edward                 14630    8:20cv19333   The Simon Law Firm, P.C.                     MDL Wave 4
Best, Joshua                  149343   7:20cv31093   Thomas J. Henry                              MDL Wave 4
Bowling, Austin E.            136153   3:19cv03729   Thomas J. Henry                              MDL Wave 4
Busby, Kenneth                221300   8:20cv76955   Thomas J. Henry                              MDL Wave 4
Coleman, Cameron              208463   8:20cv53491   Thomas J. Henry                              MDL Wave 4
Collins, Joe                  149675   7:20cv31712   Thomas J. Henry                              MDL Wave 4
Davidson, Rodney              204383   8:20cv44973   Thomas J. Henry                              MDL Wave 4
Fraser, Robert                150082   7:20cv31719   Thomas J. Henry                              MDL Wave 4
Gann, Ronny                   136239   3:19cv01823   Thomas J. Henry                              MDL Wave 4
Gill, Cyrus                   211902   8:20cv58937   Thomas J. Henry                              MDL Wave 4
Hayden, Ty                    150398   7:20cv32139   Thomas J. Henry                              MDL Wave 4
Heltman, Jamie                150414   7:20cv32183   Thomas J. Henry                              MDL Wave 4
Macklin, Erica                163222   7:20cv36568   Thomas J. Henry                              MDL Wave 4
Montano, Fabian               209063   8:20cv58276   Thomas J. Henry                              MDL Wave 4
Morgan, Bradley               204302   8:20cv44875   Thomas J. Henry                              MDL Wave 4
Prown, Frederick              151496   7:20cv33808   Thomas J. Henry                              MDL Wave 4
Quintana, Jorge               243585   8:20cv86055   Thomas J. Henry                              MDL Wave 4
Rodriguez, Arnoldo            151642   7:20cv34717   Thomas J. Henry                              MDL Wave 4
Stewart, Christopher          221717   8:20cv78314   Thomas J. Henry                              MDL Wave 4
Tonnon, Ryan                  152149   7:20cv34051   Thomas J. Henry                              MDL Wave 4
Williams, Lawrence            173367   7:20cv40112   Thomas J. Henry                              MDL Wave 4
Addison, Steven               19223    7:20cv83298   Tracey & Fox Law Firm                        MDL Wave 4
Anderson, Thomas              19310    7:20cv83765   Tracey & Fox Law Firm                        MDL Wave 4
Arnaud, Barrett               322257   7:21cv38463   Tracey & Fox Law Firm                        MDL Wave 4
Babcock, Hunter               156702   7:20cv98811   Tracey & Fox Law Firm                        MDL Wave 4
Billingsley, Joshua B.        19682    7:20cv84991   Tracey & Fox Law Firm                        MDL Wave 4
Blevins, Russell              19734    7:20cv85233   Tracey & Fox Law Firm                        MDL Wave 4
Carruthers, Timothy           214908   8:20cv61834   Tracey & Fox Law Firm                        MDL Wave 4
Gutierrez, Ricardo            21696    7:20cv93926   Tracey & Fox Law Firm                        MDL Wave 4
Guzman, Federico              184107   8:20cv09160   Tracey & Fox Law Firm                        MDL Wave 4
Heath, Chad M.                21921    7:20cv93871   Tracey & Fox Law Firm                        MDL Wave 4
Hubrich-Mansell, Sean         193371   8:20cv59301   Tracey & Fox Law Firm                        MDL Wave 4
Hunt, Stacey                  22205    7:20cv86410   Tracey & Fox Law Firm                        MDL Wave 4
Hutchinson, Edward            210938   8:20cv56598   Tracey & Fox Law Firm                        MDL Wave 4
Lira, Carrie                  184365   8:20cv10577   Tracey & Fox Law Firm                        MDL Wave 4
Mccullough, Christopher T.    23268    7:20cv90143   Tracey & Fox Law Firm                        MDL Wave 4
Mcferrin, David               215365   8:20cv62055   Tracey & Fox Law Firm                        MDL Wave 4
Mickel, Jimmy                 352689   3:21cv01848   Tracey & Fox Law Firm                        MDL Wave 4
Ropel, Andrzej                24675    7:20cv92290   Tracey & Fox Law Firm                        MDL Wave 4
Stamper, Jamie                239524   8:20cv93126   Tracey & Fox Law Firm                        MDL Wave 4
Versandi, Joseph Michael      171514   7:20cv39480   Tracey & Fox Law Firm                        MDL Wave 4
Villalta-Solis, Joshua        207143   8:20cv52041   Tracey & Fox Law Firm                        MDL Wave 4
Watson, Clarence              25903    7:20cv96483   Tracey & Fox Law Firm                        MDL Wave 4
Weilbacher, Benjamin          171256   8:20cv08142   Tracey & Fox Law Firm                        MDL Wave 4
Wishon, Jerid                 352714   3:21cv01908   Tracey & Fox Law Firm                        MDL Wave 4
Wright, Thomas                194163   8:20cv62202   Tracey & Fox Law Firm                        MDL Wave 4
Banegas, Dennis               96054    7:20cv34995   Wagstaff & Cartmell, LLP                     MDL Wave 4
Scott, Wendell Gene           96459    7:20cv38331   Wagstaff & Cartmell, LLP                     MDL Wave 4
Villarreal, Daniel             8490    8:20cv17219   Wallace Miller                               MDL Wave 4
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Plaintiff Name                 PID        Case No.     Plaintiff Counsel                         Wave List Group
Guillen, David                141772    3:20cv02330    Watts Guerra                               MDL Wave 4
Hendricks, Rashid             143540    3:20cv01288    Watts Guerra                               MDL Wave 4
Mckinnon, Nathan              143777    3:20cv00094    Watts Guerra                               MDL Wave 4
Perez, Addiel                 141568    3:20cv02342    Watts Guerra                               MDL Wave 4
Quintanilla, Nestor           79046     8:20cv16216    Watts Guerra                               MDL Wave 4
Rivera-Colon, Luis            143961    3:20cv03153    Watts Guerra                               MDL Wave 4
Sais, Albert                  74638     8:20cv24569    Watts Guerra                               MDL Wave 4
Stuarte, Jesse                75271     8:20cv27474    Watts Guerra                               MDL Wave 4
Wilson, Denis                 141534    3:20cv02431    Watts Guerra                               MDL Wave 4
Abney, Alicia                 120125    7:20cv26358    Weitz & Luxenberg                          MDL Wave 4
Adams, Anthony                87914     7:20cv18562    Weitz & Luxenberg                          MDL Wave 4
Angius, Jerry A.              118809    7:20cv24774    Weitz & Luxenberg                          MDL Wave 4
Bascom, Thomas Deandre        121338    7:20cv28240    Weitz & Luxenberg                          MDL Wave 4
Berry, Christopher L.         120492    7:20cv27539    Weitz & Luxenberg                          MDL Wave 4
Bethea, Tommy Lee             119376   7:21-cv-43331   Weitz & Luxenberg                          MDL Wave 4
Bolt, Daniel                  122732    7:20cv34599    Weitz & Luxenberg                          MDL Wave 4
Brown, Kelly                  118997    7:20cv26092    Weitz & Luxenberg                          MDL Wave 4
Carambas, Jimer A.            122153    7:20cv29259    Weitz & Luxenberg                          MDL Wave 4
Creel, Michael                119690    7:21cv43568    Weitz & Luxenberg                          MDL Wave 4
Davis, Keri L.                120209    7:20cv26668    Weitz & Luxenberg                          MDL Wave 4
Desouza, Horacio              121742    7:20cv29168    Weitz & Luxenberg                          MDL Wave 4
Ferrell, Gloria A.            120924    7:20cv27837    Weitz & Luxenberg                          MDL Wave 4
French, Derrek Scott          122584    7:20cv33668    Weitz & Luxenberg                          MDL Wave 4
Fry, Justin Douglas           118912    7:20cv25689    Weitz & Luxenberg                          MDL Wave 4
Hammond, Robert               121859    7:20cv27619    Weitz & Luxenberg                          MDL Wave 4
Harris, Zechariah Taylor      119768    7:20cv24196    Weitz & Luxenberg                          MDL Wave 4
Huntress, Bruce A.            118774    7:20cv24498    Weitz & Luxenberg                          MDL Wave 4
Innerarity, Evan              182149    7:20cv86019    Weitz & Luxenberg                          MDL Wave 4
King-Villanueva, Jin A.       122553    7:20cv33479    Weitz & Luxenberg                          MDL Wave 4
Kirkland, Natalie             88124     7:20cv19537    Weitz & Luxenberg                          MDL Wave 4
Lamp, Benjamin                87829     7:20cv18194    Weitz & Luxenberg                          MDL Wave 4
Martinez, Roderes             120168    7:20cv26427    Weitz & Luxenberg                          MDL Wave 4
Mcandrew, Anthony Joseph      119635    7:21cv43946    Weitz & Luxenberg                          MDL Wave 4
Mielke, Cameron Charles       121347    7:20cv28286    Weitz & Luxenberg                          MDL Wave 4
Miller, Nicholas W.           120052    7:20cv26322    Weitz & Luxenberg                          MDL Wave 4
Montfort, William             218452    8:20cv71381    Weitz & Luxenberg                          MDL Wave 4
Perez, Chester                123884    7:20cv30285    Weitz & Luxenberg                          MDL Wave 4
Phelps, James T.              88197     7:20cv19638    Weitz & Luxenberg                          MDL Wave 4
Ramirez, Romel H.             198102    8:20cv62855    Weitz & Luxenberg                          MDL Wave 4
Ransom, Cody                  120473    7:20cv27512    Weitz & Luxenberg                          MDL Wave 4
Rodgers, Adrian D.            121400    7:20cv28398    Weitz & Luxenberg                          MDL Wave 4
Rollins, Michael Timothy      122705    7:20cv34441    Weitz & Luxenberg                          MDL Wave 4
Romar, Alejandro D.           164001    7:20cv36876    Weitz & Luxenberg                          MDL Wave 4
Scheu, James Robert           120406    7:20cv27371    Weitz & Luxenberg                          MDL Wave 4
Smith, Ervin L.               87909     7:20cv18546    Weitz & Luxenberg                          MDL Wave 4
Stewart, Brendan              120648    7:20cv27213    Weitz & Luxenberg                          MDL Wave 4
Tanner, Christopher N.        119979    7:20cv24402    Weitz & Luxenberg                          MDL Wave 4
Tubbs, Jerry                  123363    7:20cv29200    Weitz & Luxenberg                          MDL Wave 4
Uhrhammer, Cody Lee           120751    7:20cv27705    Weitz & Luxenberg                          MDL Wave 4
Vardon-Smith, Virginia        118824    7:20cv24832    Weitz & Luxenberg                          MDL Wave 4
Wahner, Daniel                119658    7:21cv43957    Weitz & Luxenberg                          MDL Wave 4
Williams, Brian               119834    7:20cv24264    Weitz & Luxenberg                          MDL Wave 4
Alsadi, Yousef                 4099     7:20cv43219    Weller, Green, Toups & Terrell, LLP        MDL Wave 4
Dean, James                    4213     7:20cv43214    Weller, Green, Toups & Terrell, LLP        MDL Wave 4
Krause, David                 156139    3:22cv08175    Wendt Law Firm, PC                         MDL Wave 4
Crome, Michael David          243568    8:20cv92430    Zoll & Kranz, LLC                          MDL Wave 4
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Exhibit 7 to the MSA

Plaintiff Name                 PID      Case No.    Plaintiff Counsel                                      Wave List Group
Alger, Michael                       27-CV-20-12019 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Beal, Richard                        27-CV-20-12019 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Castellano, Art                      27-CV-20-15501 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Clayton, Anthony                     27-CV-20-16708 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Cook, Roger                          27-CV-20-11197 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Cooley, Bobby                        27-CV-21-03841 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Dean, Robert                         27-CV-20-12019 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Franklin, Don                        27-CV-21-00511 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Graves, Christopher                  27-CV-19-19916 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Johnson, Paul                        27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

LeBlanc, Ronald                      27-CV-20-13524 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Mendoza, Rosendo                     27-CV-20-13524 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Moreno, Larry                        27-CV-21-03846 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Nute, Mark                           27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Perry, James                           3:23cv9990    Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben      MN State

Potter, Timothy                      27-CV-20-15501 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Provow, Wendell                      27-CV-20-12628 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Purtee, Thomas                       27-CV-20-12628 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Ravenscraft, Jeffrey                 27-CV-20-13524 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Rouse, Ronda                         27-CV-20-15501 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Roush, Marc                          27-CV-20-11197 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Shoemake, Thomas                     27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Sizemore, Johnny                     27-CV-20-11197 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Vargas, Manuel                       27-CV-21-03846 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Watts, Randy                         27-CV-20-10633 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State

Wilkerson, William                   27-CV-21-03826 Paul LLP; Gustafson Gluek; Schwebel, Goetz & Sieben       MN State
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                                  EXHIBIT 8A

                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

 IN RE: 3M COMBAT ARMS                   )   Case No. 3:19-md-02885
 EARPLUG PRODUCTS LIABILITY              )
 LITIGATION                              )   Judge M. Casey Rodgers
                                         )
                                         )   Magistrate Judge Hope T. Cannon
 This Document Relates to:               )
 All Cases                               )
                                         )

                  CERTIFICATION OF DISENGAGEMENT

      In accordance with Section 7.1.3.2 of the Combat Arms Settlement Agreement,

I, _____________________, on behalf of myself and the law firm of

______________________________ (collectively “CAE Counsel”), do hereby

represent and certify CAE Counsel has taken all steps required by applicable law to

disengage from the below-referenced Eligible Claimants (all of whose CAE Claims

are unfiled) and to terminate any attorney-client relationship between CAE Counsel

and the below-referenced Eligible Claimants. CAE Counsel further represents and

certifies that, to the best of CAE Counsel’s knowledge, all other counsel with an

Interest in the below-referenced Eligible Claimants’ claims (identified hereto) have

also disengaged and terminated any attorney-client relationship with the below-

referenced Eligible Claimants.




                                         1
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[INSERT CHART OR LIST OF CASES AND ANY OTHER FIRMS WITH A FEE

                            INTEREST IN THE CASE]



      Finally, CAE Counsel represents and certifies that a true and correct copy of this

Certificate of Disengagement has been submitted to the Settlement Administrator

pursuant to the terms of the Settlement Agreement and has been emailed to the NPC

and the Defendants at the email addresses set forth in the MSA.



DATE:___________________                       /s/
                                               [NAME OF ATTORNEY]
                                               [NAME OF LAW FIRM]
                                               [ADDRESS]
                                               [ADDRESS]
                                               [ADDRESS]
                                               [TELEPHONE NUMBER]
                                               [EMAIL ADDRESS]




                                           2
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                                  EXHIBIT 8-B

STATE OF MINNESOTA                                     DISTRICT COURT
COUNTY OF HENNEPIN                            FOURTH JUDICIAL DISTRICT

IN RE: 3M COMBAT ARMS                                Case Type: Personal Injury
EARPLUG LITIGATION                                        Hon. Laurie J. Miller

                                                Court File No. 27-CV-19-19916
This Document Relates To:
All Cases



                  CERTIFICATION OF DISENGAGEMENT

      In accordance with Section 7.1.3.2 of the Combat Arms Settlement Agreement,

I, _____________________, on behalf of myself and the law firm of

______________________________ (collectively “CAE Counsel”), do hereby

represent and certify CAE Counsel has taken all steps required by applicable law to

disengage from the below-referenced Eligible Claimants (all of whose CAE Claims

are unfiled) and to terminate any attorney-client relationship between CAE Counsel

and the below-referenced Eligible Claimants. CAE Counsel further represents and

certifies that, to the best of CAE Counsel’s knowledge, all other counsel with an

Interest in the below-referenced Eligible Claimants’ claims (identified hereto) have

also disengaged and terminated any attorney-client relationship with the below-

referenced Eligible Claimants.

[INSERT CHART OR LIST OF CASES AND ANY OTHER FIRMS WITH A FEE


                                         1
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                            INTEREST IN THE CASE]



      Finally, CAE Counsel represents and certifies that a true and correct copy of this

Certificate of Disengagement has been submitted to the Settlement Administrator

pursuant to the terms of the Settlement Agreement and has been emailed to Plaintiffs’

Minnesota Leadership and the Defendants at the email addresses set forth in the Master

Settlement Agreement.



DATE:___________________                       /s/
                                               [NAME OF ATTORNEY]
                                               [NAME OF LAW FIRM]
                                               [ADDRESS]
                                               [ADDRESS]
                                               [ADDRESS]
                                               [TELEPHONE NUMBER]
                                               [EMAIL ADDRESS]




                                           2
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                                           EXHIBIT 9
                  CALCULATING PARTICIPATION LEVEL FOR MSA 1
For purposes of Article 6, the Participation Level must be calculated on an ongoing basis,
including to determine whether Plaintiffs have, among other things, reached the various
thresholds set forth and defined in the MSA. The method, time, and entity charged with
calculating these percentages is further set forth in the MSA.
The purpose of this Exhibit is to establish how the Participation Level is to be calculated.
This Exhibit does not delineate every different iteration for which such information may be used
nor does it identify the time period for determining the status of each Eligible Claimant for
inclusion in the Numerator, Denominator, or both. The MSA sets forth those limitations and
requirements. The categories of Eligible Claimants to be included in the Numerator,
Denominator, or both, however, does not change even if the time periods determining the status
of each Eligible Claimants does.




1
 Capitalized terms herein have the same meaning, unless otherwise defined, as set forth in the
MSA.
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     Exhibit 9-1: ELIGIBLE CLAIMANTS INCLUDED IN THE DENOMINATOR
The Denominator is calculated by summing the deduplicated totals of Groups A–F below.
Other than Verdict and Wave Cases Identified in Exhibit 6 and Exhibit 7 to this MSA:
A. All Eligible Claimants on all Identification Order Declarations.

B. All Eligible Claimants with CAE Claims Filed and/or Initiated and/or Pending on the
   MDL Docket and Administrative Docket Before the Reference Date That Were Not
   Included in Category A.

C. All Eligible Claimants with CAE Claims Filed and/or Initiated and/or Served, but not
   Filed and/or Pending in the MN Court Before the Reference Date That Were Not
   Included in Category A or B.

D. All Eligible Claimants Tolled by Defendants’ Agreement (all of which should be on an
   Identification Order) That Were Not Included in Category A, B, or C.

E. All Eligible Claimants with CAE Claims filed or refiled after the Reference Date.

F. To the extent not covered in Category E, any Eligible Claimants with CAE Claims filed
   on the MDL or MN Docket as of the date the calculation is made.
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      Exhibit 9 -2: ELIGIBLE CLAIMANTS INCLUDED IN THE NUMERATOR
The Numerator is calculated by summing the deduplicated totals of Groups A–C below.
A. Eligible Claimants in the Denominator Who Are Registered Claimants.

B. Eligible Claimants in the Denominator Who Are Dismissed with Prejudice.

C. Eligible Claimants in the Denominator that have not filed or initiated claims (on the
   administrative or any other docket) whom CAE Counsel certify cannot be found after
   the exhaustion of all reasonable efforts and for whom CAE Counsel provides a
   certification of disengagement with respect to claims against 3M substantially in the
   form attached as Exhibit 8.

D. Eligible Claimants in the Denominator Who Are Unable To Execute a Release or a
   Dismissal With Prejudice as a Result of Bankruptcy or Death, provided:

      a. In the event of death, CAE Counsel asserts the Eligible Claimant’s intention to
         participate in the Settlement or be dismissed with prejudice, but is awaiting
         authorization to execute the Release; or

      b. In the event of a bankruptcy, CAE Counsel confirms its good faith belief that the
         CAE Claim is property of the bankruptcy estate and provides evidence of an active
         bankruptcy during the pendency of such claimant’s litigation against 3M.
      To the extent an Eligible Claimant in this Category D become able to execute a Release
      (including through a representative or bankruptcy trustee), such Eligible Claimant shall
      be treated as any other Eligible Claimant and no longer be part of the population of
      Category D.
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              EXHIBIT 9 -3 CALCULATION OF PARTICIPATION LEVEL 2
To calculate the Participation Level the sum of the Numerator as set forth in Exhibit 9-2 will be
divided by the sum of the Denominator as set forth in Exhibit 9-1 and multiplied by 100 to
determine the Participation Percentage as called for throughout the MSA.
For example, if the total number of CAE Claimants summed in Exhibit 9-1 is 200,000 and the
total number of CAE Claimants summed in Exhibit 9-2 is 197,000, as of March 31, 2024, as set
forth in Article 6of the MSA, the Participation Level for purposes of Article 6is calculated by
dividing 197,000 by 200,000 and multiplying that 100. In this example, the Participation
Percentage would be 98.5%.




2
 The methodology set forth in this Exhibit assumes that the Settlement Administrator
successfully deduplicated the cases within Numerator and Denominator, respectively, before any
summing occurred.
